     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 1 of 271




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, STATE OF
ARKANSAS, STATE OF CALIFORNIA,
STATE OF FLORIDA, STATE OF GEORGIA,
STATE OF INDIANA, COMMONWEALTH
OF KENTUCKY, STATE OF LOUISIANA,      Case No. 1:20-cv-03010-APM
STATE OF MICHIGAN, STATE OF
MISSISSIPPI, STATE OF MISSOURI, STATE
OF MONTANA, STATE OF SOUTH            HON. AMIT P. MEHTA
CAROLINA, STATE OF TEXAS, AND
STATE OF WISCONSIN
                        Plaintiffs,

v.

GOOGLE LLC,

                        Defendant.

STATE OF COLORADO, STATE OF
NEBRASKA, STATE OF ARIZONA, STATE
OF IOWA, STATE OF NEW YORK, STATE
OF NORTH CAROLINA, STATE OF
TENNESSEE, STATE OF UTAH, STATE OF
ALASKA, STATE OF CONNECTICUT,
STATE OF DELAWARE, DISTRICT OF
COLUMBIA, TERRITORY OF GUAM,        Case No. 1:20-cv-03715-APM
STATE OF HAWAII, STATE OF ILLINOIS,
STATE OF KANSAS, STATE OF MAINE,    HON. AMIT P. MEHTA
STATE OF MARYLAND,
COMMONWEALTH OF MASSACHUSETTS,
STATE OF MINNESOTA, STATE OF
NEVADA, STATE OF NEW HAMPSHIRE,
STATE OF NEW JERSEY, STATE OF NEW
MEXICO, STATE OF NORTH DAKOTA,
STATE OF OHIO, STATE OF OKLAHOMA,
STATE OF OREGON, COMMONWEALTH
OF PENNSYLVANIA, COMMONWEALTH
OF PUERTO RICO, STATE OF RHODE
ISLAND, STATE OF SOUTH DAKOTA,
STATE OF VERMONT, COMMONWEALTH
OF VIRGINIA, STATE OF WASHINGTON,
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 2 of 271




STATE OF WEST VIRGINIA, AND STATE
OF WYOMING

                        Plaintiffs,
v.

GOOGLE LLC,
                        Defendant.




               PLAINTIFFS’ STATEMENT OF GENUINE ISSUES




                                      2
           Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 3 of 271




                                                      TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 3

Plaintiffs’ Responses to Defendant’s Statement of Material Undisputed Facts in Support of
Their Motion for Summary Judgment. ........................................................................................... 4

I.          The Browser Default Agreements ........................................................................................ 7

     A.        The Agreements with Apple ............................................................................................. 7

          1. Apple’s Safari Browser and Safari’s Default Search Engine ............................................ 7
          2. Apple’s Agreements with Google and Evaluations of Other Search Engines ............... 17
          3. Apple’s Promotion of Other Search Engines ................................................................. 38
     B.        The Agreements with Mozilla ........................................................................................ 59

          1. Mozilla’s Firefox Browser and Its Default Search Engine ............................................ 59
          2. Mozilla’s Agreements with Google and Evaluations of Other Search Engines ............ 65
          3. Mozilla’s Promotion of Other Search Engines .............................................................. 84
     C.        The Agreements with Other Browser and Software Developers ................................. 105

          1. The Agreements with Opera and UC Web................................................................... 105
          2. The Agreements with Adobe and Avast ...................................................................... 114
II.         The Agreements with Android Original Equipment Manufacturers and
            Wireless Carriers.............................................................................................................. 116

     A.        The Android Operating System and Android Agreements Generally ......................... 116

     B.        Android Compatibility Commitment (ACC) and
               Anti-Fragmentation Agreement (AFA) ....................................................................... 124

     C.        Mobile Application Distribution Agreement (MADA) ............................................... 129

     D.        Revenue Share Agreements (RSA) .............................................................................. 140

III.        Plaintiffs’ Experts’ Opinions Regarding the Agreements ............................................... 154

IV.         Plaintiffs’ Additional Contentions Regarding the ACC and AFA................................... 177

     A.        The Role of Compatibility in the Development of Android ........................................ 177

     B.        AFAs, ACCs, and the Android Compatibility Definition Document .......................... 181

     C.        Amazon’s Fire Phone ................................................................................................... 188

     D.        Self-Certification of CDD Compliance ........................................................................ 196


                                                                       1
      Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 4 of 271




V.    Agreements Relating to Google Assistant and Internet-of-Things Devices .................... 210

 A.     Virtual Assistant Offerings........................................................................................... 210

 B.     Uses of Virtual Assistants ............................................................................................ 211

 C.     Google’s Third-Party Assistant Agreements................................................................ 214

VI.   The Development of Open-Source Applications ............................................................. 224

 A.     The Role of Early AOSP Apps and Third-Party Alternatives ..................................... 225

 B.     The Evolution of AOSP Apps ...................................................................................... 229




                                                              2
      Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 5 of 271




                                       ABBREVIATIONS

                          Plaintiffs in State of Colorado v. Google. LLC, No. 1:20-cv-03715-
                          APM (D.D.C.): the States of Colorado, Nebraska, Arizona, Iowa,
                          New York, North Carolina, Tennessee, Utah, Alaska, Connecticut,
                          Delaware, Hawaii, Idaho, Illinois, Kansas, Maine, Maryland,
 Colorado Plaintiffs
                          Minnesota, Nevada, New Hampshire, New Jersey, New Mexico,
                          North Dakota, Ohio, Oklahoma, Oregon, Rhode Island, South Dakota,
                          Vermont, Washington, Virginia, and Wyoming; the Commonwealths
                          of Massachusetts, Pennsylvania, Puerto Rico, and Virginia; the
                          District of Columbia; and the Territory of Guam
                          Plaintiffs’ Counterstatement of Material Facts [in Opposition to
 COMF
                          Defendants’ Motion for Summary Judgment]
                          Defendant’s Memorandum of Points and Authorities in Support of Its
 Def. Br.
                          Motion for Summary Judgment (ECF No. 422)
                          Defendants’ Statement of Material Facts as to Which There Is No
 Def. SMF
                          Genuine Issue in Support of Its Motion for Summary Judgment (ECF
                          No. 423)
 Defendant or Google Defendant Google LLC
 Plaintiffs               U.S. Plaintiffs and Colorado Plaintiffs
                          Plaintiffs’ Statement of Genuine Issues [in Response to Defendants’
 SOGI                     Statement Of Material Facts As To Which There Is No Genuine Issue
                          In Support of Its Motion For Summary Judgment]
                          Plaintiffs in United States v. Google. LLC, No. 1:20-cv-03010-APM
                          (D.D.C.): United States of America; the States of Arkansas,
 U.S. Plaintiffs          California, Florida, Georgia, Indiana, Louisiana, Michigan,
                          Mississippi, Missouri, Montana, South Carolina, Texas, and
                          Wisconsin; and the Commonwealth of Kentucky


                                        INTRODUCTION

       Plaintiffs respectfully submit this Statement of Genuine Issues, pursuant to Local Rule

7(h) of the U.S. District Court for the District of Columbia, in support of their opposition to

Defendant Google LLC’s Motion for Summary Judgment (ECF No. 421). This document

contains Plaintiffs’ response to each statement in Defendants’ Statement of Undisputed Facts in




                                                 3
        Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 6 of 271




Support of Its Motion for Summary Judgment (ECF No. 423) (“Google SMF”).1 Plaintiffs will

set forth additional relevant material facts in a contemporaneously filed document.

I.       Overarching Issues Relating To Google’s Statement Of Undisputed Material Facts

         First, there are often important discrepancies between (a) the statements contained in

some of the paragraphs in Google’s SMF and (b) the statements in Defendant’s Memorandum of

Points and Authorities in Support of Its Motion for Summary Judgment (ECF No. 422) (“Google

SJ Brief”) that those paragraphs in the Google SMF allegedly support. Some Statements in the

Google SMF may be correct and correctly supported, but that Statement is then cited in the

Google SJ Brief for a different or broader proposition that is disputed or is not supported by the

Statement or the corresponding cites to the factual record. Plaintiffs’ responses in this document

only address Google’s SMF, and Plaintiffs reserve the right to challenge all inconsistent factual

statements in Google’s SJ Brief. In some instances, to assist the Court, Plaintiffs have noted this

discrepancy—for example, Plaintiffs’ responses to Statements 15 and 206.

         Second, Google’s SMF frequently makes overarching, universal statements about the

agreements they have entered into with browsers, original equipment manufacturers (OEMs),

and other relevant parties while citing only one or two agreements over a limited period in

support. For example, Google claims in Statement 61 that “Google and Apple have never entered

an agreement that restricts Apple from integrating search engines other than Google into the

Safari browser.” However, in support, Google cites only

                                             and seeks to justify that incomplete disclosure with a

“see, e.g.” disclaimer. See SMF 61 (citing Def. Ex. 7,

                                        ; Def. Ex. 16,


1
    Plaintiffs refer to individual paragraphs in Google’s SMF as “Statement [XX]”



                                                  4
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 7 of 271
      Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 8 of 271




the statement of genuine issues filed in opposition to the motion.”) (emphasis added); Garcia v.

Vill. Red Rest. Corp., 2018 U.S. Dist. LEXIS 26987, at *4 (S.D.N.Y. Feb. 15, 2018) (“By

providing that a party may agree to a fact as undisputed for purposes of summary judgment

‘only,’ Rule 56 necessarily and implicitly recognizes that there can be instances where a party

may later dispute a fact, such as at trial, that was not disputed on summary judgment.”).




                                                6
      Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 9 of 271




                                 PLAINTIFFS’ RESPONSES

Notes:
     Below, Plaintiffs repeat each of Google’s Statements and then provide a response.
     Plaintiffs refer to individual paragraphs in Google’s SMF as “Statement [XX].”
     Where a date or name has a leading asterisk (e.g., *Mar. 1969, *John Doe) that
       information was taken from the metadata produced with the exhibit or inferred from the
       contents of the document and the metadata.
     For the convenience of the Court Plaintiffs have included the headings that Google used
       in its SMF.

I.     The Browser Default Agreements

       A.      The Agreements with Apple

               1.     Apple’s Safari Browser and Safari’s Default Search Engine
       1.     Apple released the first version of its Safari web browser to the public in
2003. Apple Unveils Safari, available at https://www.apple.com/newsroom/2003/01/07Apple-
Unveils-Safari/ (Jan. 7, 2003) (Def. Ex. 1).

       Undisputed.

        2.  Apple decided to make its Safari browser the preinstalled default browser on
Apple computers and mobile devices, including the iPhone. Cue (Apple) Tr. 126:3-6 (Def.
Ex. 2).

       Undisputed.

        3.     Before releasing the first version of Safari in 2003, Apple decided that the
browser’s interface would include a built-in “search box” that enabled users to search the
web by entering a query in the box, without having to first navigate to a search engine’s
website or install a search engine’s browser extension. Apple Unveils Safari, available at
https://www.apple.com/newsroom/2003/01/07Apple-Unveils-Safari/ (Jan. 7, 2003) (Def. Ex.
1); Cue (Apple) Tr. 23:13-24:15 (Def. Ex. 2).

       Disputed in part.

       Plaintiffs object to the term “search box” as vague and undefined and to Statement 3 as

(1) not supported by the cited material, as required by Federal Rule of Civil Procedure 56(c)(1)

and Local Rule 7(h); (2) misstating Mr. Cue’s testimony; and (3) incomplete as to

decision/negotiation dynamics in light of the       ISA agreement between Google and Apple.



                                                7
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 10 of 271




       Undisputed that the version of Safari that Apple released in 2003 included the ability for

users to type a search query into a field in the browser’s interface and receive Google search

results for that query, without first navigating to google.com or installing a search engine

browser extension.

       Otherwise disputed. The testimony cited in Statement 3 refers to a feature allowing users

to type a search query “in the same field that you type in th[e] URL,” rather than a dedicated

“search box.” Pls. Ex. 25, Cue (Apple) Dep., 23:16–24. See also Pls. Ex. 152,




       In addition, Apple’s actions were influenced by its interactions with Google and the

resulting agreement. See Def. Ex. 6,



        4.    Apple concluded that its Safari browser is more appealing to users if they are
able to search the web by entering a query in a search box integrated with the browser’s
interface. Apple 30(b)(6) (Cue) Tr. 46:22-48:11 (Def. Ex. 3).

       Disputed in part.

       Plaintiffs object to the terms “appealing,” “search box,” and “integrated” as vague and

undefined and to Statement 4 as (1) not supported by the cited material, as required by Federal

Rule of Civil Procedure 56(c)(1) and Local Rule 7(h); (2) misstating Mr. Cue’s testimony; (3)

vague as to time; and (4) incomplete as to decision/negotiation dynamics in light of the         ISA

agreement between Google and Apple.


                                                 8
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 11 of 271




       Undisputed that Apple viewed the ability for users to type a search query into a field in

the Safari browser’s interface and receive search results for that query as “ha[ving] significant

value to [Apple’s users].” Pls. Ex. 25, Cue (Apple) Dep., 47:2–13.

       Otherwise disputed. The testimony cited in Statement 4 refers to a feature allowing users

to type a search query “in the same field that you type in th[e] URL,” rather than a dedicated

“search box.” Pls. Ex. 25, Cue (Apple) Dep., 23:16–24. See also Pls. Ex. 152,




       In addition, Apple’s actions were influenced by its interactions with Google and the

resulting agreement. See Def. Ex. 6,



       5.      Apple decided before releasing the first version of Safari in 2003 that queries
entered in the built-in search box should be routed to one search engine, without the user
having to take any further action to select a search engine. Cue (Apple) Tr. 23:13-27:10
(Def. Ex. 2); Apple 30(b)(6) (Cue) Tr. 119:14-120:19 (Def. Ex. 3).

       Disputed in part.

       Plaintiffs object to the term “search box” as vague and undefined and to Statement 5 as

(1) not supported by the cited material, as required by Federal Rule of Civil Procedure 56(c)(1)

and Local Rule 7(h); (2) misstating Mr. Cue’s testimony; and (3) incomplete as to

decision/negotiation dynamics in light of the        ISA agreement between Google and Apple.




                                                 9
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 12 of 271




       Undisputed that in the version of Safari that Apple released in 2003, search queries

entered into a field in the browser’s interface were routed to one search engine, without the user

having to take any further action to select a search engine.

       Otherwise disputed. The testimony cited in Statement 5 refers to a feature allowing users

to type a search query “in the same field that you type in th[e] URL,” rather than a dedicated

“search box.” Pls. Ex. 25, Cue (Apple) Dep., 23:16–24. See also Pls. Ex. 152,




       In addition, Apple’s actions were influenced by its interactions with Google and the

resulting agreement. See Def. Ex. 6,



       6.     Apple concluded that its Safari browser is more appealing to users if the
browser includes a default search engine to which queries entered in the built-in search box
are automatically routed. Cue (Apple) Tr. 24:16-26:8 (Def. Ex. 2); Apple 30(b)(6) (Cue) Tr.
119:14- 120:19 (Def. Ex. 3).

       Disputed in part.

       Plaintiffs object to the terms “search box,” “appealing,” and “default search engine” as

vague and undefined and to Statement 6 as (1) not supported by the cited material, as required by

Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h); (2) misstating Mr. Cue’s

testimony; (3) vague as to time and whether the referenced default search engine is preset or




                                                 10
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 13 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 14 of 271




       8.      In determining which search engine to set as the default in Safari, the most
important factor that Apple considers is which search engine will provide the highest-
quality results and experience for Apple’s customers. Apple 30(b)(6) (Cue) Tr. 49:20-51:8,
67:2-25, 69:3-20, 88:5-12, 120:20-121:24 (Def. Ex. 3).

       Disputed in part.

       Plaintiffs object to the phrases “most important factor” and “highest-quality search results

and experience for Apple’s customers” as vague and undefined and to Statement 8 as (1) not

supported by the cited material, as required by Federal Rule of Civil Procedure 56(c)(1) and

Local Rule 7(h) and (2) misstating Mr. Cue’s testimony.

       Undisputed that Apple considers the quality of the search engine in determining which

search engine to set as the default in Safari.

       Otherwise disputed. Apple considers

                                     See Pls. Ex. 25, Cue (Apple) Dep., 98:15–25



                                                 12
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 15 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 16 of 271




         Moreover, the cited testimony does not discuss the geographic area or types of devices to

which the alleged determination applied. Pls. Ex. 25, Cue (Apple) Dep., 31:18–32:6, 35:12–

36:20.



                      Pls. Ex. 4,

APLGOOGDOJ-01166675, at -681.

      10.     Apple has periodically evaluated whether to set a search engine other than
Google as the default in Safari in the U.S. Cue (Apple) Tr. 31:8-32:6 (Def. Ex. 2);
Giannandrea (Apple) Tr. 126:6-127:25, 206:24-209:10, 254:19-255:12 (Def. Ex. 5).

         Undisputed

         Plaintiffs object to the word “periodically” as vague and undefined.

       11.     Each time Apple has evaluated whether to set a search engine other than
Google as the default in Safari in the U.S., it has determined that selecting another search
engine as the default would be inconsistent with its objective of providing the highest-
quality results and experience for Apple’s customers. Cue (Apple) Tr. 31:8-32:6, 35:12-
36:20, 66:4-67:11 (Def. Ex. 2); Apple 30(b)(6) (Cue) Tr. 55:3-9, 67:2-25, 121:11-122:14,
146:22-147:18 (Def. Ex. 3); Giannandrea (Apple) Tr. 255:2-258:2 (Def. Ex. 5).

         Disputed in part.

         Plaintiffs object to the terms “evaluated,” “default,” and “highest quality-results and

experience for Apple’s customers” as vague and undefined and to Statement 11 as (1) not

supported by the cited material, as required by Federal Rule of Civil Procedure 56(c)(1) and

Local Rule 7(h); (2) misstating Mr. Cue’s and Mr. Giannandrea’s testimony; (3) vague as to

time; and (4) incomplete as to decision/negotiation dynamics.

         Undisputed that, at certain points in time, Apple has considered whether to set a search

engine other than Google as the default in Safari in the United States,




                                                  14
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 17 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 18 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 19 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 20 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 21 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 22 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 23 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 24 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 25 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 26 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 27 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 28 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 29 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 30 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 31 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 32 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 33 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 34 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 35 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 36 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 37 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 38 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 39 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 40 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 41 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 42 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 43 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 44 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 45 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 46 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 47 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 48 of 271




       Plaintiffs object to the term “integration” as vague and undefined and to Statement 74 as

(1) incomplete; (2) vague as to time; and (3) not supported by the cited material as required by

Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h).




       By default, what Google refers to as the “integrat[ion]” of DuckDuckGo into Safari is

inaccessible within Safari on iOS. Pls. Ex. 23, Rangel (DOJ Pls.’ Expert) Initial Report, ¶ 84 &

Fig. 8. In order to experience this “integrat[ion],” the user must leave Safari, locate and open the

Settings app, locate and select the Safari tab, select the Search Engine option, select the desired

alternative search engine, and navigate back to the Safari app. Pls. Ex. 23, Rangel (DOJ Pls.’

Expert) Initial Report, ¶ 84 & Fig. 8. Google itself views similar multi-step processes as

significant obstancles to switching defaults in cases where it is not the default: “Firefox

announced changes today to their search interface . . . . Previously, it was two clicks to change

your default search engine. Now, it will be five clicks, which means more friction for users to

switch back to Google.” Pls. Ex. 310, Email from Hopkins (Google), Firefox Redesigns Its

Search Interface Ahead Of Yahoo Switch (Dec. 1, 2014), GOOG-DOJ-03526001, at -001.

       Users are highly unlikely to avail themselves of the option to use DuckDuckGo because it

is not available by default. Pls. Ex. 23, Rangel (DOJ Pls.’ Expert) Initial Report, ¶¶ 14–122, §§

II-VII; Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 846–965, § VII.A.




                                                 46
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 49 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 50 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 51 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 52 of 271




                        ).

       79.     Google and Apple have never entered an agreement that restricts Apple from
including in the Safari browser a preset or default bookmark for a search engine other
than Google that is displayed for the user upon first opening the Safari browser. Cue
(Apple) Tr. 237:22-241:9 (Def. Ex. 2); see, e.g.,

          Disputed in part.

          Plaintiffs object to the term “restricts” as vague and undefined and to Statement 79 as

vague and incomplete.

          Undisputed that the agreement between Google and Apple does not prevent Apple from

displaying certain preset or default bookmarks in Safari, and that Apple displays a Google

bookmark and bookmarks to certain other search engines.

          Otherwise disputed.

                                             . Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal

Report, ¶¶ 412–413. Further, the ISA between Google and Apple creates financial incentives for

Apple to increase the number of search queries Apple sends to Google, and thereby affects

Apple’s decision-making including with respect to product design. See Statement 11 response,

supra (              ); Pls. Ex. 173, Schindler (Google) Dep., 330:23–331:20 (




                        ).

       80.    Apple has included in the Safari browser a preset or default bookmark for
each of Bing and Yahoo that is displayed to a new Apple user upon first opening the Safari
browser. Cue (Apple) Tr. 220:3-221:20 (Def. Ex. 2); see, e.g.,


          Disputed in part.




                                                  50
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 53 of 271




       Plaintiffs object to the term “new Apple user” as vague, and to Statement 80 as (1)

incomplete and (2) duplicative of Statement 40.

       Undisputed that when a person who has never owned an Apple device starts a new Apple

device and opens the Safari browser for the first time, it displays a preset or default bookmark for

each of Bing and Yahoo in additional to a Google bookmark.

       Disputed as incomplete because bookmarks (1) require users to take additional steps to

search as compared to the use of Google, (2) are no longer visible once a user visits any web

page, and (3) carry over from one Apple device to the next. Pls. Ex. 24, Whinston (DOJ Pls.’

Expert) Rebuttal Report, ¶ 413 (“While Apple places links to rival general search engines Bing

and Yahoo in the ‘Favorites’ on the Safari homepage, Apple users cannot enter searches there, so

use of rival search engines requires an extra step compared to use of [Google]. Moreover, the

homepage and its bookmarks—unlike the address bar—are not visible while the user is surfing

the web. And after the first use of Safari on a device, the homepage and its bookmarks are often

not visible, even when the user opens Safari. As Apple’s Senior Vice President of Services

Eduardo Cue explained, ‘[T]ypically, . . . when you open Safari, it just goes to the last window

you used[,]’ meaning the last website the user visited.” (quoting Pls. Ex. 25, Cue (Apple) Dep.,

237:22–238:14);




                                                51
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 54 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 55 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 56 of 271




          Plaintiffs object to the term “restricts” as vague and undefined, and to Statement 84 as

vague and incomplete.

          Undisputed that there is no direct, express, written agreement between Google and Apple

dictating the number of steps a user must take or which menus a user must navigate in order to

change the default browser on an Apple device.

          Otherwise disputed. The ISA between Google and Apple creates financial incentives for

Apple to increase the number of search queries Apple sends to Google, and thereby affects

Apple’s decision-making including with respect to product design. See Statement 11 response,

supra (              ); Pls. Ex. 173, Schindler (Google) Dep., 330:23–331:20 (




                        ).

        85.    In 2009, Microsoft released a Bing app for download from the Apple App
Store. Bing for mobile comes to the iPhone, available at
https://blogs.bing.com/search/2009/12/15/bing-for-mobile-comes-to-the-iphone (Dec. 15,
2009).

          Undisputed.

        86.    Bing is the default search engine in Microsoft’s Edge Browser, which can be
downloaded from the Apple App Store. Microsoft Edge now available for iOS and Android
(Updated), available at
https://blogs.windows.com/windowsexperience/2017/11/30/microsoft-edge-now-available-
for-ios-and-android/ (Nov. 30, 2017).

          Undisputed.

      87.   DuckDuckGo is the only search engine integrated into DuckDuckGo’s
Privacy Browser, which can be downloaded from the Apple App Store. Weinberg
(DuckDuckGo) Tr. 217:24-218:24 (Def. Ex. 29).

          Undisputed.

     88.    In some versions of the Microsoft Windows operating system, such as
Windows 11 in S Mode, it is not possible for a user to change the default search engine


                                                  54
        Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 57 of 271




from Bing to Google in Microsoft’s Edge Browser. Windows 10 and Windows 11 in S mode
FAQ, available at https://support.microsoft.com/en-us/windows/windows-10-and-windows-
11-in-s-mode-faq-851057d6-1ee9-b9e5-c30b-93baebeebc85#WindowsVersion=Windows_11.

         Disputed.

         Plaintiffs object to Statement 88 as (1) incomplete; (2) misleading; and (3) not supported

by the cited material as required by Federal Rule of Civil Procedure 56(c)(1) and Local Rule

7(h).

         First, S Mode, as the name suggests, is a mode that the Windows 10 and 11 operating

systems can be set to; the mode itself can also be turned off. Pls. Ex. 26, Windows 10 and

Windows 11 in S Mode FAQ, Microsopft Support. So the user may change the default by

switching out of S Mode.

         Second, the cited material discusses only Windows 10 and 11, no other edition of

Windows. Pls. Ex. 26, Windows 10 and Windows 11 in S Mode FAQ, Microsopft Support.

       89.   It is not possible for a user to change the default search engine from
DuckDuckGo to Google in DuckDuckGo’s Privacy Browser. Weinberg (DuckDuckGo)
Tr. 217:24-218:24 (Def. Ex. 29).

         Undisputed.

        90.     Google has marketed its Chrome browser to Apple device users since 2012,
and it is available through the Apple App Store alongside other browsers such as
Microsoft’s Edge. Chrome & Apps @ Google I/O: Your web, everywhere, available at
https://blog.google/products/chrome/chrome-apps-google-io-your-web/ (June 28, 2012);
Whinston (DOJ Pls.’ Expert) 214:20-215:4 (Def. Ex. 4).

         Disputed in part.

         Plaintiffs object to Statement 90 as misleading.

         Undisputed that Google has marketed its Chrome browser to Apple users in some ways.

         Otherwise disputed.




                                                 55
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 58 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 59 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 60 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 61 of 271




       Undisputed.

       B.      The Agreements with Mozilla

               1.     Mozilla’s Firefox Browser and Its Default Search Engine
       97.     The Mozilla Foundation was established in 2003 as “a non-profit
organization dedicated to preserving choice and promoting innovation on the Internet.”
Mozilla Foundation releases the highly anticipated Mozilla Firefox 1.0 web browser,
available at https://blog.mozilla.org/press/2004/11/mozilla-foundation-releases-the-highly-
anticipated-mozilla-firefox-1-0-web-browser/ (Nov. 9, 2004) (Def. Ex. 30).

       Undisputed.

       98.     Mozilla released the first version of its Firefox web browser to the public in
2004. Mozilla Foundation releases the highly anticipated Mozilla Firefox 1.0 web browser,
available at https://blog.mozilla.org/press/2004/11/mozilla-foundation-releases-the-highly-
anticipated-mozilla-firefox-1-0-web-browser/ (Nov. 9, 2004) (Def. Ex. 30).

       Undisputed.

        99.   Before releasing the first version of Firefox to the public, Mozilla decided
that the browser’s interface would include a built-in “search box” that enabled users to
search the web by entering a query in the box, without having to first navigate to a search
engine’s website or install a search engine’s browser extension. Mozilla Foundation releases
the highly anticipated Mozilla Firefox 1.0 web browser, available at
https://blog.mozilla.org/press/2004/11/mozilla-foundation-releases-the-highly-anticipated-
mozilla-firefox-1-0-web-browser/ (Nov. 9, 2004) (Def. Ex. 30); Baker (Mozilla) Tr. 47:24-
49:15 (Def. Ex. 31).

       Undisputed.

       Plaintiffs object to the term “search box” as vague and undefined.

       100. Mozilla decided before releasing the first version of Firefox in 2004 that
queries entered in the built-in search box should be routed to one search engine, without
the user having to take any further action to select a search engine. Baker (Mozilla)
Tr. 46:24-47:23, 51:20-54- 16 (Def. Ex. 31).

       Disputed in part.

       Plaintiffs object to the term “search box” as vague and undefined and to Statement 100 as

(1) not supported by the cited material, as required by Federal Rule of Civil Procedure 56(c)(1)




                                               59
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 62 of 271




and Local Rule 7(h), (2) misstating Ms. Baker’s testimony; (3) incomplete as to the decision to

route to “one” search engine.

       Undisputed that Ms. Baker testified that: “[S]omewhere early in the Firefox development

cycle there was a search box. That’s always been there. The search box used to be separate from

the awesome (sic) bar, so the place of it has moved a little bit. That’s changed.” Pls. Ex. 28,

Baker (Mozilla) Dep., 46:24-48:9.

       Otherwise disputed. Ms. Baker explicitly did not say that Mozilla believed that queries

should be routed to “one” search engine, but rather that “the existence of multiple search engines

in the product has always been there” and “[i]t’s right there in the UR and we reject exclusivity.”

See Pls. Ex. 28, Baker (Mozilla) Dep., 47:24–47:23.

       101. Mozilla determined that the Firefox browser is more appealing to users if the
browser includes a default search engine to which queries entered in the built-in search box
are automatically routed. Baker (Mozilla) Tr. 46:24-49:11, 55:2-56:7 (Def. Ex. 31).

       Disputed in part.

       Plaintiffs object to the terms “more appealing,” “search box,” and “default search

engine,” as vague and undefined and to Statement 101 as (1) vague as to time; (2) vague as to

whether the referenced default search engine is user-selected; and (3) not supported by the cited

material, as required by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h).

       Undisputed that Ms. Baker testified that “[y]ou want the browser to work when it starts”

and that having a preset default search engine is not “at odds” with Mozilla’s mission. Pls. Ex.

28, Baker (Mozilla) Dep., 46:24-47:23, 55:2–56:7.

       Otherwise disputed. Ms. Baker’s cited testimony did not address users generally, but

addressed “many users” (i.e. not all users or even necessarily most users) and did not testify that

a preset search engine is the only or even the most effective way of ensuring a browser “work[s]

when it starts” or “is easy for people [to use].” Pls. Ex. 28, Baker (Mozilla) Dep., 46:24-47:23.


                                                 60
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 63 of 271




       Moreover, because Google’s Chrome distribution tactics impede Mozilla’s ability to

distribute its browser through OEMs and carriers, Pls. Ex. 272, Mozilla presentation: Firefox

Mobile Distribution (UNDATED), MOZ-002233 (Baker (Mozilla) Ex. 3), at -234

                                                                ), -239

                   ); Pls. Ex. 28, Baker (Mozilla) Dep., 185:1–5 (



                                    ), Ms. Baker’s testimony necessarily related only to the

actions of users after diverting from a device’s default browser or search access point and

downloading a Mozilla product. Ms. Baker’s testimony thus related only to user conduct in the

course of a limited and inefficient means of browser distribution. Pls. Ex. 28, Baker (Mozilla)

Dep., 139:20–140:24 (“[M]erely having an app in the app store is a very difficult way to compete

with the preloaded defaults. Q. And why is that? A. Because each person who gets that phone

has to make a conscious decision and go through a lot of work to get your product.”).

       102. In designing and updating the Firefox browser, Mozilla has determined that
multiple search engines should be integrated into the product and that users should be able
to choose a different search engine if they wish to do so. Baker (Mozilla) Tr. 47:24-49:15,
55:2- 56:7 (Def. Ex. 31).

       Disputed in part.

       Plaintiffs object to the term “integrated” as vague and undefined and to Statement 102 as

(1) incomplete; (2) misleading; and (3) not supported by the cited material as required by Federal

Rule of Civil Procedure 56(c)(1) and Local Rule 7(h). Google does not define “integrated into

the product,” leaving it unclear what “integration” Mozilla determined non-Google search

engines would enjoy, and does not describe how or when users “should be able to choose a

different search engine.”




                                                61
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 64 of 271




       Undisputed that Ms. Baker testified that Mozilla “reject[s] exclusivity,” and “tr[ies] to

make it easy for people to pick a different search engine if they want it.” Pls. Ex. 28, Baker

(Mozilla) Dep., 47:2-23.

       Otherwise disputed. The RSA between Google and Mozilla creates financial incentives

for Mozilla to support Google, including with respect to increasing the number of search queries

Mozilla sends to Google, and thereby affects Mozilla’s decision-making including with respect

to product design. Pls. Ex. 28, Baker (Mozilla) Dep., 41:18-24 (estimating that “     percent” of

Mozilla’s revenue comes from its revenue sharing agreement with Google), 47:2–23 (“if you [the

user] make no other choice, you’ll get the default [Google]”); cf. Pls. Ex. 173, Schindler

(Google) Dep., 330:23–331:20 (



                                                                              ). For example,

Mozilla

                                                                                       Pls. Ex. 234,

Email from Bautista (Mozilla), Should we                             (Apr. 6, 2020), MOZ-LIT-

009028, at -028.

       103. Mozilla has determined that the quality of the integrated search experience
offered by the web browser is one of the most critical characteristics or features of the
browser. Baker (Mozilla) Tr. 33:21-34:14 (Def. Ex. 31).

       Disputed in part.

       Plaintiffs object to the terms “integrated,” “critical,” and “integrated search experience”

as vague and undefined, and to Statement 103 as (1) vague; (2) incomplete; (3) misleading; (4)

misstating Ms. Baker’s testimony; and (5) not supported by the cited material as required by

Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h).




                                                 62
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 65 of 271
       Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 66 of 271




                                                     Pls. Ex. 29, Mozilla document: Strategic

Discussion Topic #1 - US Search Partnership (*July 2020), MOZ-002220, at -223; see also id. at

-223

                                                ).

        Mozilla has considered privacy,



          Pls. Ex. 28, Baker (Mozilla) Dep., 231:8–232:10; Pls. Ex. 273, Email from Petitt

(Mozilla), Re: A longer version from me -- not the main post (Nov. 17, 2014), MOZ-LIT-

001312, at -313




        Mozilla has considered the impact of its partnership on innovation. Pls. Ex. 274, Email

from Baker (Mozilla), Re: Mozilla Board update #2 - Search deal (Nov. 8, 2014), MOZ-LIT-

001091, at -093 (




        Mozilla has also considered whether its partnership with

        would foster a more competitive search ecosystem. Pls. Ex. 28, Baker (Mozilla) Dep.,

224:8–225:4



                                                                       ; Pls. Ex. 243, Mozilla




                                                64
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 67 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 68 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 69 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 70 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 71 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 72 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 73 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 74 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 75 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 76 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 77 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 78 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 79 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 80 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 81 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 82 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 83 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 84 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 85 of 271




Def. Ex. 44, Letter from Mozilla Counsel to Department of Justice (Sept. 30, 2020), MOZ-

002532 (Baker Ex. 11), which discusses Pls. Ex. 29, Mozilla document: Strategic Discussion

Topic #1 - US Search Partnership (*July 2020), MOZ-002220, at, -223 & Pls. Ex. 30, Mozilla

document: Oath/Mozilla: State of the Relationship (*Sept. 2020), MOZ-002224, at -030).

       If construed as addressing the 2021-22 experiment, it is therefore not supported by the

cited material. If construed as addressing the 2017 assessment, Statement 156 is incomplete.

Statement 156 is also unclear regarding the quality of the search product over what period, i.e.

long or short term. Pls. Ex. 29, Mozilla document: Strategic Discussion Topic #1 - US Search

Partnership (*July 2020), MOZ-002220, at -223




see also Pls. Ex. 157, Mozilla presentation: Firefox, Strategic Development: Search Negotiations

(July 2014), MOZ-LIT-000710, at 10

                                                                         Historically, Mozilla

also considered trying to                                                           . Pls. Ex. 231,

Mozilla presentation: Strategic Development: Search Negotiations (Oct. 2014), MOZ-LIT-

000903, at 5; Pls. Ex. 243, Mozilla document: Mozilla Opening Mediation Brief in Yahoo v.

Mozilla (July 17, 2019), MOZ-LIT-000296, at -302.

       Moreover, as Plaintiffs’ expert Prof. Whinston notes, any quality or user experience

differential between Google and Yahoo was in large part the result of Google’s search

distribution contracts. Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶ 426 (“Prof.

Murphy describes evidence that




                                                83
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 86 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 87 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 88 of 271




(1) vague; (2) misleading; and (3) not supported by the cited material as required by Federal Rule

of Civil Procedure 56(c)(1) and Local Rule 7(h).

       Prof. Whinston’s Initial Report describes the

                                            . Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, ¶ 818–819. As Prof. Whinston notes—with cites to relevant contracts—Google and

Mozilla entered into agreements




                                               86
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 89 of 271




        159. Mozilla has integrated search engines other than Google into the Firefox
browser since it released the first version of Firefox to the public in 2004. Mozilla
Foundation releases the highly anticipated Mozilla Firefox 1.0 web browser, available at
https://blog.mozilla.org/press/2004/11/mozilla-foundation-releases-the-highly-anticipated-
mozilla-firefox-1-0-web-browser/ (Nov. 9, 2004) (Def. Ex. 30); Baker (Mozilla) Tr. 41:24-
44:8 (Def. Ex. 31).

       Disputed in part.

       Plaintiffs object to the term “integrated” as vague and to Statement 159 as (1) vague as to

time; (2) misleading; and (3) vague as to whether more than one search engine is intergrated at a

time in any given Mozilla browser.

       Undisputed that at times, Mozilla produced browsers with search engines other than

Google in the default search position. How many versions of the browser have these alternatives,

when they have been available, and how much they have been promoted by Mozilla has varied

over the past 19 years.

       Otherwise disputed. Prof. Whinston’s Initial Report describes the

                                                                           . Pls. Ex. 22, Whinston

(DOJ Pls.’ Expert) Initial Report, ¶ 818–819. As Prof. Whinston notes—with cites to relevant

contracts—Google and Mozilla entered into agreements




                                               87
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 90 of 271




                                88
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 91 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 92 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 93 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 94 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 95 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 96 of 271
      Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 97 of 271




Email from Bautista (Mozilla), Should we                               (Apr. 6, 2020), MOZ-LIT-

009028, at -028.

       167. Mozilla has displayed “This time, search with” messaging that allows end
users to send their queries to other search engines at the moment the user is entering a
search in Firefox’s built-in search box. Get where you’re going faster, with Firefox Suggest,
available at https://blog.mozilla.org/en/products/firefox/firefox-news/firefox-suggest/;
Baker (Mozilla) Tr. 88:3-92:25 (Def. Ex. 31).

        Disputed in part.

        Plaintiffs object to the term “other search engines” as vague and object to Statement 167

as (1) vague as to time; (2) incomplete; and (3) not supported by the cited material as required by

Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h).

        Undisputed that, in 2014, Mozilla released Firefox 34, which simultaneously (1) changed

the preset default search engine in Firefox to Yahoo and (2) introduced a “One Click Search”

feature, which, when a user began typing in a search term, displayed a menu allowing users to

select any search engine to perform the search. Pls. Ex. 309, Email from Grupp (Microsoft),

Quick recap - Y! search default in Firefox (Dec. 5, 2014), MSFT-LIT2_0005802135, at -135; see

also Def. Ex. 38, 2014 Yahoo-Mozilla Strategic Agreement (Dec. 1, 2014), MOZ-LIT-002685,

at -697, §(h) (                                                      ); -720 (Attachment D)

(                                                     ). It is also undisputed that Mozilla maintained

the one-click search feature (now accompanied by “This time, search with” messaging) in

Firefox when switching its preset default search engine back to Google in 2016.

        Otherwise disputed.

        First, the web page Google cites in support of Statement 167 does not describe the one-

click search feature, but instead contains an incidental illustration of one-click search while

describing a wholly different feature implemented years later and known as “Firefox




                                                 95
      Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 98 of 271




Suggestions.” See Pls. Ex. 28, Baker (Mozilla) Dep., 92:5-24 (“[T]hat bottom set of options for

search is a much older, more basic Firefox feature. Q. You’re referring to the ‘this time search

with’ feature? A. Yes.”) (discussing Pls. Ex. 277, Mozilla, Get where you’re going faster, with

Firefox Suggest, dist:lled Blog (Sept. 15, 2021) (Baker (Mozilla) Ex. 1016). Firefox Suggestions

are not discussed in Statement 167, and Statement 167’s use of a web page created in 2021 to

support its narrative of a feature first introduced in a 2014 contract between Mozilla and Yahoo

is misleading.

        Second, Firefox’s one-click search option does not change the default search engine for

any future searches, even follow-on searches. Google recognizes this, stating at the time of its

introduction that one-click search “introduces confusion” because “[u]sers who are used to the

old interface may think they are changing their default search engine when in fact, they are only

changing it for the current query.” Pls. Ex. 310, Email from Hopkins (Google), Firefox

Redesigns Its Search Interface Ahead Of Yahoo Switch (Dec. 1, 2014), GOOG-DOJ-03526001,

at -003; see also Pls. Ex. 28, Baker (Mozilla) Dep., 268:14–269:8 (“Q. And if you select from

the awesome bar one of the other search providers, say Amazon, it applies Amazon to that

particular search; correct? A. Yes. Q. It doesn’t reset the default to Amazon; right? Q. That’s

right.”).

        168. Mozilla has displayed clickable icons for Bing, DuckDuckGo, and other
search engines that enable end users to send their queries to those search engines with a
single click or tap in the Firefox browser. Get where you’re going faster, with Firefox
Suggest, available at https://blog.mozilla.org/en/products/firefox/firefox-news/firefox-
suggest/; Baker (Mozilla) Tr. 88:3-92:25 (Def. Ex. 31).




16
 This is a hard copy of the website Statement 167 relies on, which was marked as Exhibit 10 at the deposition of
Mozilla’s CEO.


                                                        96
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 99 of 271




       Plaintiffs object to Statement 168 as (1) vague as to time; (2) incomplete; (3) not

supported by the cited material as required by Federal Rule of Civil Procedure 56(c)(1) and

Local Rule 7(h); and (4) duplicative of Statement 167.

       Undisputed that, in 2014, Mozilla released Firefox 34, which simultaneously (1) changed

the preset default search engine in Firefox to Yahoo and (2) introduced a “One Click Search”

feature, which, when a user began typing in a search term, displayed a menu allowing users to

select any search engine to perform the search. Pls. Ex. 309, Email from Grupp (Microsoft),

Quick recap - Y! search default in Firefox (Dec. 5, 2014), MSFT-LIT2_0005802135, at -135; see

also Def. Ex. 38, 2014 Yahoo-Mozilla Strategic Agreement (Dec. 1, 2014), MOZ-LIT-002685,

at -697, §(h)                                                        ); -720 (Attachment D)

                                                      ). It is also undisputed that Mozilla maintained

the one-click search feature (now accompanied by “This time, search with” messaging) in

Firefox when switching its preset default search engine back to Google in 2016.

       Otherwise disputed.

       First, the feature described in Statement 168 is the same one-click search feature

described in Statement 167 and the two Statements rely on identical citations. Pls. Ex. 28, Baker

(Mozilla) Dep., 92:5-24 (“At the bottom it says ‘this time search with,’ and it’s right there. So

you can search with Amazon or Bing or DuckDuckGo, you know, whatever these are . . . . [T]hat

bottom set of options for search is a much older, more basic Firefox feature.”). Thus, as with

Statement 167, the web page Google cites in support primarily describes a feature implemented

years after the feature Statement 168 describes, rendering Statement 168 misleading.

       Second, Firefox’s one-click search option does not change the default search engine for

any future searches, even follow-on searches. Google recognizes this, stating at the time of its




                                                 97
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 100 of 271




introduction that one-click search “introduces confusion” because “[u]sers who are used to the

old interface may think they are changing their default search engine when in fact, they are only

changing it for the current query.” Pls. Ex. 310, Email from Hopkins (Google), Firefox

Redesigns Its Search Interface Ahead Of Yahoo Switch (Dec. 1, 2014), GOOG-DOJ-03526001,

at -003; see also Pls. Ex. 28, Baker (Mozilla) Dep., 268:14–269:8 (“Q. And if you select from

the awesome bar one of the other search providers, say Amazon, it applies Amazon to that

particular search; correct? A. Yes. Q. It doesn’t reset the default to Amazon; right? Q. That’s

right.”).

       169. Mozilla has introduced a “search shortcuts” feature, which allows Firefox
users to assign their own keywords for search engines (such as @ddg for DuckDuckGo or
@shopping for Amazon) to make it easier for users to perform a search using those search
engines. Assign shortcuts to search engines, available at https://support.mozilla.org/en-
US/kb/assign-shortcuts-search-engines.

        Disputed in part.

        Plaintiffs object to the term “search engine” as vague and to Statement 169 as (1) vague

as to time; and (2) incomplete.

        Undisputed that Mozilla presently has                       agreements” with Amazon,

DuckDuckGo, and Microsoft Corporation, and has incorporated a feature allowing Firefox users

to assign their own keywords to perform searches on those sites and on Google. Pls. Ex. 278,

Mozilla Supp. Response to DOJ CID No. 30243 (July 15, 2020), MOZ-002479 (Baker (Mozilla)

Dep. Ex. 3), at –485.

        Otherwise disputed that this has always been the case or that this changes the default for

future searches. Pls. Ex. 278, Mozilla Supp. Response to DOJ CID No. 30243 (July 15, 2020),

MOZ-002479 (Baker (Mozilla) Dep. Ex. 3), at –485 (Firefox “maintains” previous default

setting during secondary search). Mozilla’s CEO testified at deposition that she was not even

aware of this feature. Pls. Ex. 28, Baker (Mozilla) Dep., 60:18–61:1.


                                                98
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 101 of 271




       170. Mozilla has displayed sponsored tiles or shortcuts for other search services,
including Amazon, on the default home page and new tab page in the Firefox browser.
Sponsored shortcuts on the New Tab page, available at https://support.mozilla.org/en-
US/kb/sponsor-privacy; Baker (Mozilla) Tr. 40:11-42:14 (Def. Ex. 31).

         Disputed in part.

         Plaintiffs object to the term “other search services” and to Statement 170 as (1) vague as

to time; (2) incomplete; and (3) not supported by the cited material as required by Federal Rule

of Civil Procedure 56(c)(1) and Local Rule 7(h).

         Undisputed that Mozilla presently displays sponsored tiles or shortcuts for other websites,

including Amazon, on the default home page and new tab page in the Firefox browser.

         Otherwise disputed. Google’s sources only show Amazon and eBay featured in

sponsored tiles or shortcuts. Pls. Ex. 28, Baker (Mozilla) Dep., 40:11–42:14 (“




                         ”). Neither are general search services, as defined in Plaintiffs’

Complaint in allegations Google does not challenge in its Motion, and Statement 170’s use of the

vague term “other search services” misleadingly fails to differentiate between general and

specialized search services.

         Statement 170’s vagueness as to time period also obscures the minimal role sponsored

tiles play in Mozilla’s business: as its CEO testified,

                                                              ” Pls. Ex. 28, Baker (Mozilla) Dep.,

40:11–17. As compared to the “               ” revenue Google realizes from the products discussed

in Statement 170, the revenue Mozilla receives from Google for default placement comprises

“about     percent” of Google’s revenue.” Pls. Ex. 28, Baker (Mozilla) Dep., 41:18-25.




                                                 99
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 102 of 271




       171. Mozilla receives revenue in exchange for placing sponsored tiles or shortcuts
for other search services, including Amazon, on the default home page and new tab page in
the Firefox browser. Baker (Mozilla) Tr. 40:11-42:14 (Def. Ex. 31).

         Disputed in part.

         Plaintiffs object to the term “other search services” and to Statement 171 as (1) vague as

to time; (2) incomplete; and (3) not supported by the cited material as required by Federal Rule

of Civil Procedure 56(c)(1) and Local Rule 7(h).

         Undisputed that Mozilla presently displays sponsored tiles or shortcuts for other websites,

including Amazon, on the default home page and new tab page in the Firefox browser.

         Otherwise disputed. Google’s sources only show Amazon and eBay featured in

sponsored tiles or shortcuts. Pls. Ex. 28, Baker (Mozilla) Dep., 40:11–42:14 (“




                         ”). Neither are general search services, as defined in Plaintiffs’

Complaint in allegations Google does not challenge in its Motion, and Statement 170’s use of the

vague term “other search services” misleadingly fails to differentiate between general and

specialized search services.

         Statement 171’s vagueness as to time period also obscures the minimal role sponsored

tiles play in Mozilla’s business: as its CEO testified,

                                                              .” Pls. Ex. 28, Baker (Mozilla) Dep.,

40:11–17. As compared to the “quite small” revenue Google realizes from the products discussed

in Statement 170, the revenue Mozilla receives from Google for default placement comprises

“about     percent” of Google’s revenue.” Pls. Ex. 28, Baker (Mozilla) Dep., 41:18–25.

       172. Google and Mozilla have never entered an agreement that places a
contractual cap or limit on the number of Firefox users who can use a search engine other



                                                 100
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 103 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 104 of 271




       Plaintiffs object to the phrase “alter the payment terms” as vague and to Statement 173 as

(1) misleading; and (2) incomplete.

       Google and Mozilla’s agreement is based on sharing revenue that Google gets from

searches on Mozilla. If a particular number of Mozilla customers use a rival search engine,

Google will make less money and pay Mozilla less money under the agreement.



     Thus while the percentage paid does not depend on the number of Mozilla customers that

perform searches on Google, the amount paid does.

       As Prof. Whinston notes,




                                                                                Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 819 (citing GOOG-DOJ-02696612, at -619 (same

document as                                                                                     ).

       Otherwise disputed. The RSA between Google and Mozilla creates financial incentives

for Mozilla to support Google, including with respect to increasing the number of search queries

Mozilla sends to Google, and thereby affects Mozilla’s decision-making including with respect

to product design. Pls. Ex. 28, Baker (Mozilla) Dep., 47:2–23 (“if you [the user] make no other

choice, you’ll get the default [Google]”); cf. Pls. Ex. 173, Schindler (Google) Dep., 330:23–

331:20 (




                                               102
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 105 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 106 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 107 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 108 of 271




       Third, Prof. Whinston’s Opening Report describes the restrictions on integration imposed

by Google’s contracts with Opera. See Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶

820. As Prof. Whinston notes,




                                              106
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 109 of 271




       177. Google and Opera have never entered an agreement that restricts Opera
from accepting payments from other search engines in exchange for directing traffic to
those search engines in the Opera browser. See, e.g.,


       Disputed.

       Plaintiffs object to the terms “restricts” and “promoting” as vague and undefined and to

Statement 177 as (1) vague; (2) incomplete; and (3) not supported by the cited material as

required by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h).

       Undisputed that the 2012 Opera Agreement between Google and Opera permits Opera to

accept payments from search engines other than Google.

       Otherwise disputed. The RSA between Google and Opera creates financial incentives for

Opera to increase the number of search queries Opera sends to Google, and thereby affects

Opera’s decision-making including with respect to promotion and product design.

                                                                                             Pls.

Ex. 173, Schindler (Google) Dep., 330:23–331:20 (



                                                                                                    ).

       Furthermore, carriers and browsers may make different determinations with respect to

distribution of search engines, and search defaults, absent Google’s search distribution contracts.

See, e.g., Pls. Ex. 156, Ramaswamy (Neeva) Dep., 235:8–17




                                               107
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 110 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 111 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 112 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 113 of 271




821. As Prof. Whinston notes,




       183. Google and UC Web have never entered an agreement that restricts UC Web
from accepting payments from other search engines in exchange for directing traffic to
those search engines in the UC Web browser. See, e.g.,


       Disputed.

       Plaintiffs object to the term “restricts” as vague and undefined and to Statement 183 as

(1) incomplete; and (2) not supported by the cited material as required by Federal Rule of Civil

Procedure 56(c)(1) and Local Rule 7(h).

       Undisputed that the UCWeb Agreement between Google and UC Web permits UC Web

to accept payments from search engines other than Google.

       Otherwise disputed. The RSA between Google and UC Web creates financial incentives

for UC Web to increase the number of search queries UC Web sends to Google, and thereby

affects UC Web’s decision-making including with respect to promotion and product design. See

Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 821 (citing RSAs); cf. Pls. Ex. 173,



                                               111
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 114 of 271




Schindler (Google) Dep., 330:23–331:20 (



                                                                                 ).

        Furthermore, the record contains evidence that carriers and browsers may make different

determinations with respect to distribution of search engines, and search defaults, absent

Google’s search distribution contracts. See, e.g., Pls. Ex. 156, Ramaswamy (Neeva) Dep., 235:8–

17 (“




        184. Google and UC Web have never entered an agreement that restricts an end
user from changing the default search engine that receives queries entered in UC Web’s
built-in search box. See, e.g.,                                                        ;
Mobile UC Browser: Changing Your Search Engine to DuckDuckGo, available at
https://help.duckduckgo.com/duckduckgo-help-pages/mobile/uc-browser/.

        Plaintiffs object to the terms “restricts” and “search box” as vague and undefined and to

Statement 184 as (1) incomplete; and (2) misleading.

        Undisputed that there is no direct, express, written agreement between Google and UC

Web to limit an end user from changing the search engine that receives queries entered in

Firefox.

        Otherwise disputed. The RSA between Google and UC Web creates financial incentives

for UC Web to support Google, including with respect to increasing the number of search queries

UC Web sends to Google, and thereby affects UC Web’s decision-making including with respect

to product design. See Pls. Ex. 173, Schindler (Google) Dep., 330:23–331:20 (




                                               112
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 115 of 271




                      ).

       185. There is no evidence that UC Web would have refused to set a search engine
other than Google as the default in place of Google in the U.S. if UC Web determined that
the rival search engine would provide a superior user experience and UC Web was able to
reach agreement with the rival.

       Disputed.

       Plaintiffs object to Statement 185 as improper for three reasons. First, it is a bare

statement that the record contains “no evidence,” and is, therefore, not proper for inclusion in a

Statement of Material Facts. Gipson v. LeBlanc, No. 1:17-CV-01394, 2019 U.S. Dist. LEXIS

171137, at *14–15 (W.D. La. Sep. 6, 2019) (statements that nonmovant “has no evidence . . . .

are not material facts that support Defendants’ initial burden at the summary judgment stage.

Rather, they are declarations that [nonmovant] will not carry his ultimate burden of proof at

trial.”). Second, Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h) require citations to

record evidence in a Statement of Material Facts and Google provides none. Third, Statement

185 is framed as a hypothetical, as such it is incomplete and not subject to answer.

       Furthermore, the record contains evidence that both (1) “rival search engine[s] would

provide a superior user experience” absent Google’s search distribution contracts see Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, § VIII.A.2.c (“Google’s anticompetitive search

distribution contracts also reduce rivals’ abilities and incentives to improve their general search

services”) & § VIII.A.2.d (“Google’s anticompetitive search distribution contracts reduce

potential entrants’ incentives to develop improved or alternative approaches to general search”);

and (2) carriers and browsers may make different determinations with respect to distribution of

search engines, and search defaults, absent Google’s search distribution contracts. See, e.g., Pls.

Ex. 156, Ramaswamy (Neeva) Dep., 235:8–17



                                                113
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 116 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 117 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 118 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 119 of 271




system or devices have been sufficient or beneficial to consumers, OEMs or carriers. See, e.g.,

Pls. Ex. 51, Google document: Carrier CLV: Internal Google Meeting Notes (Apr., May & Aug.

2017) (notes from multiple meetings), GOOG-DOJ-32661454, at -463 (

                                                                                            ).

       Undisputed that Google has continued to release updates to Android since 2008,

including approximately annually, in the form of new versions of Android (e.g., Android 10 (Q),

Android 12(S)), as well as other updates. Some of these “updates” remove functionality from the

operating system. Pls. Ex. 56, Davies (DOJ Pls.’ Expert) Initial Report, ¶¶ 49–52, § IV.B.2; Pls.

Ex. 94, Davies (DOJ Pls.’ Expert) Reply Report, ¶¶ 39–41.

       Otherwise disputed, including to the extent Statement 195 suggests these updates are

made available at the same time to all Android licensees.




                                               117
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 120 of 271




       196. Google has invested billions of dollars in developing and maintaining the
Android platform. Murphy (Google’s Expert) Opening Rep. ¶ 426 (Def. Ex. 9); Statement
of Rich Miner (Nov. 8, 2016) (GOOG-DOJ-19567568 at -572) (Def. Ex. 56).

       Disputed in part.

       Plaintiffs object to the term “Android platform” as vague and to Statement 196 as

misleading, including by suggesting comparable investment in AOSP and Google’s proprietary

Android.

       Undisputed that Google has invested a large amount in developing and maintaining

elements of its Android platform, including but not limited to AOSP.

       Otherwise disputed. It is unclear from Statement 196 how much Google invests into open

source AOSP, Google proprietary Android (including Google Play Services and GMS Core

costs). Google has over the years shifted focus from AOSP to Google’s proprietary Android. Pls.

Ex. 56, Davies (DOJ Pls.’ Expert) Initial Report, ¶¶ 49–52, § IV.B.2 (“Google has degraded

AOSP over the years”). See also Pls. Ex. 57, Miner (Google) Dep., 136:14–22 (“So if you’re

asking does the AOSP, as it stands today, contain all the apps, probably not.”).

       197. Android was one of several competing licensable mobile operating systems
when Google released the first commercially available version of Android, and there was
no assurance that it would succeed. Christensen (Motorola) Tr. 20:22-24:9 (Def. Ex. 58);
Statement of Rich Miner (Nov. 8, 2016) (GOOG-DOJ-19567568 at -571-74) (Def. Ex. 56).

       Undisputed.




                                               118
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 121 of 271




        198. Android was the second most widely used mobile phone operating system in
the U.S. in 2021, behind Apple’s iOS. Whinston (DOJ Pls.’ Expert) Opening Rep. ¶ 54
Fig. 2 (Def. Ex. 40).

          Undisputed.

       199. Unlike iOS devices, which are manufactured only by Apple, numerous
original equipment manufacturers (OEMs) such as Samsung, Motorola, LG, and OnePlus
have chosen the Android operating system to run a range of differentiated smartphones
and other devices.

          Disputed in part.

          Plaintiffs object to the terms “numerous,” “Android operating system,” “range,” and

“differentiated” as vague and undefined, object as vague as to time, and to Statement 199 as

incomplete and misleading.

          Undisputed that unlike iOS devices, which are manufactured only by Apple, multiple

original equipment manufacturers (OEMs) such as Samsung, Motorola, LG, and OnePlus have at

one time manufactured devices that run an Android operating system.

          Otherwise disputed. Android is the only viable, licensable modern operating system for

mobile phones in the United States. Pls. Ex. 56, Davies (DOJ Pls.’ Expert) Initial Report, ¶¶ 25–

31, § III.D (“Android emerged as the only viable, licensable modern smartphone OS”).

Accordingly, it is wrong to say OEMs have chosen to license Android—it is the only option.

Also disputed with respect to “differentiation”—the vast majority of OEMs in the United States

(including all the OEMs listed in Statement 199) have signed distribution agreements that

commit them to distributing Android devices that are only differentiated as far as the CDD

allows.




                                                                      Also, LG no longer



                                                119
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 122 of 271




manufactures mobile devices. Pls. Ex. 279, LG Electronics, Inc., Press Release, “LG to Close

Mobile Phone Business Worldwide” (Apr. 5, 2021).

      200. In 2021 there were an estimated 9,000 unique yet compatible Android devices
from an estimated 550 manufacturers in active use in the U.S. Murphy (Google’s Expert)
Opening Rep. ¶ 354 (Def. Ex. 9).

          Disputed.

          Plaintiffs object to the term “compatible Android devices” as vague and undefined and to

Statement 200 as (1) vague; (2) incomplete; and (3) misleading.

          First, the data is kept by model, meaning slight varitions in models appear as different

entries in the data.




          Second, “compatible Android devices” does not distinguish between devices running

AOSP and devices with GMS preinstalled (Google proprietary Android devices)—for an

Android mobile device to be successful in the United States, it must have proprietary Google

Software preinstalled—e.g., the Play Store and Google Play Services (GPS) (a critical

proprietary set of APIs). See Pls. Ex. 61, Christensen (Motorola) Dep., 157:11–158:2 (

     );                                                                        Pls. Ex. 63,

           ) Dep., 29:18–30:9 (               ); Pls. Ex. 64, Google presentation: Android Review

(*Nov. 5, 2019), GOOG-DOJ-06465054, at -066–067 (Android apps look for the application

programming interfaces (APIs) known as Google Play Services (GPS) and they need them to

function).

          Finally, the number provides no insight as to the number of each device in circulation,

putting equal weigh on devices with dozens of active users verses millions. Looking at the same

data Prof. Murphy relies on,


                                                  120
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 123 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 124 of 271




       Disputed.

       Plaintiffs object to Statement 204 as (1) vague; (2) incomplete; and (3) misleading.

       Based on the same data Google relies on for Statement 204, in 2020 Android devices

submitted

                                                                                           . Pls. Ex.

67, Murphy (Def.’s Expert) Initial Report, ¶ 86, Fig. 5. Statement 204 is misleading because it

obscures the differences between desktop and mobile searches—Windows has                     search

share on mobile and tablet devices in the United States. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert)

Initial Report, ¶¶ 53–54, Figs. 2, 3. In 2021, Microsoft’s Bing search engine had        share on

phones and         share on tablets, compared to Google’s        share on phones and            share

on tablets. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 849–852, Fig. 142.

       205. Bing has been the preinstalled default search engine on more than 80% of
Windows PCs since approximately 2013. Murphy (Google’s Expert) Opening Rep. ¶¶ 91-
94, Fig. 7, & Fig. 9 (Def. Ex. 9).

       Disputed in part.

       Plaintiffs object to Statement 205 as (1) incomplete; and (2) misleading insofar as it

understates Google’s possession of defaults on Windows PCs.

       Plaintiffs do not dispute that Bing is the default search engine within a preinstalled

browser on most Windows PCs and has been since 2013.

       Otherwise disputed. Statement 205 (1) ignores that Google’s distribution agreements with

nearly every alternative browser used on Windows and its ownership of Chrome—distributed

exclusively with Google search defaults—ensures Google benefits from the popularity of

Chrome and, to a lesser degree, from users of alternative browsers; from 2019–2021 at most

       of Google’s queries on Windows PCs were not attributable to distribution agreement or

Chrome. Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶ 459; and (2) ignores, with


                                               122
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 125 of 271




respect to preinstallation relative to a user, that Windows’ relative popularity in enterprise

settings allows a small set of technical administrators to switch defaults for large numbers of

searchers. Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶¶ 467–468.

       206. Google has not had any agreements to preinstall Google Search or the
Chrome browser on Windows PCs since 2015. Murphy (Google’s Expert) Opening Rep.
¶¶ 83, 92, 96, & Fig. 10 (Def. Ex. 9).

       Disputed in part.

       Plaintiffs object to Statement 206 as (1) incomplete; and (2) misleading.

       Undisputed that Google exited many, if not all, of its agreements to preinstall Google

Search or the Chrome browser on Windows PCs by approximately 2015—after it had achieved a

persistent market share of nearly 80% in general search services for more than five years. Pls.

Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 437–444, Figs. 66–71.

       Plaintiffs note: Statement 206 does not support the proposition in Google’s Memorandum

of Law for which Statement 206 is cited as support. See Def. Br. at 40 (“Google knows this well,

having successfully won consumers’ business on Microsoft Windows PCs, even though it has

historically had little or no pre-load distribution or default status while Microsoft search engines

and browsers have been preloaded exclusively on almost all such devices.”) (citing SMF ¶¶ 205-

206.). In fact, historically Google has had many agreements for pre-load distribution or default

status on Windows PCs. See, e.g., Pls. Ex. 66, Google presentation: Top Account Reviews:

Distribution – Chrome, Toolbar, and Desktop Browser Default Search (Jan. 2012), GOOG-DOJ-

00130034, at -035–040 (providing overview of pre-load distribution or default status deals on

Windows PCs, for Chrome, Toolbar, Default Search, and Homepage products, among others).

See also Pls. Ex. 67, Murphy (Def.’s Expert) Initial Report, ¶ 97 (in 2010, 9 percent of Google’s

search query volume on Windows PCs were covered by preinstallation deals).




                                                 123
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 126 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 127 of 271




them to function ). Further, an AOSP licensee cannot use the Android name, logo, or trademarks

or provide users access to the Google Play Store, which are all necessary to compete. To get

these things necessary to compete, OEMs must make devices compatible with Google’s CDD

and sign an ACC or AFA as a prerequisite to signing a MADA (necessary to get the Play Store).

Pls. Ex. 68, Android Source, AOSP – Docs – Getting Started – Brand Guidelines; Pls. Ex. 56,

Davies (DOJ Pls.’ Expert) Initial Report, ¶ 48; accord



       209. ACCs and AFAs require signatories to comply with the public Android
Compatibility Definition Document (“CDD”) for the Android devices that they market.
Second Statement of Jamie Rosenberg (Feb. 20, 2021) (GOOG-DOJ-29517860, at -872)
(Def. Ex. 60);


          Disputed in part.

          Plaintiffs object to the terms “Android” and “public” as vague and undefined and to

Statement 209 as (1) vague; (2) misleading; and (3) not supported by cited material, as required

by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h). It is unclear whether Statement

209 refers to AOSP or Google proprietary Android.

          Undisputed that the AFA and ACC require compliance with the CDD for all Android

devices (AOSP and Google proprietary Android) and that the CDD is publicly available for

review.

          Otherwise disputed. The prohibitions of the ACCs and AFAs require broader compliance

than only for “Android devices that [OEMs] market.” The AFAs prohibit manufacturers from

“distributing or developing” Android devices that do not comply with the CDD.

                                                                                   , and from

distributing a software development kit (SDK) based on Android.

                                                                    Even more broadly, the AFAs


                                                125
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 128 of 271




prevent signatories from taking “any actions that may cause or result in the fragmentation of

Android.”

       Google does not define fragmentation in the AFAs and declined to define fragmentation

when asked by OEMs. E.g., Pls. Ex. 69, Email from Tsao (Google),

            (Nov. 25, 2010), GOOG-DOJ-00626785, at -786. The ACCs are similar, with

exemptions for contract and component manufacturing.

                                                       . Pls. Ex. 56, Davies (DOJ Pls.’ Expert)

Initial Report, ¶ 107–114, § VIII (“Google’s Arrangements with Smartphone Vendors Preclude

The Development Of Viable Alternatives To Google’s Proprietary Android”).

       Google—not the “public”—controls the contents of the CDD and reserves the right to

unilaterally alter the CDD at its sole discretion; Statement 209 is disputed to the extent it

suggests otherwise.



        210. Neither the ACC nor the AFA requires a signatory to install the Google
Search app, the Chrome browser, or any proprietary Google Software on any Android
device. See, e.g.,
                   Android Compatibility Definition Document, available at
https://source.android.com/docs/compatibility/cdd (Aug. 11, 2022).

       Disputed in part.

       Plaintiffs object to the term “Android” as vague and undefined and to Statement 210 as

(1) incomplete; and (2) misleading. It is unclear whether Statement 210 refers to AOSP or

Google proprietary Android.

       Undisputed that there are no explicit provisions in the AFA or ACC that require a

signatory to install the Google Search app, the Chrome browser, or any proprietary Google

Software on any AOSP or Google proprietary Android device.




                                                 126
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 129 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 130 of 271




       Plaintiffs object to the terms “restricts,” “default,” and “Android” as vague and undefined

and to Statement 211 as (1) incomplete; (2) vague as to type of default referenced, e.g. meaning

of “the” default versus “a” default; and (3) misleading. It is unclear whether Statement 211 refers

to AOSP or Google proprietary Android.

       Undisputed there are no explicit provisions in the AFA or ACC that restrict a signatory

from exclusively preinstalling or setting as the default a search application, search widget, or

browser provided by a search engine other than Google on any device running any Android

operating system.

       Otherwise disputed, including to the extent Statement 211 suggests that an Android

device could be sucessful in the United States today without the Play Store or Google Play

Services (GPS). For an Android mobile device to be successful in the United States, it must have

proprietary Google Software preinstalled—e.g., the Play Store and Google Play Services (GPS)

(a critical proprietary set of APIs). See Pls. Ex. 61, Christensen (Motorola) Dep., 157:11–158:2

                                                                                        Pls. Ex. 63,

                    Dep., 29:18–30:9 (                ); Pls. Ex. 64, Google presentation: Android

Review (*Nov. 5, 2019), GOOG-DOJ-06465054, at -066–067 (Android apps look for the

application programming interfaces (APIs) known as Google Play Services (GPS) and they need

them to function ).The Play Store and GPS are only available under the MADA, and the MADA

requires that if the Play Store and GPS preinstalled, so must be the rest of a core set of

applications that include Google’s Search Widget and Google’s Chrome Browser. Pls. Ex. 160,

Def.’s Resp. to Pls.’ Second Set of Contention Interrogatories (Apr. 27, 2022), at 20–21

(response to Contention Interrogatory No. 19). Nearly all mobile devices made under the AFAs

and ACCs are also made under MADA agreements, indicating signatories view the agreements




                                                128
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 131 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 132 of 271




are in accord: as he notes, under the MADAs, “[i]nstead of charging a fee for GMS licenses,

Google imposes a set of requirements on the Android OEM and any Android device on which

the Android OEM chooses to preinstall Google apps.” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert)

Initial Report, ¶ 751. Prof. Whinston identified these requirements as they existed in the most

recent MADAs:

              The Android OEM must have a valid ACC or AFA;

              If the Android OEM preinstalls any single Google app, it must preinstall a suite of

               11 Google apps (the Core and Flexible Apps);

              Google’s Core Apps—GSA, Chrome, Play Store, Maps, YouTube, and Gmail—

               must be preinstalled in the system partition, making them undeletable by the user;

              Google Search widget must be placed on the default home screen;

              Google Play Store must be placed on the default home screen;

              A folder or icon labeled “Google” that provides direct access to the Core and

               Flexible Apps must be placed on the default home screen;

           




           



           




                                               130
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 133 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 134 of 271




          Undisputed.

      215. An OEM is not required to sign a MADA in order to manufacture or sell
Android devices. Def.’s Supp. Resp. to Pls.’ Interrog. No. 3 at 2-3 (Def. Ex. 67).

          Disputed in part.

          Plaintiffs object to the terms “required” and “Android” as vague and undefined and to

Statement 215 as (1) incomplete; (2) vague; and (3) misleading. It is unclear whether Statement

215 refers to AOSP or Google proprietary Android.

          Undisputed that an OEM may manufacture or sell an AOSP device without signing the

MADA.

          Otherwise disputed. Market realities require OEMs to sign MADAs. For an Android

mobile device to be successful in the United States, it must have proprietary Google Software

preinstalled—e.g., the Play Store and Google Play Services (GPS) (a critical proprietary set of

APIs). See Pls. Ex. 61, Christensen (Motorola) Dep., 157:11–158:2

                                                        ); Pls. Ex. 63,                  ) Dep.,

29:18–30:9 (                  ); Pls. Ex. 64, Google presentation: Android Review (*Nov. 5, 2019),

GOOG-DOJ-06465054, at -066–67 (Android apps look for the application programming

interfaces (APIs) known as Google Play Services (GPS) and they need them to function ). In

order to distribute an Android device with any Google application preinstalled, including Google

Play, a device must also be preloaded with Google Search under the terms of the MADA.




                        . See Pls. Ex. 61, Christensen (Motorola) Dep., 157:11–158:2 (

     );                                                                      Pls. Ex. 63,

            Dep., 29:18–30:9 (                ); Pls. Ex. 64, Google presentation: Android Review



                                                 132
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 135 of 271




(*Nov. 5, 2019), GOOG-DOJ-06465054, at -066–067 (Android apps look for the application

programming interfaces (APIs) known as Google Play Services (GPS) and they need them to

function ). The only way that manufacturers can get access to the Play Store or any other part of

GMS is by signing a MADA.

       216. An OEM that signs a MADA is not required to install any Google
applications on any of its devices, and it may sell Android devices without any preloaded
Google applications. E.g.,


          Disputed in part.

          Plaintiffs object to the terms “required” and “Android” as vague and undefined and to

Statement 216 as (1) incomplete; (2) vague; and (3) misleading. It is unclear whether Statement

216 refers to AOSP or Google proprietary Android.

          Undisputed that an OEM that signs a MADA is not contractually obligated to install any

Google applications on any of its non-GMS devices, and the OEM is not contractually obligated

to preload Google applications on AOSP devices.

          Otherwise disputed, including as incomplete and misleading to the extent Statement 216

suggests an OEM that signs a MADA would not be required to install the full bundle of MADA

applications if it wanted to install any single application. e.g.,



                                                                       Further disputed to the

extent Statement 216 suggests an AOSP mobile device would be viable in the United States

without proprietary Google Software preinstalled—e.g., the Play Store and Google Play Services

(GPS) (a critical proprietary set of APIs). See Pls. Ex. 61, Christensen (Motorola) Dep., 157:11–

158:2 (                                                                                      ); Pls.

Ex. 63,                       ) Dep., 29:18–30:9 (             ); Pls. Ex. 64, Google presentation:



                                                     133
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 136 of 271




Android Review (*Nov. 5, 2019), GOOG-DOJ-06465054, at -067–68 (Android apps look for the

application programming interfaces (APIs) known as Google Play Services (GPS) and they need

them to function ). The only way that manufacturers can get access to the Play Store or any other

part of GMS is by signing a MADA.

       217. If an OEM decides to install on a given device sold in the U.S. any of the
proprietary Google applications licensed pursuant to the MADA, then the MADA provides
that, absent an exemption, the OEM will (i) preload on that device all of the applications
licensed pursuant to the MADA and (ii) place on the device’s default home screen the
Google Search widget, the Google Play application, and a folder containing the other
MADA applications. E.g.,


       Undisputed.

        218. The MADA does not restrict an OEM from preloading its own applications
or any third-party applications on any of its devices, including devices on which it chooses
to install the MADA applications. E.g.,


       Disputed in part.

       Plaintiffs object to the term “restrict” as vague and undefined and to Statement 218 as (1)

incomplete; and (2) misleading.

       Undisputed that the MADAs do not contain terms that explicitly prohibit preinstallation

of other applications—but the MADA’s placement and bundled preinstallation requirements, e.g



                                                                                                 ,

do restrict—effectively limiting—preinstallation of alternative applications, as partners generally

prefer fewer applications be preinstalled because of consumer preferences. Pls. Ex. 77,

                               Pls. Ex. 61, Christensen (Motorola) Dep., 147:24–148:10,




                                               134
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 137 of 271




       Otherwise disputed.




            . Further, Google RSAs do contain terms that explicitly prohibit preinstallation of

other applications. Many OEMs may view signing MADAs and RSAs as one, combined

agreement. Pls. Ex. 280, Email from Jung (Google), Treble Compliance Requirements, (Jan. 21,

2017), GOOG-DOJ-23765101, at -101

                                                                             ; Pls. Ex. 158,

Email from Braddi (Google), Re: assistant (Aug. 7, 2018), GOOG-DOJ-06446636, at -636 (




                                              135
      Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 138 of 271




                                                     ); Pls. Ex. 121, Google presentation: Android

Agreements Explainer - ACC, MADA, RSA, DCB (Feb. 2, 2018), GOOG-DOJ-28380959, at -

968

                                             ; Pls. Ex. 87, Murphy (Def.’s Expert) Dep.,

220:10–22 (“as an economic matter, since you can’t sign an RSA unless you’ve also signed the

MADA, thinking about the advantages of the RSA would be relevant for deciding whether to

sign a MADA agreement.”)

       219. The MADA does not restrict an OEM from preloading a search application,
widget, or browser provided by a search engine other than Google on any of its devices,
including devices on which it chooses to install the MADA applications. E.g.,


       Disputed in part.

       Plaintiffs object to the term “restrict” as vague and undefined and to Statement 219 as (1)

incomplete; and (2) misleading.

       Undisputed that the MADA does not contain terms that explicitly limit an OEM’s ability

to preload a search application, widget, or browsers provided by a search engine other than

Google on any of its devices, including devices on which it chooses to install the MADA

applications—but the MADA’s placement and bundled preinstallation requirements, e.g.,



                                                                                             ,

deter—effectively limiting—preinstallation of alternative search applications, widgets, or

browsers.

       Otherwise dispute. For example, an OEM could preinstall an alternative search widget

but would still be required to preinstall Google’s search widget and place it prominently on the

home screen, if the OEM wanted to preinstall any Google applications (e.g., the Play Store).



                                               136
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 139 of 271




                           Further, Google RSAs do contain terms that explicitly limit an OEM’s

ability to preload a search application, widget, or browsers provided by a search engine other

than Google on the OEM’s devices, including devices on which the OEM chooses to install the

MADA applications. E.g.,

                                           Many OEMs may view signing MADAs and RSAs as

one, combined agreement. Pls. Ex. 87, Murphy (Def.’s Expert) Dep., 220:10–22 (“[S]ince you

can’t sign an RSA unless you’ve also signed the MADA, thinking about the advantages of the

RSA would be relevant for deciding whether to sign a MADA agreement.”).

       220. The MADA does not restrict an OEM from setting a browser in which
Google is not the default search engine as the default browser on any of its devices,
including devices on which it chooses to install the MADA applications. E.g.,


       Disputed in part.

       Plaintiffs object to the term “restrict” as vague and undefined and to Statement 220 as (1)

incomplete; and (2) misleading.

       Undisputed that the MADA does not contain terms that explicitly restrict an OEM from

setting a browser in which Google is not the default search engine as the default browser on any

of the OEM’s devices, including devices on which it chooses to install the MADA

applications—but the MADA’s placement and bundled preinstallation requirements, e.g.,



                                                137
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 140 of 271




                                                                                            ,

deter—effectively limiting—preinstallation of a browser in which Google is not the default

search engine as the default browser.

       Otherwise disputed, including to the extent Statement 220 suggest that browsers in which

Google is not the default would have equal access to default on MADA devices, because (1) the

MADA requires that, if any Google applications are preinstalled, Google’s Chrome browser

must also be preinstalled,



                                                            . Distributors generally prefer to

avoid duplication of applications Pls. Ex. 77,                                        Pls. Ex. 61,

Christensen (Motorola) Dep., 147:24-148:10;

and (2) Google RSA agreements—which cover nearly all MADA devices in the United States—

do require that Google be the exclusive default search engine on the device. E.g.,



Many OEMs may view signing MADAs and RSAs as one, combined agreement. Pls. Ex. 87,

Murphy (Def.’s Expert) Dep., 220:10–22 (“[S]ince you can’t sign an RSA unless you’ve also

signed the MADA, thinking about the advantages of the RSA would be relevant for deciding

whether to sign a MADA agreement.”).

       221. The MADA does not restrict an OEM from setting a search engine other
than Google as the default search engine on any of the OEM’s devices, including devices on
which it chooses to install the MADA applications. E.g.,


       Disputed in part.




                                                 138
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 141 of 271




        Plaintiffs object to the terms “restrict” and “default search engine” as vague and

undefined and to Statement 221 as (1) incomplete; and (2) misleading.

        Undisputed that the MADA does not contain terms that explicitly restrict an OEM from

setting a search engine other than Google as a default search engine on any of the OEM’s

devices, including devices on which it chooses to install the MADA applications —but the

MADA’s placement and bundled preinstallation requirements, e.g.,



                                                                     , deter—effectively

limiting—OEMs from setting a search engine other than Google as the default search engine

        Otherwise disputed, including to the extent Statement 221 suggest that search engines

other that Google would have equal access to default on MADA devices, because (1) the MADA

requires that, if any Google applications are preinstalled, Google’s Chrome browser must also be

preinstalled, e.g.,



                                               . Chrome always defaults to Google. Pls. Ex. 70,

Kolotouros (Google) Dep., 89:1–5. Distributors generally prefer to avoid duplication of

applications. Pls. Ex. 77,                                      , Pls. Ex. 61, Christensen

(Motorola) Dep., 147:24–148:10,                                                      and (2)

Google RSA agreements—which cover nearly all MADA devices in the United States—do

require that Google be the exclusive default search engine on the device. E.g.,

                                                                                  . Many OEMs

may view signing MADAs and RSAs as one, combined agreement. Pls. Ex. 87, Murphy (Def.’s

Expert) Dep., 220:10–22 (“[S]ince you can’t sign an RSA unless you’ve also signed the MADA,




                                                139
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 142 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 143 of 271




                                141
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 144 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 145 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 146 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 147 of 271




        Disputed in part.

        Plaintiffs object to the term “device” as vague, and to Statement 226 as vague as to the

time.

        Undisputed that Google today has in effect some—but not all—RSAs pursuant to which

an OEM or carrier agrees on a device-by-device basis to set Google as the default search engine

for search access points specified in the agreement on Google propriety Android devices, and to

refrain from preloading alternative search services (as defined in the agreement) to the extent

specified in the agreement.

        Otherwise disputed. Statement 226 is vague as to “device” and Plaintiffs understand

Google to mean Google proprietary Android devices. Statement 226 is further vague as to

time—Google has in the recent past entered into RSAs under which all Google proprietary

Android devices must comply with certain RSA requirements to receive payments on any device

(so-called “platform” requirements). Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶

405, Fig. 33 (bolded font indicates requirements is platform based); e.g.,




     227. Google has entered RSAs pursuant to which an OEM or carrier may choose
among multiple tiers that provide varying levels of promotion of Google Search. E.g.,


        Disputed in part.




                                               145
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 148 of 271




       Plaintiffs object to the term “promotion” as vague and undefined, and to Statement 227 as

(1) not supported by the cited material as required by Federal Rule of Civil Procedure 56(c)(1)

and Local Rule 7(h); (2) as vague as to time; and (3) as incomplete.

       Undisputed that Google has entered into some RSAs pursuant to which an OEM or

carrier may choose among multiple tiers that provide varying levels of exclusivity for Google

Search and that such agreements are in effect today. The highest paying levels provide Google

with the greatest exclusivity.

       Otherwise disputed. Google’s broad cite to a single RSA fails to support Statement 227’s

claim that the purpose of its RSAs is to provide “promotion of Google search.” Google enters

into RSAs primarily to distribute and acquire exclusive or preferential placement for its products.




                                               146
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 149 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 150 of 271




       229. No OEM or carrier is required to sign an RSA in order to manufacture or
sell Android devices, or to license Google Play or any other Google application, application
programming interface, or service. E.g., Def.’s Resp. to Pls.’ 4th Set of Interrogs. (No. 23)
at 7 (Def. Ex. 73);

       Disputed in part.

       Plaintiffs object to the terms “required” and “Android” as vague and undefined and to

Statement 229 as (1) not support by the cited materials, as required by Federal Rule of Civil

Procedure 56(c)(1) and Local Rule 7(h); and (2) incomplete as to what OEMs or carriers may be

“required” to do.

       Undisputed that no OEM or carrier is explicitly required to sign an RSA to manufacture

or sell Android devices, or to license Google Play or any other Google application, application

programming interface, or service.

       Otherwise disputed. Many OEMs may view signing MADAs and RSAs as one, combined

agreement; Pls. Ex. 87, Murphy (Def.’s Expert) Dep., 220:10–22 (“[S]ince you can’t sign an

RSA unless you’ve also signed the MADA, thinking about the advantages of the RSA would be

relevant for deciding whether to sign a MADA agreement.”). Market realities require OEMs to

sign MADAs to sell mobile phones into the United States. For an Android mobile device to be

successful in the United States, it must have proprietary Google Software preinstalled—e.g., the

Play Store and Google Play Services (GPS) (a critical proprietary set of APIs). See Pls. Ex. 61,

Christensen (Motorola) Dep., 157:11–158:2

                               Pls. Ex. 63,                  ) Dep., 29:18–30:9                    );

Pls. Ex. 64, Google presentation: Android Review (*Nov. 5, 2019), GOOG-DOJ-06465054, at -

066–67 (Android apps look for the application programming interfaces (APIs) known as Google

Play Services (GPS) and they need them to function ). In order to distribute an Android device

with any Google application preinstalled, including Google Play, a device must also be



                                               148
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 151 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 152 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 153 of 271




       Plaintiffs object as vague as to

                           ” and further object to Statement 231 as (1) not supported by cited

material, as required by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h); and (2)

misleading as to OEM’s consideration of and interest in preloading alternative search engines or

other innovative search offerings.

       There is ample evidence that OEMs considered pre-loading rival alternative search

engines on Android devices, e.g., Pls. Ex. 85,

                                                                                      and that

OEMs at least once distributed Android devices with an alternative search exclusively

preinstalled. Pls. Ex. 61, Christensen (Motorola) Dep., 46:8–25. In the United States most mobile

devices are distributed through carriers, and carriers have asked OEMs to preinstall non-Google

search engines. Pls. Ex. 61, Christensen (Motorola) Dep., 46:8–25; Pls. Ex. 77,

                                     An Android device pre-loaded with a rival search engine

exclusively, however, would be ineligible to pre-install the Google Play Store, due to the

bundling provisions in the MADA.



                                                             . Given the importance of the Play

Store and Google Play Services to the commercial viability of Android devices in the United

States, it is perhaps inevitable carriers would not prefer to distribute Android devices exclusively

pre-loaded with a rival search engine but lacking Google Play and GPS. See Pls. Ex. 61,

Christensen (Motorola) Dep., 157:11–158:2 (

                               ; Pls. Ex. 63,                  ) Dep., 29:18–30:9 (               );

Pls. Ex. 64, Google presentation: Android Review (*Nov. 5, 2019), GOOG-DOJ-06465054, at -




                                                 151
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 154 of 271




066–67 (Android apps look for the application programming interfaces (APIs) known as Google

Play Services (GPS) and they need them to function ).

       What Google considers                  is unclear—negotiations with OEMs have included

discussions about the limits the RSAs place on OEMs. There is evidence OEMs wanted to

preinstall innovative alternatives to general search services but were deterred by Google’s

contracts. Pls. Ex. 86,




                                                                            .

        232. Search applications, widgets, and browsers developed by search engines
other than Google can be downloaded on Android devices, including from the Google Play
Store. E.g., Microsoft Edge Now Available for iOS and Android (Updated),
https://blogs.windows.com/windowsexperience/2017/11/30/microsoft-edge-now-available-
for-ios-and-android/ (Mar. 26, 2018); Neeva on Mobile Devices: Get the Android App,
available at https://help.neeva.com/hc/en-us/articles/8093854852627-Get-the-Android-App.

       Undisputed.

       233. In the Google Chrome browser, a user can change the default search engine
that receives queries entered in the browser’s integrated search box. Def.’s Resp. to Pls.’
4th Set of Interrogs. (No. 26) at 10-13 (Def. Ex. 73).

       Disputed in part.

       Plaintiffs object to the terms “default search engine” and “search box” as vague and to

Statement 233 as (1) incomplete; and (2) misleading.

       Undisputed that in the Google Chrome browser, a user can change the settings so that the

browser’s integrated search feature defaults to a search engine other than Google.

       Disputed that user can select the default search engine, out of the box, without going to

the browser’s setting controls. Pls. Ex. 160, Def.’s Resp. to Pls.’ Second Set of Contention

Interrogatories (Apr. 27, 2022), at 20–21 (response to Contention Interrogatory No. 19) (“In the



                                               152
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 155 of 271




United States, Google Search is the default out-of-the-box search service for the Google Search

App and the Google Chrome App on Android mobile devices”). Defendant Google LLC’s

Answer And Affirmative Defenses To Plaintiffs’ Amended Complaint (ECF #103), Jan. 29,

2021, at ¶ 137 (“Google admits that Google Search is the default out-of-the-box search service

for certain Google apps, including the Chrome app.”). Users are highly unlikely to take the steps

required to change the default. Pls. Ex. 23, Rangel (DOJ Pls.’ Expert) Initial Report, ¶¶ 14–122,

§§ II-VII; Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 846–965, § VII.A

        234. Bing, Yahoo, DuckDuckGo, and Ecosia are currently available as
prepopulated options that a user of the Chrome browser in the U.S. may set as the default
search engine that receives queries entered in Chrome’s integrated search box. Def.’s Resp.
to Pls.’ 4th Set of Interrogs. (No. 26) at 11-12 (Def. Ex. 73).

       Disputed in part.

       Plaintiffs object to the terms “default search engine” and “search box” as vague and to

Statement 234 as (1) incomplete and (2) misleading.

       Undisputed that in the Google Chrome browser, a user can change the settings so that the

browser’s integrated search functionality defaults to Bing, Yahoo, DuckDuckGo, and Ecosia,

which are currently available as prepopulated options.

       Disputed that user can select the default search engine, out of the box, without going to

the browser’s setting controls. Pls. Ex. 160, Def.’s Resp. to Pls.’ Second Set of Contention

Interrogatories (Apr. 27, 2022), at 20–21 (response to Contention Interrogatory No. 19) (“In the

United States, Google Search is the default out-of-the-box search service for the Google Search

App and the Google Chrome App on Android mobile devices”). Defendant Google LLC’s

Answer And Affirmative Defenses To Plaintiffs’ Amended Complaint (ECF #103), Jan. 29,

2021, at ¶ 137 (“Google admits that Google Search is the default out-of-the-box search service

for certain Google apps, including the Chrome app.”). Users are highly unlikely to take the steps



                                               153
       Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 156 of 271




required to change the default. Pls. Ex. 23, Rangel (DOJ Pls.’ Expert) Initial Report, ¶¶ 14–122,

§§ II-VII; Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 846–965, § VII.A.

III.    Plaintiffs’ Experts’ Opinions Regarding the Agreements
       235. In order to assess how much foreclosure might occur as a result of a
particular agreement or set of agreements, an economist ideally would compare the world
under the contracts at issue to a but-for world. Whinston (DOJ Pls.’ Expert) Rebuttal Rep.
¶ 326 (Def. Ex. 77); Whinston (DOJ Pls.’ Expert) Tr. 382:22-384:2 (Def. Ex. 4); Murphy
(Google’s Expert) Reply Rep. ¶¶ 134-143 (Def. Ex. 78).

        Disputed.

        Plaintiffs object to Statement 235 as (1) incomplete and (2) misleading.

        Statement 235 conflates the process of measuring competitive effects with the process of

measuring foreclosure. “[T]he likely competitive effects of Google’s behavior . . . [are] ideally

examined relative to a ‘but-for’ world.” Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal

Report, ¶ 326 (emphasis added). But identifying foreclosure (even as an economist) does not

require an assessment of but-for worlds. Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal

Report, ¶ 318 (citing Areeda & Hovencamp ¶ 768b4 n.38 (defining foreclosure and its example

calcuation)) & ¶ 320 n. 429 (citing Areeda & Hovencamp ¶ 1821d4 (calculating a foreclosure

percentage in an example lacking any information about a but-for world)); see also Pls. Ex. 87,

Murphy (Def.’s Expert) Dep., 393:5–394:6 (admitting that the Murphy reports do not—and that

Prof. Murphy could not in his deposition—provide a citation for measuring foreclosure relative

to a but-for world).17


17
  Google cites a deposition exchange where Prof. Whinston was asked whether calculating
“foreclosure” requires “some but-for world” and responded, “I think what I say [in my report] is,
ideally, you would like to do that. And there are difficulties with doing that.” Pls. Ex. 88,
Whinston (DOJ Pls.’ Expert) Dep., 383:6–384:2. Context reveals Prof. Whinston was discussing
the ideal method of calculating competitive effects, not foreclosure. Indeed, that is what Prof.
Whinston’s reports explain, and Google’s suggestion that Prof. Whinston changed that opinion in
his deposition is wishful thinking. First, the exchanges both before and after the “foreclosure”



                                                154
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 157 of 271




       236. Neither Plaintiffs’ Complaints nor their interrogatory responses purport to
describe a but-for world without Google’s MADAs or RSAs. See, e.g., DOJ Pls.’ 2d Supp.
Resps. to Google’s 2d Set of Interrogs. (Nos. 8-10) at 12-16 (Def. Ex. 79); Colo. Pls.’ 2d
Supp. Resps. to Google’s 2d Set of Interrogs. (Nos. 8-10) at 6-7 (Def. Ex. 80); DOJ Pls.’ 6th
Supp. Resps. to Google’s 1st Set of Interrogs. (No. 14) at 38-39 (Def. Ex. 81); Colo. Pls.’ 4th
Supp. Resps. to Google’s 1st Set of Interrogs. (No. 14) at 11 (Def. Ex. 82).

       Disputed.

       Statement 236 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs do or do not “purport to describe” is not a material fact subject to proof at trial

and is therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to the term “but-for

world” as vague and undefined and to Statement 236 as incomplete.

       Plaintiffs are not required to generally opine on whether some specific hypothetical

conduct may have been lawful. As noted in response to Statements 237, 238, 242, 254, and 255,

Plaintiffs’ experts have laid out numerous scenarios of what could have occurred “but-for”

Google’s conduct.

       237. Plaintiffs’ experts have not offered an opinion regarding what a but-for
world without Google’s agreements with browser developers, such as Apple and Mozilla,
might look like. See, e.g., Whinston (DOJ Pls.’ Expert) Tr. 391:15-395:20 (Def. Ex. 4);
Baker (Colo. Pls.’ Expert) Tr. 296:10-297:11 (Def. Ex. 84).

       Disputed.



question refer to competitive effects. Pls. Ex. 88, Whinston (DOJ Pls.’ Expert) Dep., 383:6–13
(asking about the best method “to assess the competitive impact of an exclusive dealing
contract”), 384:3–385:7 (“[I]n my report, I do consider . . . some less restrictive alternatives that
I am thinking about the effects of.”). Second, Prof. Whinston’s response to the “foreclosure”
question exhibits that, despite the question, he was still discussing competitive effects. Most
tellingly, Prof. Whinston’s response referred to and used key terms—”ideally” and
“difficulties”—from his rebuttal report’s discussion of competitive effects. The relevant portions
of the report explain (1) that the “the likely competitive effects of Google’s behavior . . . [are]
ideally examined relative to a ‘but-for’ world” and (2) that “it is difficult to say exactly what
Google would have done if it had not employed its exclusionary search distribution contracts.”
Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶¶ 326–329 (emphases added).

                                                 155
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 158 of 271




       Statement 237 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “offered an opinion regarding” is not a material fact subject to

proof at trial and is therefore not appropriate for inclusion in Google’s statement of undisputed

material facts. Accordingly, no response is due from Plaintiffs. Plaintiffs further object to the

term “but-for world” as vague and undefined, and to Statement 237 as (1) not supported by cited

material, as required by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h); and (2)

misleading as to the opinions offered by Plaintiffs’ experts about a world without Google’s

exclusionary search distribution contracts.

       In his reports and testimony, Prof. Whinston lays out numerous scenarios of what could

have occurred absent Google’s conduct in both the short and long-run. In his Initial Report, Prof.

Whinston discusses how search engine parity or rivals winning defaults would be possible

outcomes but for Google’s contracts. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report,

¶¶ 874–876 (discussing Mozilla switch to Yahoo!); ¶¶ 882–914, § VII.A.2.a (estimates assuming

that rivals gain exclusive default positions instead of Google); ¶¶ 915–965, § VII.A.2.b

(estimates assuming that rivals have search access point parity with Google). Prof. Whinston also

offers “various possible ‘but-for’ alternatives that could have emerged and would not have had

the same extent of harmful effects to competition in the relevant markets as did Google’s

exclusionary search distribution contracts.” Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal

Report, ¶ 329; accord Pls. Ex. 89, Whinston (DOJ Pls.’ Expert) Reply Report, ¶ 427. Prof.

Whinston further discusses how



       Pls. Ex. 89, Whinston (DOJ Pls.’ Expert) Reply Report, ¶ 412; Pls. Ex. 88, Whinston

(DOJ Pls.’ Expert) Dep., 425:14–426:17.




                                                156
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 159 of 271




       Prof. Baker also discusses

                                                       Pls. Ex. 267, Baker (Colo. Pls.’ Expert)

Reply Report, ¶ 111; Pls. Ex. 265, Baker (Colo. Pls.’ Expert) Dep., 294:7–294:12. In the

testimony cited by Defendants to support Statement 237, Prof. Baker states Apple “could still

decide to enter” or “it could decide to enter an agreement with some other … general search

firm.” Pls. Ex. 265, Baker (Colo. Pls.’ Expert) Dep., 296:21–297:11. Prof. Baker considers both

the possibility that “one of Google’s rivals reached an exclusive default agreement instead of

Google,” or that “no search firm reached an exclusive pre-installation default agreement” with

any of the firms that control search access points (as listed in Pls. Ex. 266, Baker (Colo. Pls.’

Expert) Initial Report, Table 21), including Apple. Pls. Ex. 266, Baker (Colo. Pls.’ Expert) Initial

Report, ¶¶ 262–263; Pls. Ex. 267, Baker (Colo. Pls.’ Expert) Reply Report, ¶ 146. Prof. Baker is

also clear that the “pre-installation search default agreements exclude [Google’s] actual and

potential rivals . . . because they raise the cost of entry and expansion for all general search

firms.” Pls. Ex. 266, Baker (Colo. Pls.’ Expert) Initial Report, ¶ 316. In other words, without the

“pre-installation search default agreements,” Prof. Baker’s opinion is that the “cost of entry and

expansion” would have been lower for all general search firms. Pls. Ex. 266, Baker (Colo. Pls.’

Expert) Initial Report, ¶ 316.

      238. Plaintiffs’ experts have not evaluated whether any particular but-for world
would result in procompetitive benefits for consumers or browser developers, such as
Apple or Mozilla. See, e.g., Whinston (DOJ Pls.’ Expert) Tr. 137:9-139:16 (Def. Ex. 4);
Baker (Colo. Pls.’ Expert) Tr. 296:10-297:11, 326:20-327:25 (Ex. 84).

       Disputed.

       Statement 238 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “evaluated” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.



                                                 157
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 160 of 271




Accordingly, no response is due from Plaintiffs. Plaintiffs further object to the term “but-for

world” as vague and undefined, and to Statement 238 as (1) not supported by cited material, as

required by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h); and (2) misleading as

to the opinions offered by Plaintiffs’ experts about a world without Google’s exclusionary search

distribution contracts.

       Prof. Whinston’s Initial Report provides extensive evidence of benefits to consumers if

Google faces more competition. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 1173

(explaining that Section VIII.A discusses how Google’s “distribution contracts directly reduce

the quality of the alternatives that consumers have” and how “these contracts reduce[] the

incentives of firms in the general search services market, including Google, to make

improvements in search quality”). Prof. Whinston further provides evidence that absent the

distribution deals, Google’s rivals would be more competitive. E.g., Pls. Ex. 24, Whinston (DOJ

Pls.’ Expert) Rebuttal Report, ¶ 41 (explaining that Section VI demontrates how “Prof. Murphy

mistakenly declares that [Google’s] contracts have no exclusionary effects”); Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 38 (“In Section VII.B, I discuss the degree to

which these contracts reduce the competitiveness of Google’s actual and potential general search

engine rivals.”).

       Prof. Baker’s Initial Report Section VI.B.5 also provides a description of the benefits to

consumers if Google faced more competition. Pls. Ex. 266, Baker (Colo. Pls.’ Expert) Initial

Report, ¶ 341 states, “[g]reater competition among the participants in the market for general

search services in the U.S. would be expected to benefit search users.” Further, Pls. Ex. 266,

Baker (Colo. Pls’ Expert) Initial Report, ¶ 342 states, “[w]ith more competition Google would be

pushed to improve quality and innovate in the general search services, general search




                                                158
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 161 of 271




advertising, and general search text advertising markets.” Prof. Baker’s Reply Report also

describes benefits to consumers from increased competition in Section IV.B. which is titled

“Greater competition would benefit search users, advertisers, and innovation.”

       239. Plaintiffs’ experts have not identified any instance where a browser
developer entered an agreement to implement a choice screen or a search engine asked a
browser to implement a choice screen. See, e.g., Whinston (DOJ Pls.’ Expert) Tr. 146:4-
147:18 (Def. Ex. 4); Baker (Colo. Pls.’ Expert) Tr. 300:6-301:4 (Def. Ex. 84).

       Disputed.

       Statement 239 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “identified” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to Statement 238 as (1)

not supported by cited material, as required by Federal Rule of Civil Procedure 56(c)(1); and

Local Rule 7(h), and (2) misleading as to the opinions offered by Plaintiffs’ experts.

       Prof. Whinston discussed how Google (a search engine) asked                                   to

implement a choice screen                          . Pls. Ex. 22, Whinston (DOJ Pls.’ Expert)

Initial Report, ¶ 704. The request came when Google learned that                          was going

to “default to                                   in the vast majority of cases.” Pls. Ex. 90, Letter

from Drummond (Google), Issues Related to Bundling

                               , GOOG-DOJ-24645730, at -730–733. Google explained that

because “most end users do not change defaults,”                 decision to set itself as the default

would “effectively eliminat[e] any meaningful user choice about the default search provider.”

Pls. Ex. 90, Letter from Drummond (Google), Issues Related to Bundling

                                                       , GOOG-DOJ-24645730, at -731.

Accordingly, Google asked               for a choice screen rather than a default:



                                                 159
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 162 of 271




       We propose[] instead that users be prompted to select the default search provider
       the first time they use the inline search feature. This approach eliminates any
       company’s own self interests and places control in the hands of the end user,
       where it belongs. It also helps to ensure that users understand they have a choice
       of search providers when using the new search box            .

Pls. Ex. 90, Letter from Drummond (Google), Issues Related to Bundling

                                     (July 22, 2005), GOOG-DOJ-24645730, at -731.

       Prof. Whinston also discussed two instances where Google (in its role as maker of

Chrome) agreed to implement a choice screen in both the European Union and Russia, albeit in

negotiations with regulatory authorities. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report,

¶¶ 950–965.

       Prof. Baker cites to evidence describing Google’s plans “to improve Search experience”

in response to the “choice screen” in Europe. Pls. Ex. 267, Baker (Colo. Pls.’ Expert) Reply

Report, ¶ 194 n.550 (citing Pls. Ex. 297, Google presentation: Go big in Europe (July 2019),

GOOG-DOJ-12085275, at -276). Prof. Baker also indicates in his testimony that he is aware of

choice screens being present outside of the United States. Pls. Ex. 265, Baker (Colo. Pls.’

Expert) Dep., 300:15–300:24.

        240. Plaintiffs’ experts have not evaluated whether browser developers would
benefit from or be harmed by setting a search engine that they do not prefer as the default
or altering the design of their browsers such that they cannot set their preferred search
engine as the default. See, e.g., Whinston (DOJ Pls.’ Expert) Tr. 241:1-10, 249:17-250:15
(Def. Ex. 4); Baker (Colo. Pls.’ Expert) Tr. 296:10-297:11 (Def. Ex. 84).

       Undisputed.

       Statement 240 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “evaluated” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs.




                                                 160
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 163 of 271




       241. Plaintiffs’ experts have not analyzed the competitive effects of Apple setting a
different search engine, such as Bing, as the default in Safari. See, e.g., Whinston (DOJ
Pls.’ Expert) Tr. 134:11-135:8 (Def. Ex. 4); Baker (Colo. Pls.’ Expert) Tr. 282:16-284:21,
286:15-22 (Def. Ex. 84).

       Disputed.

       Statement 241 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “analyzed” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to Statement 241 as (1)

not supported by cited material, as required by Federal Rule of Civil Procedure 56(c)(1) and

Local Rule 7(h); and (2) misleading as to the opinions offered by Plaintiffs’ experts.

       Prof. Whinston analyzes the competition effects of Apple setting a different search

engine from many angles. Prof. Whinston presents extensive evidence that if Apple set an

alternate search engine as the default, that engine would gain a large amount of traffic (scale).

See Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 878, 888–893. Prof. Whinston

further presents evidence that “a general search engine’s competitiveness is affected by its

scale,” and that scale is an important factor in search engine quality. Pls. Ex. 22, Whinston (DOJ

Pls.’ Expert) Initial Report, ¶¶ 966, 975–1126. Prof. Whinston discusses how

                                                        illustrate the importance of search

distribution for obtaining scale, particularly on mobile devices. Pls. Ex. 22, Whinston (DOJ Pls.’

Expert) Initial Report, ¶¶ 1157–1166. Prof. Whinston then provides evidence that higher-quality

rivals would benefit consumers by increasing both Google’s and other market participants’

incentives to invest in search quality. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report,

¶¶ 1173–1352.




                                                161
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 164 of 271




       Prof. Baker provides an illustrative calculation that describes the decrease in Google’s

share of general search queries that would result from other search firms reaching pre-installation

default agreements (including with Apple). Pls. Ex. 266, Baker (Colo. Pls.’ Expert) Initial

Report, ¶¶ 262–263. Prof. Baker explains that search result quality is linked to search firm scale

in Section III.A.2 of his Reply Report, and he explains in ¶ 128 that “by raising switching costs

appreciably for general search services users accounting for half of all search queries, likely

placed Google’s actual and potential rivals at a marked search quality disadvantage, making it

more difficult for them to expand output or enter, respectively.” Pls. Ex. 267, Baker (Colo. Pls.’

Expert) Reply Report, ¶ 128, § III.A.2. Further, Prof. Baker provides evidence that increased

competition would benefit search users, advertisers, and innovation in Section Section IV.B of

his Reply Report. Pls. Ex. 267, Baker (Colo. Pls.’ Expert) Reply Report, § IV.B.

       242. Plaintiffs’ experts have not offered an opinion regarding what a but-for
world without Google’s MADAs or RSAs might look like. See, e.g., Whinston (DOJ Pls.’
Expert) Tr. 290:20-294:22, 368:19-372:4, 384:3-385:7, 393:6-395:14 ( Def. Ex. 4); Baker
(Colo. Pls.’ Expert) Tr. 318:14-322:5 (Def. Ex. 84).

       Disputed.

       Statement 238 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “offered an opinion regarding” is not a material fact subject to

proof at trial and is therefore not appropriate for inclusion in Google’s statement of undisputed

material facts. Accordingly, no response is due from Plaintiffs. Plaintiffs further object to the

term “but-for world” as vague and undefined, and to Statement 242 as (1) not supported by cited

material, as required by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h); and (2)

misleading as to the opinions offered by Plaintiffs’ experts about a world without Google’s

exclusionary search distribution contracts.




                                                162
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 165 of 271




       Prof. Whinston does not lay out a single but-for world but discusses a number of possible

worlds where Google’s exclusive deals are absent. Prof. Whinston lays out numerous scenarios

of what could have occurred and discusses the implications of those occurences (e.g.,

unconditional revenue share, Google contracting for a choice screen, rivals winning an exclusive

default). E.g., Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 879 (overviewing “two

possible scenarios” that could have occurred “absent Google’s search distribution contracts” and

are discussed at length in the report); Pls. Ex. 89, Whinston (DOJ Pls.’ Expert) Reply Report,

¶¶ 364 n.644, 412, 427; Pls. Ex. 88, Whinston (DOJ Pls.’ Expert) Dep., 289:19–294:22.

       Prof. Baker states in the part of his testimony cited by Google in support of Statement

242, “[n]o, I do have an opinion that the but-for world would be more competitive than the

current world, because . . . Google would not have engaged in the exclusionary conduct, and it

would have allowed competition to proceed. Pls. Ex. 265, Baker (Colo. Pls.’ Expert) Dep.,

320:4–320:14. Prof. Baker also allows for several possible situations to arise in the but-for world

when he states, “I didn’t take a position on . . . whether there would be exclusive default

agreeements in the but-for world, and if so, between which general search firms and which firms

that control search access points.” Pls. Ex. 265, Baker (Colo. Pls.’ Expert) Dep., 320:15–320:24.

Further, in his InitialReport, Prof. Baker describes in his illustrative calculation of the

“exclusionary effect of Google’s exclusive pre-installed default agreements” a situation where

other search firms reach agreements with all of the firms that control search access points

(specifically refering to those listed in Pls. Ex. 266, Baker (Colo. Pls.’ Expert) Initial Report, tbl.

21), and explains how the calculation would change if no general search firm reached an

agreement with any of the firms that control search access points. Pls. Ex. 266, Baker (Colo. Pls.’

Expert) Initial Report, ¶¶ 262–263.




                                                 163
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 166 of 271




       243. According to Professor Whinston, an estimated           of Google Search
queries in the United States in 2020 were “covered by” a revenue share agreement between
Google and an Android OEM or Carrier. Whinston (DOJ Pls.’ Expert) Opening Rep.
¶¶ 832 Fig. 135, 833- 34 (Def. Ex. 40).

       Undisputed.

       Statement 243 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “estimated” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs.

       Plaintiffs note, Google’s use of Statement 243 to support footnote 12 in Google’s Brief is

not correct. Statement 243 (and the evidence it relies on) concern the portion Google search

queries on Android covered by a revenue share agreement. The Statement and the underlying

evidence do not quantify uncovered queries on Android devices.

        244. Following a July 2018 decision by the European Commission, Google
implemented a search engine “choice screen” on certain Android devices sold in certain
European countries. About the Choice Screen, available at
https://www.android.com/choicescreen/ (Aug. 29, 2022).

       Undisputed.

       245. Professor Whinston estimated in his opening report that if the European
choice screen design had been implemented on Android devices in the U.S., then Google’s
share of consumer search engine default choices would have been          Whinston (DOJ
Pls.’ Expert) Opening Rep. ¶ 964 (Def. Ex. 40).

       Disputed in part.

       Statement 245 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “estimated” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to the term “European

choice screen design” as vague and undefined given the multiple design iterations, and to



                                                 164
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 167 of 271




Statement 245 as incomplete and misleading. Google had a significant role in designing the

European choice screen.

       Undisputed that Prof. Whinston does estimate in his initial report, at ¶ 964, that “if the

EU choice screen design had been implemented in the US, Google’s share of consumer default

choices would have been           ” in the short-run and that the “choice screen design” here

refers to the “revised choice screen” as discussed in Pls. Ex. 22, Whinston (DOJ Pls.’ Expert)

Initial Report, ¶¶ 956–958.

       Otherwise disputed. Statement 245 is incomplete because, as Prof. Whinston explained,

this is a “short-run estimate[].” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 880.

Statement 245 is incomplete, and misleading, to the extent that it ignores the fact that, as Prof.

Whinston explained, his “estimates do not take account of the fact that Google’s rivals’ qualities

and brand perceptions today would undoubtedly be better absent the long history of Google’s

search distribution contracts with their exclusionary terms.” Pls. Ex. 22, Whinston (DOJ Pls.’

Expert) Initial Report, ¶ 881. Without Google’s long history of anticompetitive distribution

contracts, “even the short-run share shifts that [Prof. Whinston] calculate[s] almost certainly

would be greater.” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 881.


       246. Professor Whinston estimated in his opening report that if choice screen
shares translate into search shares, then general search engines other than Google would
have received         of general search traffic from Android devices in the U.S. under a
circumstance in which the European choice screen design had been implemented on
Android devices in the U.S. Whinston (DOJ Pls.’ Expert) Opening Rep. ¶ 964 (Def. Ex. 40).

       Disputed in part.

       Statement 246 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “estimated” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.



                                                 165
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 168 of 271




Accordingly, no response is due from Plaintiffs. Plaintiffs further object to the term “European

choice screen design” as vague and undefined, given the multiple design iterations, and to

Statement 246 as incomplete and misleading. Google had a significant role in designing the

European choice screen.

       Undisputed that Prof. Whinston estimated in his initial report, Pls. Ex. 22, Whinston

(DOJ Pls.’ Expert) Initial Report, ¶ 964, that “[i]f choice screen shares translate into search

shares, rivals would therefore achieve a         share of Android search traffic in the US” in the

short-run and that the “choice screen” here refers to the “revised choice screen” as discussed in

Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 956–958.

       Otherwise disputed. Statement 246 is incomplete because, as Prof. Whinston explained,

this is a “short-run estimate[].” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 880.

Statement 246 is vague and misleading to the extent it suggests that this estimate would apply if

a choice screen “had been implemented” at any time as opposed to “had been implemented”

recently. As Prof. Whinston explained, his “estimates do not take account of the fact that

Google’s rivals’ qualities and brand perceptions today would undoubtedly be better absent the

long history of Google’s search distribution contracts with their exclusionary terms.” Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 881. Without Google’s long history of

anticompetitive distribution contracts, “even the short-run share shifts that [Prof. Whinston]

calculate[s] almost certainly would be greater.” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, ¶ 881.

       247. Professor Whinston estimated in his opening report that if the European
choice screen design had been implemented on all Android devices in the U.S., then
approximately        of all Google search queries from all device types may have shifted
from Google to search engines other than Google. Whinston (DOJ Pls.’ Expert) Opening
Rep. ¶¶ 832 Fig. 135, 959, 964 (Def. Ex. 40).

       Disputed in part.


                                                166
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 169 of 271




       Statement 247 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “estimated” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to the term “European

choice screen design” as vague and undefined, given the multiple design iterations, and to

Statement 247 as incomplete and misleading. Google had a significant role in designing the

European choice screen.

       Undisputed that Prof. Whinston estimates that if the choice screen deployed in Europe

had been implemented today on all Android devices in the United States, “in the short-run

Google’s rivals would be expected to achieve a modest, but significant gain in Android phone

share . . . a gain that might double or triple (or more) their collective share on Android phones.”

Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 965.

       Otherwise disputed. Statement 247 is incomplete because, as Prof. Whinston explained,

this is a “short-run estimate[].” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 880.

Statement 247 is incomplete and misleading to the extent it suggests this estimate would apply if

a choice screen “had been implemented” at any time as opposed to “had been implemented”

recently. As Prof. Whinston explained, his “estimates do not take account of the fact that

Google’s rivals’ qualities and brand perceptions today would undoubtedly be better absent the

long history of Google’s search distribution contracts with their exclusionary terms.” Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 881. Without Google’s long history of

anticompetitive distribution contracts, “even the short-run share shifts that [Prof. Whinston]

calculate[s] almost certainly would be greater.” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, ¶ 881.




                                                 167
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 170 of 271




        248. Professor Whinston estimated at his deposition that if the European choice
screen design had been implemented on all Android devices in the U.S., then less than
of all search queries entered in the U.S. from all device types may have shifted from Google
to search engines other than Google. Whinston (DOJ Pls.’ Expert) Tr. 415:4-416:21 (Def.
Ex. 4).

       Disputed in part.

       Statement 248 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “estimated” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to the term “European

choice screen design” as vague and undefined, given the multiple design iterations, and to

Statement 248 as incomplete and misleading. Google had a significant role in designing the

European choice screen.

       Undisputed that Prof. Whinston offered a “conservative estimate” at his deposition that if

the choice screen adopted in Europe were implemented only on Android devices in the United

States, then        of U.S. Android search traffic (which translates to less than      of all U.S.

search traffic) would shift from Google to rivals, under current conditions. Pls. Ex. 88, Whinston

(DOJ Pls.’ Expert) Dep., 415:4–418:20.

       Otherwise disputed. Disputed to the extent Statement 248 suggests this was Prof.

Whinston’s best or only estimate. To the contrary, Prof. Whinston used another analysis to

estimate that rivals’ U.S. Android search traffic would grow nearly six fold (from          to

      ) if the choice screen adopted in Europe were implemented on U.S. Android devices today.

Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 964. Statement 248 is further disputed

to the extent it suggests this estimate would hold true in perpetuity. As Prof. Whinston explained,

these are “short-run estimates.” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 880;


                                                 168
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 171 of 271




accord Pls. Ex. 88, Whinston (DOJ Pls.’ Expert) Dep., 415:4–416:10. Further disputed to the

extent Statement 248 suggests the that these estimates apply if a choice screen “had been

implemented” at any time as opposed to “had been” implemented recently. As Prof. Whinston

explained, his “estimates do not take account of the fact that Google’s rivals’ qualities and brand

perceptions today would undoubtedly be better absent the long history of Google’s search

distribution contracts with their exclusionary terms.” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert)

Initial Report, ¶ 881. Without Google’s long history of anticompetitive distirbution contracts,

“even the short-run share shifts that [Prof. Whinston] calculate[s] almost certainly would be

greater.” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 881.

       249. Plaintiffs’ experts are not opining that in a but-for world any particular
Android OEM or Carrier would have set a search engine choice screen on any particular
device. E.g., Whinston (DOJ Pls.’ Expert) Tr. 289:10-18, 380:9-382:4 (Ex. 4); Baker (Colo.
Pls.’ Expert) Tr. 318:14-322:5 (Def. Ex. 84).

       Disputed in part.

       Statement 249 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts are “opining” on is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to the term “but-for

world” as vague and undefined, and to Statement 249 as (1) not supported by cited material, as

required by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h), and (2) incomplete

and misleading as to the opinions offered by Plaintiffs’ experts about a world without Google’s

exclusionary search distribution contracts.

       Undisputed that Plaintiffs’ experts have not opined that, absent Google’s distribution

agreements, a particular Android OEM or a particular carrier would have set a search engine

choice screen on a particular device.



                                                 169
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 172 of 271




       Otherwise disputed. Statement 249 suggests that Prof. Whinston or any Plaintiff expert

opined that, absent Google’s distribution agreements, no Android OEM or carrier would have

implemented a search engine choice screen. To the contrary, Prof. Whinston explained that

although “it is difficult to know exactly what Google (and rivals) would have done if Google had

not used its exclusionary search distribution contracts, . . . there are reasonable scenarios in

which current or future rivals would achieve parity,” such as a choice screen. Pls. Ex. 89,

Whinston (DOJ Pls.’ Expert) Reply Report, ¶ 427; accord Pls. Ex. 24, Whinston (DOJ Pls.’

Expert) Rebuttal Report, ¶ 329; Pls. Ex. 88, Whinston (DOJ Pls.’ Expert) Dep., 287:16–288:13.

Further, Prof. Whinston noted that in other scenarios, where Google’s distribution agreements

are inapplicable, Google and others have implemented choice screens willingly. E.g., Pls. Ex. 24,

Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶ 678 n.887 (discussing three choice screens

Google gives users); Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶ 680 n.892

(discussing five choice screens that appear at startup on Apple devices); Pls. Ex. 89, Whinston

(DOJ Pls.’ Expert) Reply Report, ¶ 430 (“In March 2021, Apple switched the Siri virtual

assistant from having a female voice by default to presenting the user with a voice choice screen

at startup.” (citing Pls. Ex. 264, Email from Franklin (Apple), New Siri voices coverage (Mar.

31, 2021), APLGOOGDOJ-01145304, at -304)).

       Also disputed to the extent Statement 249 suggests that Prof. Baker has opined that no

Android OEM or carrier would have implemented a search engine choice screen in the but-for

world, rather he states he is “not taking a view one way or the other about that.” Pls. Ex. 265,

Baker (Colo. Pls.’ Expert) Dep., 300:25–301:4.




                                                 170
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 173 of 271




       250. Plaintiffs’ experts have not evaluated the financial impacts on any OEM or
carrier of setting a search engine choice screen on its devices. E.g., Whinston Tr. (DOJ Pls.’
Expert) 380:9-382:4 (Def. Ex. 4).

       Undisputed.

       Statement 250 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “evaluated” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs.

       251. Professor Whinston estimated in his opening report that if a search engine
other than Google had been the exclusive preinstalled default search engine on all search
access points on Android devices in the U.S., then approximately                  of total
U.S. search queries may have shifted from Google to other general search engines.
Whinston (DOJ Pls.’ Expert) Opening Rep. ¶¶ 904-05 (Def. Ex. 40).

       Disputed in part.

       Statement 251 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “estimated” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to the term “default

search engine” as vague and undefined, given the multiple design iterations, and to Statement

251 as incomplete and misleading.

       Undisputed that Prof. Whinston estimated in his initial report, Pls. Ex. 22, Whinston

(DOJ Pls.’ Expert) Initial Report, at ¶¶ 904–905, that “[i]f I make the same adjustments for the

US vs. worldwide geography and for revenue vs. queriers as I did above [Pls. Ex. 22, Whinston

(DOJ Pls.’ Expert) Initial Report, at ¶¶ 888–892]

                                                                                   ” and that “the

shift in search traffic to rivals were rivals to gain these Android defaults would be between




                                                 171
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 174 of 271




                   of total US searches and between                        of US mobile phone

searches.” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 905.

       Otherwise disputed. Statement 251 is incomplete in part because it leaves off the last

clause of the quoted text – that the shift in search traffic to rivals would be

                                         Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶

905. Statement 251 is further incomplete and misleading because as Prof. Whinston explained,

these are “short-run estimates.” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 880.

Further disputed to the extent Statement 251 suggests that these estimates apply if a rival “had

[always] been” as opposed to “had [recently] been” changed to the exclusive preinstalled default

search engine. As Prof. Whinston explained, his “estimates do not take account of the fact that

Google’s rivals’ qualities and brand perceptions today would undoubtedly be better absent the

long history of Google’s search distribution contracts with their exclusionary terms.” Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 881. Without Google’s long history of

anticompetitive distribution contracts, “even the short-run share shifts that [Prof. Whinston]

calculate[s] almost certainly would be greater.” Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, ¶ 881.

        252. Professor Whinston has not opined that consumers who prefer a search
engine other than Google are frustrated in attempting to use that search engine or that
consumers who prefer a search engine that is not the default fail to seek it out and use it.
See, e.g., Whinston (DOJ Pls.’ Expert) Tr. 199:8-201:5 (Def. Ex. 4).

       Disputed.

       Statement 252 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “opined” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to Statement 252 as (1)



                                                 172
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 175 of 271




not supported by cited material, as required by Federal Rule of Civil Procedure 56(c)(1) and

Local Rule 7(h); and (2) misleading as to the opinions offered by Prof. Whinston.

       Disputed. Prof. Whinston has not opined on the preferences or frustrations of any

particular individual. Pls. Ex. 88, Whinston (DOJ Pls.’ Expert) Dep., 200:19–201:5. But Prof.

Whinston nonetheless provided extensive evidence on the stickiness of defaults. E.g., Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, § VII.A. Most notably, Prof. Whinston’s analysis of

defaults showed (among other things) that a choice screen “would, [even] in the short run, lead to

a modest but still significant shift in shares toward Google’s rivals.” Pls. Ex. 22, Whinston (DOJ

Pls.’ Expert) Initial Report, ¶ 926. The fall in share would be caused, at least in part, by users

who prefer a non-Google search engine but are using Google because it is the default. See Pls.

Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 926.

        253. Plaintiffs’ experts are not opining that in a but-for world all Android devices
sold in the U.S. would ship with a search engine other than Google as the exclusive
preloaded search engine. E.g., Whinston (DOJ Pls.’ Expert) Tr. 389:14-393:16 (Def. Ex. 4);
Baker (Colo. Pls.’ Expert) Tr. 318:14-322:5 (Def. Ex. 84).

       Undisputed.

       Statement 253 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts are “opining” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs.

       254. Plaintiffs’ experts are not opining that in a but-for world any particular
Android OEM or carrier would have selected a search engine other than Google to be the
exclusive preloaded search engine on any particular Android device. E.g., Whinston (DOJ
Pls.’ Expert) Tr. 389:14-393:16 (Def. Ex. 4); Baker (Colo. Pls.’ Expert) Tr. 318:14-322:5
(Def. Ex. 84).

       Disputed in part.




                                                 173
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 176 of 271




          Statement 254 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts are “opining” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to the term “but-for

world” as vague and undefined, and to Statement 254 as (1) not supported by cited material, as

required by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h), and (2) incomplete

and misleading as to the opinions offered by Plaintiffs’ experts about a world without Google’s

exclusionary search distribution contracts.

          Undisputed that Plaintiffs’ experts have not opined that, absent Google’s distribution

agreements, a particular Android OEM or a particular carrier would have selected a search

engine other than Google to be the exclusive preloaded search engine on a particular Android

device.

          Otherwise disputed. Prof. Whinston explained that although “it is difficult to know

exactly what Google (and rivals) would have done if Google had not used its exclusionary search

distribution contracts, . . . there are reasonable scenarios in which current or future rivals would

achieve . . . exclusive default positions on a device or browser.” Pls. Ex. 89, Whinston (DOJ Pls.’

Expert) Reply Report, ¶ 427; accord Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶

329; see also Pls. Ex. 88, Whinston (DOJ Pls.’ Expert) Dep., 389:14–390:9 (noting that a rival

may win an exclusive in the short run “on some device[s]” and even more devices “in the longer

run”). Further, Prof. Whinston noted that, even despite Google’s anticompetitive conduct, a rival

search engine managed to secure the default search position on Firefox from 2014 to 2017. Pls.

Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 817–818.




                                                   174
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 177 of 271




       Also disputed to the extent Statement 254 suggests that Prof. Baker has opined that no

Android OEM or carrier would have selected a search engine other than Google to be the

exclusive preloaded search engine on its devices in the but-for world. Prof. Baker allows for

several possible situations to arise in the but-for world when he states, “I didn’t take a position

on . . . whether there would be exclusive default agreeements in the but-for world, and if so,

between which general search firms and which firms that control search access points.” Pls. Ex.

265, Baker (Colo. Pls.’ Expert) Dep., 320:15–320:24. Further, in his Initial Report, Prof. Baker

describes in his illustrative calculation of the “exclusionary effect of Google’s exclusive pre-

installed default agreements” a situation where other search firms reach agreements with all of

the firms that control search access points (specifically refering to those listed in Baker Initial

Report, tbl. 21), and explains how the calculation would change if no general search firm reached

an agreement with any of the firms that control search access points. Pls. Ex. 266, Baker (Colo.

Pls.’ Expert) Initial Report, ¶¶ 262–263.

        255. Plaintiffs’ experts are not opining that any Android OEM or Carrier has
determined that a rival search engine is superior to Google or that an OEM or Carrier
would have exclusively preloaded a rival search engine instead of Google if not for Google’s
RSAs with OEMs and carriers. E.g., Whinston (DOJ Pls.’ Expert) Tr. 361:5-364:16 (Def.
Ex. 4); Baker (Colo. Pls.’ Expert) Tr. 318:14-322:5 (Def. Ex. 84).

       Disputed in part.

       Statement 255 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts are “opining” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to Statement 255 as (1)

not supported by cited material, as required by Federal Rule of Civil Procedure 56(c)(1) and

Local Rule 7(h), and (2) incomplete and misleading as to the opinions offered by Plaintiffs’

experts about a world without Google’s exclusionary search distribution contracts.


                                                 175
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 178 of 271




       Undisputed that Plaintiffs’ experts are not opining that an Android OEM or carrier has

determined that a rival search engine is superior to Google. Also undisputed that Plaintiffs’

experts are not opining that a particular Android OEM or a particular carrier would have

exclusively preloaded a rival search engine instead of Google if not for Google’s RSAs with

OEMs and carriers.

       Otherwise disputed. Prof. Whinston explained that although “it is difficult to know

exactly what Google (and rivals) would have done if Google had not used its exclusionary search

distribution contracts, . . . there are reasonable scenarios in which current or future rivals would

achieve . . . exclusive default positions on a device or browser.” Pls. Ex. 89, Whinston (DOJ Pls.’

Expert) Reply Report, ¶ 427; accord Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶

329. Further, Prof. Whinston noted that, even despite Google’s anticompetitive conduct, a rival

search engine managed to secure the default search position on Firefox from 2014 to 2017. Pls.

Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 817–818.

       Also disputed to the extent Statement 255 suggests that Prof. Baker has opined that no

that no OEM or carrier would have exclusively preloaded a rival search engine instead of Google

if not for Google’s RSAs with OEMs and carriers. Prof. Baker allows for several possible

situations to arise in the but-for world when he states, “I didn’t take a position on . . . whether

there would be exclusive default agreements in the but-for world, and if so, between which

general search firms and which firms that control search access points.” Pls. Ex. 265, Baker

(Colo. Pls.’ Expert) Dep., 320:15–320:24. Further, in his Initial Report, Prof. Baker describes in

his illustrative calculation of the “exclusionary effect of Google’s exclusive pre-installed default

agreements” a situation where other search firms reach agreements with all of the firms that

control search access points (specifically referring to those listed in Baker Initial Report, tbl. 21),




                                                 176
      Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 179 of 271




and explains how the calculation would change if no general search firm reached an agreement

with any of the firms that control search access points. Pls. Ex. 266, Baker (Colo. Pls.’ Expert)

Initial Report, ¶¶ 262–263.

IV.    Plaintiffs’ Additional Contentions Regarding the ACC and AFA

       A.      The Role of Compatibility in the Development of Android
       256. Before Android, OEMs installed customizable mobile operating systems
including, among others, JavaME (or J2ME), Symbian, and Mobile Linux. Second
Statement of Jamie Rosenberg (Oct. 5, 2018) (GOOG-DOJ-01661440 at -447) (Def. Ex. 85);
Jung (Google) Tr. 231:13–25 (Def. Ex. 63); Miner (Google) Tr. 173:19–174:7 (Def. Ex. 55).

       Disputed in part.

       Plaintiffs object to the term “Android” as vague as to whether it refers to Google

proprietary Android or to AOSP, and to Statement 256 as (1) not supported by cited material, as

required by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h) and (2) incomplete and

misleading.

       Undisputed that before Android (a period that covers from the dawn of the cellular phone

until 2008), some OEMs installed customizable mobile operating systems including, among

others, JavaME (or J2ME), Symbian, and Mobile Linux.

       Otherwise disputed. It is not the case that all OEMs, before Android (which Plaintiffs

understand to mean AOSP in this context), installed customizable mobile OSs. Some OEMs

developed their own proprietary mobile OSs. Pls. Ex. 56, Davies (DOJ Pls.’ Expert) Initial

Report, ¶ 14–16.

       257. OEMs implemented those customizable mobile platforms in mutually
incompatible ways, such that an application written for one mobile phone model might not
work on another model running a variation of the same mobile operating system. Android
Partner Engineering Evolution of Android Compatibility (GOOG-DOJ-03509514 at -518–
20) (Def. Ex. 86); Miner (Google) Tr. 173:19–174:7 (Def. Ex. 55).

       Undisputed.



                                                177
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 180 of 271




       258. To have their applications run properly on different implementations of
those predecessor platforms, app developers wrote different versions of their apps,
increasing development costs. Jung (Google) Tr. 231:7-20) (Def. Ex. 63); Android Partner
Engineering Evolution of Android Compatibility (GOOG-DOJ-03509514 at -518-21) (Def.
Ex. 86).

         Disputed in part.

         Plaintiffs object to Statement 258 as (1) not supported by cited material, as required by

Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h); and (2) incomplete and misleading

         Undisputed that to have their applications run properly on different implementations of

some predecessor platforms, some app developers wrote different versions of their apps,

increasing development costs.

         Otherwise disputed. Statement 258 is only true in some cases. Having different

implementations sometimes increased app devloper costs, but not always. For example,

developers might build an app to meet standards common to all implementations, which would

not necessarily lead to increased costs. Pls. Ex. 161, Davies (DOJ Pls.’ Expert) Dep., 110:13–

114:2.

       259. Google, a developer of mobile applications during this period, experienced
these higher app development costs. Lockheimer (Google) Tr. 82:8-83:10 (Def. Ex. 87).

         Undisputed.

         Plaintiffs object as vague “this period.” This response assumes it to mean 2006–2007.

      260. In 2012, Google’s Larry Page stated in a letter to investors: “developing apps
for mobile devices was incredibly painful. We had a closet full of over 100 phones, and we
were building our software pretty much one device at a time.” Alphabet Investor Relations,
2012 Founders’ Letter, available at https://abc.xyz/investor/founders-letters/2012/.

         Undisputed.

       261. Google recognized that licensing the Android operating system open-source
created the potential for incompatibilities that had hindered other customizable mobile
platforms. Statement of Rich Miner (Nov. 8, 2016) (GOOG-DOJ-19567568 at -573) (Def.
Ex. 56); Miner (Google) Tr. 173:8-18 (Def. Ex. 55).



                                                 178
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 181 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 182 of 271




       Undisputed that some OEMs, contemporaneous with Android’s launch as the open source

AOSP, supported Google’s efforts to promote compatibility on Android devices to attract users

and developers.

       Otherwise disputed. Statement 266 is misleading in that it suggests OEMs have

universally accepted the methods by which Google has chosen to promote compatibility. OEMs

have objected to aspects of Google’s compatibility commitments as overly restrictive and

preventing device customization. See, e.g., Pls. Ex. 91, Google presentation,        2019 Partner

Plan (*July 2019), GOOG-DOJ-09073083, at -092

                                                                          ; Pls. Ex. 92, Email

from Lockheimer (Google), Summary of                                 meeting (Oct. 15, 2019),

GOOG-DOJ-28674737, at -738 (

                                                                                        .’”); Pls.

Ex. 93, Email from Kawamura (Google), Search Widget customization exploration (Feb. 23,

2017), MOTO-CID-00066236, at -236; Pls. Ex. 61, Christensen (Motorola) Dep., 39:9–40:24;

Pls. Ex. 56, Davies (DOJ Pls.’ Expert) Initial Report, ¶¶ 95–105.

       267. Baseline compatibility helps attract application developers to Android
because compatibility reduces application development costs. Lockheimer (Google)
Tr. 36:23-37:16 (Def. Ex. 87); Lagerling (Google) Tr. 49:7-50:2 (Def. Ex. 93).

       Disputed in part.

       Plaintiffs object to the term “Android” as vague in this context as to whether it refers to

Google proprietary Android or to AOSP, and to Statement 267 as (1) not supported by cited

material, as required by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h) and (2)

incomplete and misleading.

       Undisputed that baseline compatibility helps attract application developers.




                                               180
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 183 of 271




       Otherwise disputed. Developers are not equally attracted to developing for AOSP devices

as Google proprietary Android devices. E.g., Pls. Ex. 56, Davies (DOJ Pls.’ Expert) Initial

Report, ¶¶ 39–41. Neither Mr. Lockheimer nor Mr. Lagerling are third-party Android application

developers—to the extent both have knowledge, it comes mainly from their experience at

Google. Pls. Ex. 96, Lockheimer (Google) Dep., 234:10–236:25; Pls. Ex. 97, Lagerling (Google)

Dep., 121:20–126:10. To the extent Mr. Lockheimer and Mr. Lagerling rely on what they have

been told by app developers, that is inadmissible hearsay and cannot be used to support

Statement 267.

      268. Professor Whinston recognizes that “preventing fragmentation can be an
important factor” in “encourag[ing] application developers to write applications for
Android.” Whinston (DOJ Pls.’ Expert) Rebuttal Rep. ¶ 345 (Def. Ex. 77).

       Undisputed.

       Statement 268 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs experts have “recognized” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs.

       B.  AFAs, ACCs, and the Android Compatibility Definition
       Document
      269. In 2017, Google transitioned from using the AFA to using the ACC.
Rosenberg (Google) Tr. 278:8-10 (Def. Ex. 94); Statement of Rich Miner (Feb. 16, 2021)
(GOOG-DOJ-29517791 at -797) (Def. Ex. 95).

       Disputed in part.

       Plaintiffs object to Statement 269 as incomplete.

       Undisputed that in 2017, Google began transitioning from using the AFA to using the

ACC for some OEMs.




                                                181
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 184 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 185 of 271




        272. The CDD sets baseline technical requirements for application programming
interfaces, hardware, and security. Android Compatibility Definition Document, available at
https://source.android.com/docs/compatibility/cdd (Aug. 11, 2022); Compatibility
Definition: Android 13, available at
https://source.android.com/docs/compatibility/13/android-13-cdd (Nov. 29, 2022); Jung
(Google) Tr. 93:25-94:6 (Def. Ex. 63).

       Undisputed.

        273. Many features in the CDD are optional or can be implemented in different
ways. Android Compatibility Definition Document, available at
https://source.android.com/docs/compatibility/cdd (Aug. 11, 2022); Second Statement of
Jamie Rosenberg (Feb. 20, 2021) (GOOG-DOJ-29517860 at -862-64) (Def. Ex. 60).

       Undisputed.

        274. The CDD contains “core” requirements applicable to all Android devices, as
well as form-factor specific requirements. Android Compatibility Definition Document,
available at https://source.android.com/docs/compatibility/cdd (Aug. 11, 2022).

       Disputed in part.

       Plaintiffs object to the term “Android” as vague in this context as to whether it refers to

Google proprietary Android, to AOSP, or to non-CDD compliant versions of AOSP and to

Statement 274 as (1) not supported by cited material, as required by Federal Rule of Civil

Procedure 56(c)(1) and Local Rule 7(h); and (2) misleading as to time.

       Undisputed that, today, the CDD contains “core” requirements applicable to all Android

devices that comply with Google’s technical standards, as well as form-factor specific

requirements.

       Otherwise disputed. The CDD lays out “core” requirements for all Android devices

manufactured or sold by AFA or ACC signatories, including AOSP and Google proprietary

Android devices. Google SMF, 209;



                                                An OEM could manufacturer non-CDD

compatible AOSP devices, though doing so would violate the AFA or ACC if they were


                                               183
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 186 of 271




signtories—this was the situation for OEM’s Amazon approached about the Fire Phone. Pls. Ex.

98, Amazon Letter to Competition Comm’n of India (Sept. 13, 2019), AMZNDOJ0000414, at -

428–27. Statement 274 is vague as to when or under what circumstances the CDD began

including form-factor specific requirements. Google only added form-factor specific

requirements to the CDD starting with Android 8.0 in 2017. Def. Ex. 60, Second Rosenberg

(Google) Statement submitted to Korea Fair Trade Commission (Annex G-2) (Feb. 20, 2021),

GOOG-DOJ-29517860, at -864. Previously, Google had developed one set of requirements for

all form factors and manfacturers had to request to “carve out” lesser-known form factors. Def.

Ex. 60, Second Rosenberg (Google) Statement submitted to Korea Fair Trade Commission

(Annex G-2) (Feb. 20, 2021), GOOG-DOJ-29517860, at -864.

      275. The CDD does not prohibit partners from adding additional features—
whether APIs, hardware, or services—consistent with its baseline requirements. Rosenberg
(Google) Tr. 286:13-19 (Ex. 94); Jung (Google) Tr. 58:6-7, 142:19-143:14 (Def. Ex. 63).

       Undisputed

       276. AFA and ACC signatories can seek exemptions from Google. Jung (Google)
Tr. 37:23-38:2, 60:2-61:24 (Def. Ex. 63).

       Disputed in part.

       Plaintiffs object to Statement 276 as (1) inaccurate; and (2) misleading.

       Undisputed that AFA and ACC signatories can seek exemption from Google for certain

device types.

       Otherwise disputed.




                                               184
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 187 of 271




        277. AFAs and ACCs do not address the search service or browser a signatory
installs or promotes on its CDD-compatible devices. Jung (Google) Tr. 234:21-235:6 (Def.
Ex. 63); see, e.g.,

       Undisputed.

       278. The CDD does not dictate the search engine that is installed or set as the
default on any Android device, and it does not place any restrictions on the search engines
that may later be installed by a user. Android Compatibility Definition Document, available
at https://source.android.com/docs/compatibility/cdd (Aug. 11, 2022).

       Undisputed.

        279. The CDD does not specify the browser that is installed or set as the default
on any Android device. Android Compatibility Definition Document, available at
https://source.android.com/docs/compatibility/cdd (Aug. 11, 2022).

       Undisputed



        280. The CDD does not require the installation of any Google proprietary
software. Android Compatibility Definition Document, available at
https://source.android.com/docs/compatibility/cdd (Aug. 11, 2022); Second Statement of
Jamie Rosenberg (Feb. 20, 2021) (GOOG-DOJ-29517860 at -865) (Def. Ex. 60).

       Disputed in part.

       Plaintiffs object to the term “installation” as vague and undefined and to Statement 280 as

(1) incomplete; and (2) misleading.

       Undisputed that the CDD does not explicitly require the installation of any Google

proprietary software.

       Otherwise disputed. For an Android mobile device to be successful in the United States,

it must have proprietary Google Software preinstalled—e.g., the Play Store and Google Play

Services (GPS) (a critical proprietary set of application programming interfaces (APIs)). See Pls.

Ex. 61, Christensen (Motorola) Dep., 157:11–158:2 (the Play Store);


                                               185
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 188 of 271




                                                 Pls. Ex. 63,                    ) Dep., 29:18–30:9

                ); Pls. Ex. 64, Google presentation: Android Review (*Nov. 5, 2019), GOOG-

DOJ-06465054, at -066 (Android apps look for the APIs known as Google Play Services (GPS)

and the Android apps need the APIs to function). This is proprietary Google Software.

       281. Professor Whinston acknowledges that “compatible [Android] devices are
better opportunities” for rival general search engines to distribute their products than
incompatible devices. Whinston (DOJ Pls.’ Expert) Reply Rep. ¶ 385 (Def. Ex. 20).

         Disputed.

         Statement 281 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ experts have “acknowledged” is not a material fact subject to proof at trial and is

therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to Statement 281 as (1)

not supported by cited material, as required by Federal Rule of Civil Procedure 56(c)(1) and

Local Rule 7(h); and (2) inaccurate, incomplete, and misleading as to the opinions offered by

Prof. Whinston.

         Prof. Whinston’s statement is taken out of context. The full quote reads “compatible

devices are better opportunities precisely because the AFA/ACC has led to a situation in which

app developers focus on Google’s proprietary Android platform and in which Google Play Store

is the deominant source for those apps.” Pls. Ex. 89, Whinston (DOJ Pls.’ Expert) Reply Report,

¶ 385.

        282. Professor Whinston offers no opinion that the AFA or ACC have resulted in
the shift of any search queries to Google from Google’s rivals.

         Disputed.

         Statement 282 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ expert “offers no opinion” on is not a material fact subject to proof at trial and is



                                                  186
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 189 of 271




therefore not appropriate for inclusion in Google’s statement of undisputed material facts.

Accordingly, no response is due from Plaintiffs. Plaintiffs further object to Statement 282 as (1)

not supported by cited material, as required by Federal Rule of Civil Procedure 56(c)(1) and

Local Rule 7(h); and (2) misleading and incomplete as to the opinions offered by Prof.

Whinston.

         Prof. Whinston offers the opinion that “[T]he AFAs/ACCs . . . [provide] Google with a

considerable ability to disrupt the profitability of any OEM or MNO that implements a rival

general search engine on its devices.” Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report,

¶ 346.

       283. CDD-compatible Android devices attract more application developers, and
the availability of more applications in turn attracts more users. Jung (Google) Tr. 91:10-
92:6 (Def. Ex. 63); Second Statement of Jamie Rosenberg (Feb. 20, 2021) (GOOG-DOJ-
29517860 at -871) (Def. Ex. 60).

         Disputed in part.

         Plaintiffs object to Statement 283 as (1) not supported by cited material, as required by

Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h); and (2) incomplete; and (3)

misleading.

         Undisputed that the availability of more applications attracts more users.

         Otherwise disputed. CDD-compliant devices attract developers not merely because they

are compliant with the CDD, but because developers are attracted to Google’s proprietary

applications and APIs—under the MADA’s terms, OEMs that preinstall Google proprietary

applications and APIs must meet the CDD. See Def. SMF ¶ 296; see also, e.g.,




                                                 187
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 190 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 191 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 192 of 271




       That deficiency aside, the cited sources fail to support Statement 288 for other reasons.

The first, Def. Ex. 99, is an internal Amazon analysis of



                                      Def. Ex. 99, Amazon document:           Smartphone

Working Back Document (*Jan. 2015), AMZN-SEARCH-000357486, at -486.



                                                       Pls. Ex. 100, Lee (Amazon) Dep., at

262:11-263:3.




                                           . Def. Ex. 99, Amazon document:           Smartphone

Working Back Document (*Jan. 2015), AMZN-SEARCH-000357486, at -486.

       Second, Google relies on two portions of the deposition of Young Lee of Amazon. The

first portion involves a discussion of the internal Amazon analysis discussed above (Def. Ex. 99,

Amazon document:           Smartphone Working Back Document (*Jan. 2015), AMZN-

SEARCH-000357486), and shows that,



                                                                  Pls. Ex. 100, Lee (Amazon)

Dep., at 262:11–263:3.




                                               190
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 193 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 194 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 195 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 196 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 197 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 198 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 199 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 200 of 271




       Disputed in part.

       Plaintiffs object to the term “requires” and “Android as vague and Statement 297 as (1)

incomplete; and (2) misleading.

       Undisputed that the MADA requires manufacturers to submit a CTS report and device

samples to Google for approval for devices that are preloaded with Google applications.

       Otherwise disputed, including to the extent Statement 297 suggests Google only requires

CDD compliance for devices preloaded with Google applications. The MADA generally requires

compliance with an AFA or ACC—see Statement 298—and the AFA and ACC require that an

OEM only distribute Android devices that are CDD-compliant, including for Android devices

that are not preloaded with Google applications.




                  ; see also Pls. Ex. 110, Google document: Welcome Pack for New Android

Partners (Oct. 11, 2019), GOOG-DOJ-17242522, at -523, -528; Pls. Ex. 111,




                                              198
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 201 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 202 of 271




      300. Microsoft markets its Surface Duo,                     with Microsoft’s Edge
browser as the default browser on its home screen and Bing as the default search engine.
                             (Def. Ex. 105);       (Microsoft) Tr. 229:10-14 (Def. Ex.
106).

       Disputed.

       Plaintiffs object to Statement 300 as (1) not supported by the cited material as required by

Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h); and (2) as incomplete and

misleading.

       First, Google’s claim that Microsoft marketed its Surface Duo with “Bing as the default

search engine” for the device is misleading and incomplete in light of the testimony it relies on.




                                                200
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 203 of 271




                                                ); see also Def. Ex. 105,

                       GOOG-DOJ-02699263, at -288–89; Pls. Ex. 117, Email from Panay

(Microsoft), A couple thoughts (Sept. 16, 2019), MSFT-0001331638, at -639 (Sept. 16, 2019

email from Hiroshi Lockheimer (Google) to Panos Panay (Microsoft), stating “search widget on

[Surface Duo] default home screen is important to us”).



                                                      Def. Ex. 105,

               GOOG-DOJ-02699263, at -288–289, (Exhibit B, ¶¶ 4



                                )&5



                                      ));




                                              201
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 204 of 271
        Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 205 of 271




Accordingly, no response is due from Plaintiffs. Plaintiffs further object to the term “relates to”

as vague and undefined and to Statement 301 as (1) not supported by the cited material as

required by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h); and (2) incomplete.




                 Although it is accurate that Prof. Whinston relied on the email, he relies on a

separate portion stating

                                                                                           “AFAs/ACCs

give Google a great deal of discretion in approving devices, providing Google with a

considerable ability to disrupt the profitability of any OEM or MNO that implements a rival

general search engine on its devices.” Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report,

¶ 346 & n.357 (

                                                                  Other companies’ documents accord with

Prof. Whinston’s opinion. See, e.g. Pls. Ex. 119, Amazon document:                    Core US Tenets &

Guidelines (*Aug. 2015), AMZN-SEARCH-000400505, at -507, § 10 (“




19
     Google’s description of this document as a “2015” email appears to be a typo.


                                                          203
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 206 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 207 of 271




Whinston (DOJ Pls.’ Expert) Rebuttal Report, § VI.A.2.a. (“The MADA’s search placement

requirements are exclusionary”).




                                               Prof. Whinston relies on this part of

email in partial support of his opinion that the MADA excludes Google rivals from getting

distribution through the addition of a browser with a non-Google search default on Android

devices, and Google’s Statements 301-304 do not mention, let alone challenge, that conclusion.

Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶ 360. Prof. Whinston further supports

his opinion with a citation to




                   ). Other evidence is in accord. See, e.g.




                                                                                  Pls. Ex. 61,

Christensen (Motorola) Dep., 147:24–148:10 (“




                                                 205
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 208 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 209 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 210 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 211 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 212 of 271




“Android devices that ship with GMS MUST comply with the Android Compatibility Definition

Document (CDD) and pass the Testing Suites like CTS, CTS Verifier, and GTS”). Testing by

carriers themselves is part of the devices launch process. Pls. Ex. 315, Google presentation:

Android: Partner Device Launch Process (*June 2013), GOOG-DOJ-20847347, at -351 (listing

the “Carrier Lab Cycle(s)” as a “Stage” for device launch, during which “[t]he carrier’s QA lab

cycles while CTS failures are resolved.”)

      309. Carriers such as              do not sign AFAs or ACCs with Google.
Rosenberg (Google) Tr. 30:2-8 (Def. Ex. 94).

       Undisputed.

V.   Agreements Relating to Google Assistant and Internet-of-Things
Devices

       A.      Virtual Assistant Offerings
       310. A virtual assistant (also referred to as an “assistant” or “voice assistant”) is
an interactive service that uses voice as the primary input and output to allow users to
access and accomplish tasks on various devices. Lee (Amazon) Tr. 32:6-9 (Def. Ex. 97);
Spivak (Google) Tr. 16:14-19 (Def. Ex. 110).

       Undisputed.

      311. A virtual assistant is different from voice-activated search, which allows a
consumer to enter a query in a general search engine orally. Whinston (DOJ Pls.’ Expert)
Opening Rep. ¶ 217 n.267 (Def. Ex. 40).

       Undisputed.

        312. Depending on how a device implements the assistant, a user can activate it
through different methods, including (i) a spoken “hotword” or “wake word” like “Hey
Siri,” (ii) a physical affordance (such as a dedicated button on a phone or TV remote, or
long pressing a non-dedicated button on a device), or (iii) a gesture on a device. Whinston
(DOJ Pls.’ Expert) Opening Rep. ¶ 744 (Def. Ex. 40); Spivak (Google) Tr. 89:7-10 (Def. Ex.
110); Brady (Google) Tr. 111:10–20 (Def. Ex. 111); Giannandrea (Apple) Tr. 82:3–13 (Def.
Ex. 5).

       Undisputed.

       313.    There are many assistants that work on a variety of devices; examples
include:


                                               210
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 213 of 271




        a. Apple launched the first assistant, Siri, on the iPhone 4S in October 2011, later
integrating it on subsequent iPhones, CarPlay (Apple’s phone-to-car projection
technology), Apple Watches, AirPods, Apple TV, and HomePod smart speakers.
Giannandrea (Apple) Tr. 81:19-82:13 (Def. Ex. 5); Devices that support “Hey Siri,”
available at https://support.apple.com/en-us/HT209014/ (Mar. 21, 2022); 10 years of Siri:
the history of Apple’s voice assistant, available at https://www.techradar.com/news/siri-10-
year-anniversary (Oct. 4, 2021).

        b. Amazon distributes Alexa, launched in 2014, on its Echo line of speakers and
displays, Amazon Fire TV devices, third-party TV devices, mobile phones, first- and third-
party tablets, third-party speakers, first- and third-party headphones and earbuds, and
numerous other smart-home devices. Amazon Echo Now Available to All Customers,
https://press.aboutamazon.com/2015/6/amazon-echo-now-available-to-all-customers (June
23, 2015); Lee (Amazon) Tr. 40:5-41:6, 41:19-42:4; 162:15-23 (Def. Ex. 97).

        c. Google launched Google Assistant in October 2016 on its Google Home speaker
and Pixel phone, and Google Assistant is also available on other Android mobile devices,
and speakers, cars connected to the internet, smart TVs, and wearable devices such as
smart watches. Spivak (Google) Tr. 17:12–19:3 (Def. Ex. 110); Brady (Google) Tr. 32:19-
23, 98:11-20 (Def. Ex. 111); A personal Google, just for you, available at
https://blog.google/products/assistant/personal-google-just-you/ (Oct. 4, 2016).

        d. Samsung launched its virtual assistant, Bixby, on the Samsung Galaxy S8
smartphone in March 2017 and preinstalled it on subsequent Samsung Android devices
and Samsung smart TVs. Denison (Samsung) Tr. 218:20- 219:3 (Def. Ex. 75); Baxter
(Samsung) Tr. 89:16-20 (Def. Ex. 76); Discover New Possibilities with the Samsung Galaxy
S8 and Galaxy S8+: A Smartphone Without Limits, available at
https://news.samsung.com/us/discover-new-possibilities-samsung-galaxy-s8-galaxy-s8-plus-
unpacked-2017/ (Mar. 29, 2017).

       e. Sonos, Spotify, Roku, Vizio, LG, Auto OEMs, and white-label services also offer
assistants integrated into various devices and services. E.g., Siegel (Sonos) Tr. 42:12-43:3
(Def. Ex. 112);

       Undisputed.

       B.     Uses of Virtual Assistants
       314. The primary use of assistants is to perform actions. Raghavan (Google)
Tr. 613:13-614:10 (Def. Ex. 114); Lee (Amazon) Tr. 42:24-44:9 (Def. Ex. 97).

       Undisputed.

      315. Across all devices from February 10, 2022, through April 6, 2022,          of
Google Assistant interactions were action related, including media, communications, home
automation, productivity, routines, device actions, and others; the remaining      of



                                             211
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 214 of 271




interactions involved seeking information. Murphy (Google’s Expert) Opening Rep. ¶ 575
Fig. 28 (Def. Ex. 9).

       Undisputed.

      316. The majority of Google Assistant interactions on smart speakers, in
connected cars, and with smart TVs is to perform actions:

       a.    On smart speakers,         of Google Assistant interactions are action
related, and       are information related. Murphy (Google’s Expert) Opening
Rep. ¶¶ 574–75, 577 (Def. Ex. 9).

       b.     In autos,     of Google Assistant interactions are action related, and
are information related. Murphy (Google’s Expert) Opening Rep. ¶¶ 575, 577 (Def. Ex. 9).

       c.      With smart TVs,        of Google Assistant interactions are action related,
and        are information related. Murphy (Google’s Expert) Opening Rep. ¶¶ 575, 577
(Def. Ex. 9).

       Undisputed.

        317. The majority of Google Assistant interactions on mobile devices are “to fulfill
an intent … as opposed to only gather information,” including tasks such as setting a timer,
setting an alarm, or playing music. Raghavan (Google) Tr. 613:13-614:10 (Def. Ex. 114).

       Undisputed.

      318. Google Assistant interactions that result in a web search comprise             of
Google Search requests, with smartphones accounting for          and IoT devices
(speakers, displays, TVs, wearable devices, and connected cars) accounting for        .
Murphy (Google’s Expert) Opening Rep. ¶ 593 Table 4 (Def. Ex. 9).

      a.     Assistant usage on speakers and displays, half of all Google Assistant usage,
accounts for           of overall Google Search usage. Murphy (Google’s Expert) Opening
Rep. ¶¶ 571 Table 3, 593 Table 4 (Def. Ex. 9).

       b.     Virtual assistant usage in cars accounts for    of overall Google Assistant
usage and an even more insignificant amount of overall Google Search requests
           . Murphy (Google’s Expert) Opening Rep. ¶¶ 571 Table 3, 593 Table 4 (Def. Ex.
9).

       c.     Smart TVs account for just     of Google Assistant usage and           of
overall Google Search usage. Murphy (Google’s Expert) Opening Rep. ¶¶ 571 Table 3, 593
Table 4 (Def. Ex. 9).

       d.     Assistant usage on mobile devices accounts for      of overall Google
Assistant usage and            of total Google Search requests. Murphy (Google’s Expert)
Opening Rep. ¶¶ 571 Table 3, 593 Table 4 (Def. Ex. 9).


                                            212
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 215 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 216 of 271




       Statement 323 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ expert “states” not a material fact subject to proof at trial and is therefore not

appropriate for inclusion in Google’s statement of undisputed material facts. Accordingly, no

response is due from Plaintiffs.

       324. Professor Whinston recognizes that “Google Assistant is not … [t]he future
of Google Search” and opines that “virtual assistants currently have, and in the near future
will have, only a limited ability to provide results that would substitute for the SERP of a
hypothetical general search services monopolist, leading consumers to use them largely for
other purposes.” Whinston (DOJ Pls.’ Expert) Opening Rep. ¶¶ 221, 233 (Def. Ex. 40).

       Undisputed.

       Statement 324 is not properly framed as a material fact, and Plaintiffs object to it in full.

What Plaintiffs’ expert “recognizes” not a material fact subject to proof at trial and is therefore

not appropriate for inclusion in Google’s statement of undisputed material facts. Accordingly, no

response is due from Plaintiffs.

       C.      Google’s Third-Party Assistant Agreements
       325. Amazon, Google, and Apple integrate on smart speakers, with Alexa as the
sole built-in assistant on 46.6% of speakers shipped in 2021, compared to 32.4% where
Google Assistant was the sole built-in assistant, and 9.8% where Siri was the sole built-in
assistant. Murphy (Google’s Expert) Opening Rep. ¶ 625 Fig. 31 (Def. Ex. 9).

       Undisputed.

     326. Third-party OEMs accounted for 17.2% of total speaker shipments in 2021.
Murphy (Google’s Expert) Opening Rep. ¶ 622 Fig. 30 (Def. Ex. 9).

       Undisputed.

      327. Google has entered into non-exclusive agreements with third-party smart
speaker OEMs to license Google Assistant. E.g., Google Cast-Enabled and Assistant-
Enabled Compliant Device Distribution Agreement


       Undisputed.

      328. Amazon works with many different companies to integrate Alexa into
speakers. Lee (Amazon) Tr. 63:5-63:9 (Def. Ex. 97).


                                                 214
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 217 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 218 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 219 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 220 of 271




2018), GOOG-DOJ-28380959, at -968

                                                 Pls. Ex. 124, Google presentation: Google

Distribution on Android Framework (*Sept. 2019), GOOG-DOJ-21790045, at -051




                                 .

       Plaintiffs also dispute Google’s characterization of the MADAs as “royalty-free.”

Google describes its MADAs as “Non monetary barter” providing “[a]ccess to Google apps in

exchange for placement and security update.” Pls. Ex. 91, Google presentation,        2019

Partner Plan (*July 2019), GOOG-DOJ-09073083, at -097 (emphasis in original). Prof.

Whinston’s reports are in accord: as he notes, under the MADAs, “[i]nstead of charging a fee for

GMS licenses, Google imposes a set of requirements on the Android OEM and any Android

device on which the Android OEM chooses to preinstall Google apps.” Pls. Ex. 22, Whinston

(DOJ Pls.’ Expert) Initial Report, ¶ 751. Prof. Whinston identified these requirements as they

existed in the most recent MADAs for the three companies cited in Google’s support for

Statement 341, namely Samsung, Motorola, and LG:

              The Android OEM must have a valid ACC or AFA

              If the Android OEM preinstalls any single Google app, it must preinstall a suite of

               11 Google apps (the Core and Flexible Apps)

              Google’s Core Apps—GSA, Chrome, Play Store, Maps, YouTube, and Gmail—

               must be preinstalled in the system partition, making them undeletable by the user

              Google Search widget must be placed on the default home screen

              Google Play Store must be placed on the default home screen



                                               218
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 221 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 222 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 223 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 224 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 225 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 226 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 227 of 271




       352. These apps are referred to as “AOSP” apps—taking their name from the
Android Open Source Project (“AOSP”), which includes the Android operating system
(“Android OS”), separate open-source API packages (such as Jetpack), and basic open-
source applications (“AOSP apps”). Def.’s Supp. Resp.to Pl.’s Feb. 22, 2022 Notice of Dep.
of Google LLC (Topic 6) at 35 (Def. Ex. 125).

       Undisputed.

       353. Google included, for example, basic AOSP apps for calendar, camera, email,
messaging, phone contacts, phone dialer, photo gallery, music, search, and web browsing
functionality in the first open-source Android release. Def.’s Supp. Resp. to Pl.’s Feb. 22,
2022 Notice of Dep. of Google LLC (Topic 6) at 35, 41-59 (Def. Ex. 125).

       Undisputed.

       354. When Android launched, virtually no third-party Android applications
existed. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6)
at 35 (Def. Ex. 125); Miner (Google) Tr. 136:23-137:1 (Def. Ex. 55).

       Undisputed.

       A.      The Role of Early AOSP Apps and Third-Party Alternatives
       355. AOSP apps served as “reference applications” for Android developers to
build their own applications. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of
Google LLC (Topic 6) at 35, 44, 52, 54-55 (Def. Ex. 125).

       Disputed.

       Plaintiffs object to Statement 355 as (1) incomplete; and (2) misleading.

       AOSP apps were not merely “reference applications,” but were intended to provide a

complete out-of-the-box experience. Pls. Ex. 57, Miner (Google) Dep., 130:17–131:14 (“[I]n

addition to all those other pieces that we were building into Android, we also planned to have a

core set of applications available so if somebody was building a handset based on the AOSP, our

open source version of Android, they would have a complete out-of-the-box -- you know, they’d

have the ability to ship a complete out-of-the-box experience day one with kind of all the apps

that a user might expect to be available on a phone available day one.”).

        356. AOSP apps have simple functionality that is limited to the device on which it
is installed, absent code modifications. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of


                                               225
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 228 of 271




Dep. Of Google LLC (Topic 6) at 35-36; 42-59 (Def. Ex. 125). Def.’s Supp. Resp. to Pl.’s
Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6) at 36 (Def. Ex. 125); Def.’s Fifth
Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6) at 18 (May 5,
2022) (Def. Ex. 57).

       Disputed.

       Plaintiffs object to Statement 356 as (1) incomplete; and (2) misleading.

       The relative use of the AOSP applications has changed over time. At the outset, the

portion of the Android OS that was open source (AOSP) included the core of the OS, the

application framework, and many of the core apps required for a complete and compelling

modern smartphone. See Pls. Ex. 128, Google presentation: Welcome to Android Noogler

Onboarding! (2019), GOOG-DOJ-15887557, at -585 (Jung Ex. 2) (“



                              .”). Today, however, the fact that “code modifications” could be

needed for AOSP apps to have increased functionality is a result of Google’s decisions to invest

(or not invest) in ongoing development of AOSP apps. Pls. Ex. 56, Davies (DOJ Pls.’ Expert)

Initial Report, ¶¶ 49–52 (discussing apps and functionalities that Google has deprecated or

removed from the AOSP manifest file since 2010); see also Pls. Ex. 162, Google document:




       357. AOSP apps cannot interact with proprietary services absent code
modifications. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC
(Topic 6) at 36 (Def. Ex. 125); Def.’s Fifth Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep.
of Google LLC (Topic 6) at 18 (May 5, 2022) (Def. Ex. 57).

       Disputed in part.

       Plaintiffs object to Statement 357 as incomplete.


                                               226
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 229 of 271




       Undisputed that AOSP apps cannot interact with proprietary services absent code

modifications today.

       Otherwise disputed. As described by Plaintiffs’ industry expert Michael A.M. Davies,

Google has degraded ASOP over the years, including by deprecating or removing core apps. Pls.

Ex. 56, Davies (DOJ Pls.’ Expert) Initial Report, ¶¶ 49–52; see also Pls. Ex. 163, Def.’s Supp.

Resp. to Pls.’ Feb. 22, 2022 Notice of Dep. of Google (Apr. 7, 2022), at 40–42. As Mr. Davies

notes, “[f]or some of these core apps, Google deprecated the open-source version of the app after

releasing its proprietary version.” Pls. Ex. 56, Davies (DOJ Pls.’ Expert) Initial Report, ¶ 51 &

nn. 78–85 (citing examples).

       358. Today, thousands of Android developers offer millions of Android apps.
Slide Deck: AOSP And APIs (GOOG-DOJ-01660503 at -509) (Def. Ex. 126); First
Statement of Jamie Rosenberg (Feb. 20, 2021) (GOOG-DOJ-29517846 at -854) (Def. Ex.
127).

       Disputed in part.

       Plaintiffs object to the term “Android apps” as vague, including whether it refers to apps

built on Google’s proprietary Android or apps built on AOSP. Plaintiffs also object to Statement

358 as (1) not supported by the cited material as required by Federal Rule of Civil Procedure

56(c)(1) and Local Rule 7(h); and (2) incomplete.

       Undisputed that today, thousands of Android developers offer millions of Android apps

that operate on Google’s proprietary Android but not necessarily AOSP.

       Otherwise disputed. Google’s Exhibit 126, cited for this proposition, does not support

that access to AOSP is sufficient to develop all of these “Android apps,” instead making a

distinction between AOSP and Google’s proprietary Android—it notes “AOSP apps were

originally produced to enable OEMs to build fully functional devices, with a view to meeting

users expecations,” [emphasis added], and suggests today Android apps (apparently as



                                                227
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 230 of 271




distinguished from AOSP apps) now “cover[] all the funcionalities offered by AOSP apps.” Def.

Ex. 126, Google presentation: AOSP and APIs (UNDATED), GOOG-DOJ-01660503, at -509.

Many of the most widely used applications have relied on Google’s proprietary apps and APIs.




                                                                               Google’s Exhibit

126 is therefore consistent with Plaintiffs’ industry expert Michael A.M. Davies’s description of

AOSP as insufficient to market a modern Android mobile device. See Pls. Ex. 56, Davies (DOJ

Pls.’ Expert) Initial Report, ¶¶ 49–52; see also Pls. Ex. 57, Miner (Google) Dep., 136:19–22 (“So

if you’re asking does the AOSP, as it stands today, contain all the apps, probably not.”).

       359. There are numerous third-party alternatives to the evolved AOSP apps,
covering all of the functionalities offered by AOSP apps. Slide Deck: AOSP And APIs
(GOOG-DOJ- 01660503, at -509) (Def. Ex. 126); Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022
Notice of Dep. of Google LLC (Topic 6) at 38-39 (Apr. 7, 2022) (Def. Ex. 125).

       Disputed in part.

       Plaintiffs object to the term “evolved AOSP apps” as vague and to Statement 359 as

vague as to time.

       Undisputed that there are some third-party alternatives to AOSP applications today.

       Otherwise disputed. When Android was first released, there were virtually no third-party

Android applications. Def.’s SMF, ¶ 354.



                                                                                             .

See, e.g., Pls. Ex. 100, Lee (Amazon) Dep., 191:22–193:4 (



                                               228
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 231 of 271




        360. Each general search engine has its own Android app. E.g., Microsoft Bing,
available at
https://play.google.com/store/apps/details?id=com.microsoft.bing&hl=en_US&gl=US;
Neeva Browser and Search Engine, available at
https://play.google.com/store/apps/details?id=com.neeva.app&hl=en_US&gl=US;
DuckDuckGo Privacy Browser, available at
https://play.google.com/store/apps/details?id=com.duckduckgo.mobile.android&hl=en_US
&gl=US.

       Undisputed.

        361. Google introduced the open-source Chromium browser in 2008, years before
the deprecation of the AOSP browser. Welcome to Chromium, available at
https://blog.chromium.org/2008/09/welcome-to-chromium_02.html (Sept. 2, 2008); Def.’s
Supp. Resp.s to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6) at 42, 57 (Def.
Ex. 125).

       Undisputed.

        362. Numerous third-party browsers, including Microsoft Edge, Opera, and
Brave, are based on open-source Chromium. E.g., Edge Browser, available at
https://support.microsoft.com/en-us/microsoft-edge/download-the-new-microsoft-edge-
based-on-chromium-0f4a3dd7-55df-60f5-739f-00010dba52cf; Brave Browser, available at
https://brave.com/; Opera 91 Stable, available at
https://blogs.opera.com/desktop/2022/09/opera-91-stable/.

       Undisputed.

       363. Compared to AOSP apps, proprietary apps can enable more secure
connections, more robust functionality, faster updating, and foster innovation by offering a
return on investment. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google
LLC (Topic 6) at 36, 62-63 (Def. Ex. 125).

       Undisputed.

       B.     The Evolution of AOSP Apps
      364. With the rise of apps developed by third-party Android developers, use of
AOSP apps declined. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google
LLC (Topic 6) at 39 (Def. Ex. 125).

       Disputed in part.



                                            229
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 232 of 271




       Plaintiffs object to Statement 364 as (1) incomplete; and (2) misleading.

       Undisputed that use of consumer-facing AOSP apps declined at the same time third-party

Android apps increased.

       Otherwise disputed. As described by Plaintiffs’ industry expert Michael A.M. Davies,

Google has degraded AOSP over the years, including by deprecating or removing core apps. Pls.

Ex. 56, Davies (DOJ Pls.’ Expert) Initial Report, ¶¶ 49–52; Pls. Ex. 94, Davies (DOJ Pls.’

Expert) Reply Report, ¶¶ 39–41; see also Pls. Ex. 163, Def.’s Supp. Resp. to Pls.’ Feb. 22, 2022

Notice of Dep. of Google (Apr. 7, 2022), at 40–42 (identifying AOSP apps that Google has

deprecated or removed from the manifest source file, including messaging, contacts, calendar,

camera, photo gallery, music player, and browser apps); Pls. Ex. 162, Google document:




                                                             As Mr. Davies notes, for “some of

these core apps, Google deprecated the open-source version of the app after releasing its

proprietary version.” Pls. Ex. 56, Davies (DOJ Pls.’ Expert) Initial Report, ¶ 51 & nn.78–86

(citing examples). The reduced use of the AOSP apps, therefore, arose in part because of their

deprecation, their removal from the AOSP manifest source file.

       365. As a result, Google has at times streamlined the purpose of certain AOSP
apps, decided not to add new functionality to certain apps, and/or removed certain apps
from the Android operating system source manifest. Def.’s Supp. Resp. to Pl.’s Feb. 22,
2022 Notice of Dep. of Google LLC (Topic 6) at 39-41 (Def. Ex. 125).

       Disputed in part.




                                               230
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 233 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 234 of 271




       368. Google continues to provide security and translation updates for deprecated
apps, correct for any bugs, and ensure that deprecated apps function properly. Def.’s
Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6) at 40 (Def. Ex.
125).

       Disputed.

       Plaintiffs object to Statement 368 as (1) incomplete; and (2) misleading.

       “Google does not update AOSP Applications that have been removed from the source

manifest,” Pls. Ex. 163, Def.’s Supp. Resp. to Pls.’ Feb. 22, 2022 Notice of Dep. of Google (Apr.

7, 2022), at 19–20, including the AOSP email app that was removed from the manifest source

file in 2020. Pls. Ex. 163, Def.’s Supp. Resp. to Pls.’ Feb. 22, 2022 Notice of Dep. of Google

(Apr. 7, 2022), at 45–46.

       369. All deprecated apps remain available in AOSP. Def.’s Supp. Resp. to Pl.’s
Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6) at 40 (Def. Ex. 125).

       Disputed.

       Plaintiffs object to Statement 369 as (1) not supported by the cited material, as required

by Federal Rule of Civil Procedure 56(c)(1) and Local Rule 7(h); and (2) as misleading.




                                               232
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 235 of 271




       Statement 369 is contradicted by Googles Statement 370, which is undisputed and avers

that Google has removed some AOSP apps from the source manifest file in later Android

releases. Pls. Ex. 56, Davies (DOJ Pls.’ Expert) Initial Report, ¶¶ 49–52; Pls. Ex. 94, Davies

(DOJ Pls.’ Expert) Reply Report, ¶¶ 39–41.

       370. Google has removed some AOSP apps from the source manifest file in later
Android releases. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC
(Topic 6) at 40-41 (Def. Ex. 125).

       Undisputed.

        371. All AOSP apps removed from the source manifest are still publicly available.
Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6) at 41 (Def.
Ex. 125).

       Disputed.

       Plaintiffs object to Statement 371 as (1) incomplete; and (2) misleading.

       Google does not provide updates to AOSP apps removed from the source file, including

updates that would provide security and translation, correct for any bugs, and ensure that the

apps function properly. Pls. Ex. 163, Def.’s Supp. Resp. to Pls.’ Feb. 22, 2022 Notice of Dep. of

Google (Apr. 7, 2022), at 45–46.

       372. Google had valid reasons for evolving each of the AOSP apps to which
Plaintiffs point. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC
(Topic 6) at 41- 59 (Def. Ex. 125).

       Disputed.

       Plaintiffs object to the phrases and terms “valid reasons,” “evolving,” and “each of the

AOSP apps to which Plaintiffs point” as vague, and to Statement 372 as (1) improper; (2)

incomplete; and (3) misleading.

       Google’s averment that it had “valid reasons” for its conduct is a “legal conclusion[] cast

as [a] factual allegation[],” and is therefore not proper for a Statement of Facts. Steele v. Carter,

192 F. Supp. 3d 151, 158 (D.D.C. 2016) (Mehta, J.) (disregarding statements which “are not


                                                 233
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 236 of 271




assertions of fact, but rather are legal conclusions”). That aside, whether Google had “valid

reasons” for its actions is in dispute.




                                                 ; see also Pls. Ex. 56, Davies (DOJ Pls.’ Expert)

Initial Report, ¶ 51 (for some apps “Google deprecated the open-source version of the app after

releasing its proprietary version.”).

        Google has degraded AOSP over the years, as AOSP has lost many of its important

elements and failed to keep up with the requirements of a moden smartphone OS platform. Pls.

Ex. 56, Davies (DOJ Pls.’ Expert) Initial Report, ¶¶ 49–52; Pls. Ex. 94, Davies (DOJ Pls.’

Expert) Reply Report, ¶¶ 39–41.

      373. The AOSP apps, mentioned by Plaintiffs, that Google has deprecated,
removed from the source manifest, or streamlined (“cleaned up”) include:




                                               234
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 237 of 271




 Undisputed.




                                235
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 238 of 271
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 239 of 271




        378. Third parties created alternative, proprietary search apps for Android.
Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6) at 55
(Ex. 125); e.g., Microsoft builds Bing Search App for Android, available at
https://fortune.com/2010/08/30/microsoft-builds-bing-search-app-for-android/ (Aug. 30,
2010); Yahoo Offers Android Search Widget, available at
https://searchengineland.com/yahoo-offers-android-search-app-html5-upgrades-for-ios-
45542 (July 1, 2010).

       Disputed in part.

       Plaintiffs object to Statement 378 as (1) incomplete; (2) misleading; and (3) not

supported by the cited material, as required by Federal Rule of Civil Procedure 56(c)(1) and

Local Rule 7(h).

       Undisputed that third parties created alternative search apps for Android.

       Otherwise disputed. Alternative search apps are not generally available on AOSP devices

without Google proprietary applications preinstalled. For example, for a general user to access

the Yahoo applications cited in Google Exhibits, they would have needed to download the

application from the Google Play store (or its predecessor, Android Market). See Pls. Ex. 311,

Greg Sterling, Yahoo Offers Android Search Widget, Search Engine Land (July 10, 2010) (“Not

being an Android power user I was confused about how to install Yahoo Search. It appeared to

be an app that wouldn’t launch . . . after speaking to Yahoo, I found out it’s a “widget” that you

install on your homescreen. You download the “app” from the Android Market and then touch

and hold the homescreen.”). The Play Store has never been available in AOSP. The Microsoft




                                                237
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 240 of 271
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 241 of 271
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 242 of 271




       385. As a result, Google deprecated the AOSP Browser in 2012 and removed it
from the source manifest in 2018. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of
Google LLC (Topic 6) at 57 (Def. Ex. 125).

       Disputed in part.

       Plaintiffs object to Statement 385 as (1) incomplete; and (2) misleading.

       Undisputed that Google deprecated the AOSP Browser in 2012 and removed it from the

source manifest in 2018.

       Otherwise disputed to the extent that Statement 385 implies that Google’s decision to

remove the AOSP Browser app from the manitfest file was taken completely “as a result” of a

decision that doing so would benefit users.




                                                 Generally, deprecating AOSP functionality

gives Google more control of its propriatry Android, as OEMs have fewer options. Pls. Ex. 56,

Davies (DOJ Pls.’ Expert) Initial Report, ¶¶ 49–52; Pls. Ex. 94, Davies (DOJ Pls.’ Expert) Reply

Report, ¶¶ 39–41.

        386. Google similarly deprecated the AOSP Browser2 in 2019. Def.’s Supp. Resp.
to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6) at 42 (Def. Ex. 125).

       Disputed in part.

       Plaintiffs object to the term “similarly” as vague and object to Statement 386 as (1)

incomplete; (2) misleading; and (3) not supported by the cited material, as required by Federal

Rule of Civil Procedure 56(c)(1) and Local Rule 7(h).



                                               240
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 243 of 271




         Undisputed that Google deprecated the AOSP Browser2 in 2019.

         Otherwise disputed. Google’s cited source describes no reason for the deprecation of

AOSP Browser2.




                                      . Generally, deprecating AOSP functionality gives Google

more control of its propriatry Android, as OEMs have fewer options. Pls. Ex. 56, Davies (DOJ

Pls.’ Expert) Initial Report, ¶¶ 49–52; Pls. Ex. 94, Davies (DOJ Pls.’ Expert) Reply Report, ¶¶

39–41.

        387. Every prior version of AOSP is publicly available on the AOSP website.
Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6) at 41 (Def.
Ex. 125).

         Undisputed.

       388. All versions of AOSP apps and APIs, including installable versions, remain
publicly available and a part of AOSP. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of
Dep. of Google LLC (Topic 6) at 40-41 (Def. Ex. 125).

         Disputed.

         Plaintiffs object to Statement 388 as (1) incomplete; and (2) misleading.

         Google does not provide updates to AOSP apps removed from the source file, including

updates that would provide security and translation, correct for any bugs, and ensure that the

apps function properly. Pls. Ex. 163, Def.’s Supp. Resp. to Pls.’ Feb. 22, 2022 Notice of Dep. of

Google (Apr. 7, 2022), at 45–46

        389. Google has invested enormous resources into Android and AOSP since
inception. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6)
at 57 (Def. Ex. 125); Murphy (Google’s Expert) Opening Rep. ¶ 426 nn.659-60 (Def. Ex. 9)
(citing data showing tens of billions invested in AOSP alone).



                                                241
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 244 of 271




       Undisputed.

       390. Google continues to devote resources to developing and introducing new
AOSP apps. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC
(Topic 6) at 39 (Def. Ex. 125).

       Disputed in part.

       Plaintiffs object to Statement 390 as (1) incomplete; and (2) misleading.

       Undisputed that Google has continued to devote some resources to AOSP apps.

       Otherwise disputed. Google has not devoted comparable resources to AOSP apps verses

Google proprietary applications over time. Pls. Ex. 56, Davies (DOJ Pls.’ Expert) Initial Report,

¶¶ 49–52 (discussing apps and functionalities that Google has deprecated or removed from the

AOSP manifest file since 2010); Pls. Ex. 94, Davies (DOJ Pls.’ Expert) Reply Report, ¶¶ 39–41;

Pls. Ex. 128, Google presentation: Welcome to Android Noogler Onboarding! (2019), GOOG-

DOJ-15887557, at -585

                                                                                   Pls. Ex. 162,

Google document:




        391. Many AOSP apps are upgraded or actively maintained, meaning that Google
still modifies the code for the apps. Slide Deck: AOSP And APIs (GOOG-DOJ-01660503 at
-509) (Def. Ex. 126); Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC
(Topic 6) at 39 (Def. Ex. 125).

       Undisputed.

       392. Google adds and improves open-source application programming interfaces
with each new release of the Android operating system. Def.’s Supp. Resp. to Pl.’s Feb. 22,
2022 Notice of Dep. of Google LLC (Topic 6) at 60 (Def. Ex. 125); First Statement of Jamie
Rosenberg (Feb. 20, 2021) (GOOG-DOJ-29517846 at -848) (Def. Ex. 127).

       Disputed in part.


                                               242
     Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 245 of 271




       Plaintiffs object to the term “improves” as vague, and to Statement 392 as (1) incomplete;

and (2) misleading.

        Undisputed that Googles adds and improves some open-source APIs with some new

release of the Android operating system.

       Otherwise disputed. Google has released other improvements as part of its Google Play

Services, rather than AOSP APIs.




       393. In each successive release of AOSP, Google improves functionality and
features, such as privacy, battery life, and user experience. First Statement of Jamie
Rosenberg (Oct. 5, 2018) (GOOG-DOJ-01658973 at -976-77) (Def. Ex. 129).

       Disputed.

       Plaintiffs object to the terms “improves” and “functionality” as vague. Further object to

to Statement 393 as (1) incomplete; and (2) misleading.

       The functionality gap between AOSP and Google’s proprietary Android has increased

over time. Pls. Ex. 56, Davies (DOJ Pls.’ Expert) Initial Report, ¶¶ 49–52; Pls. Ex. 94, Davies

(DOJ Pls.’ Expert) Reply Report, ¶¶ 39–41; see also Pls. Ex. 57, Miner (Google) Dep., 136:14–

15 (“So if you’re asking does the AOSP, as it stands today, contain all the apps, probably not.”).

       394. Before Android launched, Google planned to license proprietary Android
apps and services, including Google Mobile Services that run on the Android operating
system. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6)
at 36 (Def. Ex. 125).

       Undisputed.



                                               243
    Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 246 of 271




       395. Google Play Store, Google Play Services APIs (also called GMS Core),
Google Maps, Maps APIs, YouTube, Google Account Manager, Cloud Messaging services,
push notifications, and cloud syncing have always been licensed proprietarily and have
never been part of AOSP. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google
LLC (Topic 6) at 59, 62, 66, 71, 78-79, 81 (Def. Ex. 125).

       Undisputed.

       Contrary to Google’s statement in their brief, Plaintiffs never claimed these applications

were at one point part of AOSP. Def. Br. at 49.

       396. Google offers an AOSP location provider that Google has improved since
Android’s launch. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC
(Topic 6) at 70-71 (Def. Ex. 125).

       Undisputed.

      397. Google continues to improve the AOSP APIs that Google and third-party
mapping services use, including by improving the AOSP location provider APIs. Def.’s
Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of Google LLC (Topic 6) at 74 (Def. Ex.
125).

       Undisputed.

       398. Google also offers its own proprietary network location technology that
never has been part of AOSP. Def.’s Supp. Resp. to Pl.’s Feb. 22, 2022 Notice of Dep. of
Google LLC (Topic 6) at 71-72 (Def. Ex. 125).

       Undisputed




                                               244
   Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 247 of 271




Dated: January 26, 2023           Respectfully submitted,

                                  By:    /s/ Kenneth M. Dintzer
                                  Kenneth M. Dintzer
                                  Adam Severt
                                  Matthew C. Hammond
                                  Michael G. McLellan (D.C. Bar #489217)
                                  Elizabeth S. Jensen
                                  Diana A. Aguilar Aldape
                                  Sarah M. Bartels (D.C. Bar No. 1029505)
                                  R. Cameron Gower
                                  Thomas Greene
                                  Karl E. Herrmann (D.C. Bar # 1022464)
                                  Matthew Jones (D.C. Bar No. 1006602)
                                  Claire Maddox (D.C. Bar # 498356)
                                  Veronica N. Onyema (D.C. Bar No. 979040)
                                  Lara E.V. Trager
                                  Catharine S. Wright
                                  U.S. Department of Justice, Antitrust Division
                                  Technology & Digital Platforms Section
                                  450 Fifth Street NW, Suite 7100
                                  Washington, DC 20530
                                  Telephone: (202) 227-1967
                                  Kenneth.Dintzer2@usdoj.gov

                                  Counsel for Plaintiff United States of America




                                   245
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 248 of 271




                               By:    /s/ Margaret Sharp
                               Ken Paxton, Attorney General
                               James Lloyd, Chief, Antitrust Division
                               Margaret Sharp, Assistant Attorney General
                               Office of the Attorney General, State of Texas
                               300 West 15th Street
                               Austin, Texas 78701
                               Margaret.Sharp@oag.texas.gov

                               Counsel for Plaintiff State of Texas


                               By:     /s/ Matthew Michaloski
                               Theodore Edward Rokita, Attorney General
                               Scott L. Barnhart, Chief Counsel and Director,
                               Consumer Protection Division
                               Matthew Michaloski, Deputy Attorney General
                               Christi Foust, Deputy Attorney General
                               Office of the Attorney General, State of Indiana
                               Indiana Government Center South, Fifth Floor
                               302 West Washington Street
                               Indianapolis, Indiana 46204
                               Matthew.Michaloski@atg.in.gov

                               Counsel for Plaintiff State of Indiana


                               By:     /s/ Keaton Barnes
                               Keaton Barnes
                               Arkansas Bar No. 2022161
                               Assistant Attorney General
                               Office of Tim Griffin, Attorney General
                               323 Center Street, Suite 200
                               Little Rock, AR 72201
                               Keaton.Barnes@ArkansasAG.gov

                               Counsel for Plaintiff State of Arkansas




                                246
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 249 of 271




                               By:    /s/ Brian Wang
                               Rob Bonta, Attorney General
                               Ryan J. McCauley, Deputy Attorney General
                               Brian Wang, Deputy Attorney General
                               Henry Cornillie, Deputy Attorney General
                               Paula Blizzard, Supervising Deputy Attorney
                               General
                               Office of the Attorney General,
                               California Department of Justice
                               455 Golden Gate Avenue, Suite 11000
                               San Francisco, California 94102
                               Brian.Wang@doj.ca.gov

                               Counsel for Plaintiff State of California


                               By:     /s/ Lee Istrail
                               Ashley Moody, Attorney General
                               R. Scott Palmer, Special Counsel, Complex
                               Enforcement Chief, Antitrust Division
                               Nicholas D. Niemiec, Assistant Attorney General
                               Lee Istrail, Assistant Attorney General
                               Office of the Attorney General, State of Florida
                               PL-01 The Capitol
                               Tallahassee, Florida 32399
                               Lee.Istrail@myfloridalegal.com
                               Scott.Palmer@myfloridalegal.com

                               Counsel for Plaintiff State of Florida




                               By:    /s/ Daniel Walsh
                               Christopher Carr, Attorney General
                               Margaret Eckrote, Deputy Attorney General
                               Daniel Walsh, Senior Assistant Attorney General
                               Charles Thimmesch, Assistant Attorney General
                               Office of the Attorney General, State of Georgia
                               40 Capitol Square, SW
                               Atlanta, Georgia 30334-1300
                               cthimmesch@law.georgia.gov

                               Counsel for Plaintiff State of Georgia




                                247
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 250 of 271




                               By:     /s/ Philip R. Heleringer
                               Daniel Cameron, Attorney General
                               J. Christian Lewis, Commissioner of the Office of
                               Consumer Protection
                               Philip R. Heleringer, Executive Director of the
                               Office of Consumer Protection
                               Jonathan E. Farmer, Deputy Executive Director
                               of the Office of Consumer Protection
                               Office of the Attorney General, Commonwealth
                               of Kentucky
                               1024 Capital Center Drive, Suite 200
                               Frankfort, Kentucky 40601
                               Philip.Heleringer@ky.gov

                               Counsel for Plaintiff Commonwealth of Kentucky


                               By:    /s/ Christopher J. Alderman
                               Jeff Landry, Attorney General
                               Christopher J. Alderman, Assistant Attorney
                               General
                               Office of the Attorney General, State of
                               Louisiana
                               Public Protection Division
                               1885 North Third St.
                               Baton Rouge, Louisiana 70802
                               AldermanC@ag.louisiana.gov

                               Counsel for Plaintiff State of Louisiana


                               By:    /s/ Scott Mertens
                               Dana Nessel, Attorney General
                               Scott Mertens, Assistant Attorney General
                               Michigan Department of Attorney General
                               P.O. Box 30736
                               Lansing, Michigan 48909
                               MertensS@michigan.gov

                               Counsel for Plaintiff State of Michigan




                                248
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 251 of 271




                               By:    /s/ Stephen M. Hoeplinger
                               Stephen M. Hoeplinger
                               Assistant Attorney General
                               Missouri Attorney General’s Office
                               815 Olive St., Suite 200
                               St. Louis, Missouri 63101
                               Stephen.Hoeplinger@ago.mo.gov

                               Counsel for Plaintiff State of Missouri


                               By:    /s/ Hart Martin
                               Lynn Fitch, Attorney General
                               Hart Martin, Special Assistant Attorney General
                               Crystal Utley Secoy, Assistant Attorney General
                               Office of the Attorney General, State of
                               Mississippi
                               P.O. Box 220
                               Jackson, Mississippi 39205
                               Hart.Martin@ago.ms.gov

                               Counsel for Plaintiff State of Mississippi


                               By: /s/ Anna Schneider
                               Anna Schneider
                               Bureau Chief
                               Montana Office of Consumer Protection
                               P.O. Box 200151
                               Helena, MT. 59602-0150
                               Phone: (406) 444-4500
                               Fax: 406-442-1894
                               Anna.schneider@mt.gov

                               Counsel for Plaintiff State of Montana




                                249
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 252 of 271




                               By:    /s/ Mary Frances Jowers
                               Alan Wilson, Attorney General
                               W. Jeffrey Young, Chief Deputy Attorney
                               General
                               C. Havird Jones, Jr., Senior Assistant Deputy
                               Attorney General
                               Mary Frances Jowers, Assistant Deputy Attorney
                               General
                               Rebecca M. Hartner, Assistant Attorney General
                               Office of the Attorney General, State of South
                               Carolina
                               1000 Assembly Street
                               Rembert C. Dennis Building
                               P.O. Box 11549
                               Columbia, South Carolina 29211-1549
                               mfjowers@scag.gov

                               Counsel for Plaintiff State of South Carolina


                               By:    /s/ Gwendolyn J. Lindsay Cooley
                               Joshua L. Kaul, Attorney General
                               Gwendolyn J. Lindsay Cooley, Assistant
                               Attorney General
                               Wisconsin Department of Justice
                               17 W. Main St.
                               Madison, Wisconsin 53701
                               Gwendolyn.Cooley@Wisconsin.gov

                               Counsel for Plaintiff State of Wisconsin




                                250
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 253 of 271




                               FOR PLAINTIFF STATE OF COLORADO:

                               PHILIP WEISER
                               Attorney General

                               Jonathan B. Sallet
                               Special Assistant Attorney General

                               /s/ Jonathan B. Sallet
                               Jonathan B. Sallet, DC Bar No. 336198
                               Jon.Sallet@coag.gov
                               Steven M. Kaufmann, DC Bar No. 1022365
                               (inactive)
                               Steve.Kaufmann@coag.gov
                               Carla Baumel
                               Carla.Baumel@coag.gov
                               Elizabeth W. Hereford
                               Elizabeth.Hereford@coag.gov
                               Colorado Office of the Attorney General
                               1300 Broadway, 7th Floor
                               Denver, CO 80203
                               Tel: 720-508-6000

                               William F. Cavanaugh , Jr.
                               PATTERSON BELKNAP WEBB & TYLER
                               LLP
                               1133 Avenue of the Americas
                               Suite 2200
                               New York, NY 10036-6710
                               212-335-2793
                               Email: wfcavanaugh@pbwt.com

                               Counsel for Plaintiff Colorado




                                251
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 254 of 271




                               FOR PLAINTIFF STATE OF NEBRASKA:

                               MIKE HILGERS
                               Attorney General

                               Joseph M. Conrad, Assistant Attorney General
                               Colin P. Snider, Assistant Attorney General
                               Matthew K. McKinley, Special Assistant
                               Attorney General
                               Nebraska Department of Justice
                               Office of the Attorney General
                               2115 State Capitol
                               Lincoln, NE 68509
                               Telephone: (402) 471-3840
                               Joseph.Conrad@nebraska.gov
                               Colin.snider@nebraska.gov
                               Matt.Mckinley@nebraska.gov

                               William F. Cavanaugh , Jr.
                               PATTERSON BELKNAP WEBB & TYLER
                               LLP
                               1133 Avenue of the Americas
                               Suite 2200
                               New York, NY 10036-6710
                               212-335-2793
                               Email: wfcavanaugh@pbwt.com

                               Counsel for Plaintiff Nebraska


                               FOR PLAINTIFF STATE OF ARIZONA:

                               KRISTIN K. MAYES
                               Attorney General

                               Robert A. Bernheim, Unit Chief Counsel
                               Arizona Office of the Attorney General
                               400 West Congress, Ste. S-315
                               Tucson, Arizona 85701
                               Tel: (520) 628-6507
                               Robert.bernheim@azag.gov

                               Counsel for Plaintiff Arizona




                                252
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 255 of 271




                               FOR PLAINTIFF STATE OF IOWA:

                               BRENNA BIRD
                               Attorney General

                               Noah Goerlitz, Assistant Attorney General
                               Office of the Attorney General of Iowa
                               1305 E. Walnut St., 2nd Floor
                               Des Moines, IA 50319
                               Tel: (515) 725-1018
                               Noah.goerlitz@ag.iowa.gov

                               Counsel for Plaintiff Iowa


                               FOR PLAINTIFF STATE OF NEW YORK:

                               LETITIA JAMES
                               Attorney General

                               Elinor R. Hoffmann
                               Morgan J. Feder
                               Michael Schwartz
                               Office of the Attorney General of New York
                               28 Liberty Street, 21st Floor
                               New York, NY 10005
                               212-416-8513
                               Elinor.hoffmann@ag.ny.gov
                               Morgan.feder@ag.ny.gov
                               Michael.schwartz@ag.ny.gov

                               Counsel for Plaintiff New York




                                253
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 256 of 271




                               FOR PLAINTIFF STATE OF NORTH
                               CAROLINA:

                               JOSH STEIN
                               Attorney General

                               Kunal Janak Choksi
                               Joshua Daniel Abram
                               Jonathan R. Marx
                               Jessica Vance Sutton
                               North Carolina Department of Justice
                               114 W. Edenton St.
                               Raleigh, NC 27603
                               919-716-6000
                               kchoksi@ncdoj.gov
                               jabram@ncdoj.gov
                               jmarx@ncdoj.gov
                               jsutton2@ncdoj.gov

                               Counsel for Plaintiff North Carolina


                               FOR PLAINTIFF STATE OF TENNESSEE:

                               JONATHAN SKRMETTI
                               Attorney General

                               J. David McDowell
                               Chris Dunbar
                               Office of the Attorney General and Reporter
                               P.O. Box 20207
                               Nashville.TN 37202
                               (615) 741-8722
                               David.McDowell@ag.tn.gov
                               Chris.Dunbar@ag.tn.gov

                               Counsel for Plaintiff Tennessee




                                254
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 257 of 271




                               FOR PLAINTIFF STATE OF UTAH:

                               SEAN D. REYES
                               Attorney General

                               Scott R. Ryther
                               Tara Pincock
                               Utah Office of Attorney General
                               160 E 300 S, 5th Floor
                               P.O. Box 142320
                               Salt Lake City, Utah 84114
                               385-881-3742
                               sryther@agutah.gov
                               tpincock@agutah.gov

                               Counsel for Plaintiff Utah


                               FOR PLAINTIFF STATE OF ALASKA:

                               TREG TAYLOR
                               Attorney General

                               Jeff Pickett
                               State of Alaska, Department of Law
                               Office of the Attorney General
                               1031 W. Fourth Avenue, Suite 200
                               Anchorage, Alaska 99501
                               Tel: (907) 269-5100
                               Jeff.pickett@alaska.gov

                               Counsel for Plaintiff Alaska




                                255
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 258 of 271




                               FOR PLAINTIFF STATE OF CONNECTICUT:
                               WILLIAM TONG
                               Attorney General

                               Nicole Demers
                               Office of the Attorney General of Connecticut
                               165 Capitol Avenue, Suite 5000
                               Hartford, CT 06106
                               860-808-5202
                               Nicole.demers@ct.gov

                               Counsel for Plaintiff Connecticut


                               FOR PLAINTIFF STATE OF DELAWARE:

                               KATHY JENNINGS
                               Attorney General

                               Michael Andrew Undorf
                               Delaware Department of Justice
                               Fraud and Consumer Protection Division
                               820 N. French St., 5th Floor
                               Wilmington, DE 19801
                               302-577-8924
                               Michael.undorf@delaware.gov

                               Counsel for Plaintiff Delaware


                               FOR PLAINTIFF DISTRICT OF COLUMBIA:

                               BRIAN SCHWALB
                               Attorney General

                               Elizabeth Gentry Arthur
                               Office of the Attorney General for the District of
                               Columbia
                               400 6th Street NW
                               Washington, DC 20001
                               202-724-6514
                               Elizabeth.arthur@dc.gov

                               Counsel for Plaintiff District of Columbia




                                256
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 259 of 271




                               FOR PLAINTIFF TERRITORY OF GUAM:

                               DOUGLAS MOYLAN
                               Attorney General

                               Fred Nishihira, Chief, Consumer Protection
                               Division
                               Office of the Attorney General of Guam
                               590 S. Marine Corps Drive, Suite 901
                               Tamuning, Guam 96913
                               Tel: (671) 475-3324

                               Counsel for Plaintiff Guam


                               FOR PLAINTIFF STATE OF HAWAI‘I:

                               ANNE E. LOPEZ
                               Attorney General

                               Rodney I. Kimura
                               Department of the Attorney General, State of
                               Hawai‘i
                               Commerce & Economic Development
                               425 Queen Street
                               Honolulu, HI 96813
                               808-586-1180
                               Rodney.i.kimura@hawaii.gov

                               Counsel for Plaintiff Hawai‘i




                                257
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 260 of 271




                               FOR PLAINTIFF STATE OF IDAHO:

                               RAÚL LABRADOR
                               Attorney General

                               John K. Olson
                               Office of the Idaho Attorney General
                               Consumer Protection Division
                               954 W. State St., 2nd Floor
                               P.O. Box 83720
                               Boise, ID 83720
                               208-334-4114
                               Brett.delange@ag.idaho.gov
                               John.olson@ag.idaho.gov

                               Counsel for Plaintiff Idaho


                               FOR PLAINTIFF STATE OF ILLINOIS:

                               KWAME RAOUL
                               Attorney General

                               Elizabeth Maxeiner
                               Brian Yost
                               Office of the Attorney General of Illinois
                               100 W. Randolph St.
                               Chicago, IL 60601
                               773-590-7935
                               Elizabeth.maxeiner@ilag.gov
                               Brian.yost@ilag.gov

                               Counsel for Plaintiff Illinois




                                258
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 261 of 271




                               FOR PLAINTIFF STATE OF KANSAS:

                               KRIS W. KOBACH
                               Attorney General

                               Lynette R. Bakker
                               Kansas Office of the Attorney General
                               120 S.W. 10th Avenue., 2nd Floor
                               Topeka, KS 66612
                               Tel: (785) 296-3751
                               Lynette.bakker@ag.ks.gov

                               Counsel for Plaintiff Kansas


                               FOR PLAINTIFF STATE OF MAINE:

                               AARON M. FREY
                               Attorney General

                               Christina M. Moylan
                               Office of the Attorney General of Maine
                               6 State House Station
                               August, ME 04333
                               207-626-8800
                               Christina.moylan@maine.gov

                               Counsel for Plaintiff Maine




                                259
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 262 of 271




                               FOR PLAINTIFF STATE OF MARYLAND:

                               ANTHONY G. BROWN
                               Attorney General

                               Schonette J. Walker
                               Gary Honick
                               Office of the Attorney General of Maryland
                               200 St. Paul Place, 19th Floor
                               Baltimore, MD 21202
                               410-576-6480
                               swalker@oag.state.md.us
                               ghonick@oag.state.md.us

                               Counsel for Plaintiff Maryland


                               FOR PLAINTIFF COMMONWEALTH
                               MASSACHUSETTS:

                               ANDREA CAMPBELL
                               Attorney General

                               William T. Matlack
                               Michael B. MacKenzie
                               Office of the Attorney General of Massachusetts
                               One Ashburton Place, 18th Fl.
                               Boston, MA 02108
                               Tel: (617) 727-2200
                               William.matlack@mass.gov
                               Michael.Mackenzie@mass.gov

                               Counsel for Plaintiff Massachusetts




                                260
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 263 of 271




                               FOR PLAINTIFF STATE MINNESOTA:

                               KEITH ELLISON
                               Attorney General

                               Zachary William Biesanz
                               Office of the Minnesota Attorney General
                               Consumer, Wage, and Antitrust Division
                               445 Minnesota Street, Suite 1400
                               St. Paul, MN 55101
                               651-757-1257
                               Zach.biesanz@ag.state.mn.us

                               Counsel for Plaintiff Minnesota


                               FOR PLAINTIFF STATE OF NEVADA:

                               AARON D. FORD
                               Attorney General

                               Michelle Christine Newman
                               Lucas J. Tucker
                               Nevada Office of the Attorney General
                               100 N. Carson Street
                               Carson City, NV 89701
                               775-684-1164
                               mnewman@ag.nv.gov
                               ltucker@ag.nv.gov

                               Counsel for Plaintiff Nevada




                                261
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 264 of 271




                               FOR PLAINTIFF STATE OF NEW
                               HAMPSHIRE:

                               JOHN FORMELLA
                               Attorney General

                               Brandon Garod
                               Office of Attorney General of New Hampshire
                               33 Capitol Street
                               Concord, NH 03301
                               603-271-1217
                               Brandon.h.garod@doj.nh.gov

                               Counsel for Plaintiff New Hampshire


                               FOR PLAINTIFF STATE OF NEW JERSEY:

                               MATT PLATKIN
                               Attorney General

                               Isabella R. Pitt
                               Deputy Attorney General
                               New Jersey Attorney General’s Office
                               124 Halsey Street, 5th Floor
                               Newark, NJ 07102
                               973-648-7819
                               Isabella.Pitt@law.njoag.gov

                               Counsel for Plaintiff New Jersey




                                262
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 265 of 271




                               FOR PLAINTIFF STATE OF NEW MEXICO:

                               RAUL TORREZ
                               Attorney General

                               Judith E. Paquin
                               Cholla Khoury
                               Assistant Attorney General
                               New Mexico Office of the Attorney General
                               408 Galisteo St.
                               Santa Fe, NM 87504
                               Tel: 505-490-4885
                               jpaquin@nmag.gov
                               ckhoury@nmag.gov

                               Counsel for Plaintiff New Mexico


                               FOR PLAINTIFF STATE NORTH DAKOTA:

                               DREW WRIGLEY
                               Attorney General

                               Elin S. Alm
                               Assistant Attorney General
                               Consumer Protection and Antitrust Division
                               Office of the Attorney General of North Dakota
                               1720 Burlington Drive, Suite C
                               Bismarck, ND 58504
                               701-328-5570
                               ealm@nd.gov

                               Counsel for Plaintiff North Dakota




                                263
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 266 of 271




                               FOR PLAINTIFF STATE OHIO:

                               DAVE YOST
                               Attorney General

                               Jennifer Pratt
                               Beth Ann Finnerty
                               Mark Kittel
                               Office of the Attorney General of Ohio
                               30 E Broad Street, 26th Floor
                               Columbus, OH 43215
                               614-466-4328
                               Jennifer.pratt@ohioattorneygeneral.gov
                               Beth.finnerty@ohioattorneygeneral.gov
                               Mark.kittel@ohioattorneygeneral.gov

                               Counsel for Plaintiff Ohio


                               FOR THE PLAINTIFF STATE OKLAHOMA:

                               GENTNER DRUMMOND
                               Attorney General

                               Caleb J. Smith
                               Office of the Oklahoma Attorney General
                               313 NE 21st St
                               Oklahoma City, OK 73105
                               Tel: (405) 522-1014
                               Caleb.Smith@oag.ok.gov

                               Counsel for Plaintiff Oklahoma




                                264
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 267 of 271




                               FOR PLAINTIFF STATE OREGON:

                               ELLEN ROSENBLUM
                               Attorney General

                               Cheryl Hiemstra
                               Oregon Department of Justice
                               1162 Court St. NE
                               Salem, OR 97301
                               503-934-4400
                               Cheryl.hiemstra@doj.state.or.us

                               Counsel for Plaintiff Oregon


                               FOR PLAINTIFF COMMONWEALTH
                               PENNSYLVANIA:

                               MICHELLE HENRY
                               Attorney General

                               Tracy W. Wertz
                               Joseph S. Betsko
                               Pennsylvania Office of Attorney General
                               Strawberry Square
                               Harrisburg, PA 17120
                               Tel: (717) 787-4530
                               jbetsko@attorneygeneral.gov
                               twertz@attorneygeneral.gov

                               Counsel for Plaintiff Pennsylvania




                                265
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 268 of 271




                               FOR PLAINTIFF TERRITORY PUERTO
                               RICO:

                               DOMINGO HERNANDEZ
                               Attorney General

                               Guarionex Diaz Martinez
                               Assistant Attorney General
                               Antitrust Division
                               Puerto Rico Department of Justice
                               P.O. Box 9020192
                               San Juan, Puerto Rico 00902
                               Tel: (787) 721-2900, ext. 1201
                               gdiaz@justicia.pr.gov

                               Counsel for Plaintiff Puerto Rico


                               FOR PLAINTIFF STATE RHODE ISLAND:

                               PETER NERONHA
                               Attorney General

                               Stephen Provazza
                               Rhode Island Office of the Attorney General
                               150 South Main Street
                               Providence, RI 02903
                               Tel: (401) 274-4400
                               SProvazza@riag.ri.gov

                               Counsel for Plaintiff Rhode Island




                                266
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 269 of 271




                               FOR PLAINTIFF STATE SOUTH DAKOTA:

                               MARTY J. JACKLEY
                               Attorney General

                               Yvette K. Lafrentz
                               Office of the Attorney General of South Dakota
                               1302 E. Hwy 14, Suite 1
                               Pierre, SD 57501
                               605-773-3215
                               Yvette.lafrentz@state.sd.us

                               Counsel for Plaintiff South Dakota



                               FOR PLAINTIFF STATE VERMONT:

                               CHARITY R. CLARK
                               Attorney General

                               Christopher J. Curtis
                               Assistant Attorney General
                               Office of the Attorney General of Vermont
                               109 State St.
                               Montpelier, VT 05609
                               802-828-3170
                               Ryan.kriger@vermont.gov

                               Counsel for Plaintiff Vermont




                                267
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 270 of 271




                               FOR PLAINTIFF COMMONWEALTH
                               VIRGINIA:

                               JASON S. MIYARES
                               Attorney General

                               Tyler T. Henry
                               thenry@oag.state.va.us
                               Office of the Attorney General of Virginia
                               202 N. 9th Street
                               Richmond, VA 23219
                               Tel: (804) 692-0485

                               Counsel for Plaintiff Virginia


                               FOR PLAINTIFF STATE WASHINGTON:

                               BOB FERGUSON
                               Attorney General

                               Amy Hanson
                               Washington State Attorney General
                               800 Fifth Avenue, Suite 2000
                               Seattle, WA 98104
                               206-464-5419
                               Amy.hanson@atg.wa.gov

                               Counsel for Plaintiff Washington




                                268
Case 1:20-cv-03010-APM Document 544-1 Filed 03/13/23 Page 271 of 271




                               FOR PLAINTIFF STATE WEST VIRGINIA:

                               PATRICK MORRISEY
                               Attorney General

                               Douglas Lee Davis
                               Office of the Attorney General, State of West
                               Virginia
                               1900 Kanawha Boulevard, East
                               Building 6, Suite 402
                               P.O. Box 1789
                               Charleston, WV 25305
                               304-558-8986
                               Douglas.l.davis@wvago.gov

                               Counsel for Plaintiff West Virginia


                               FOR PLAINTIFF STATE WYOMING:

                               BRIDGET HILL
                               Attorney General

                               Benjamin Peterson
                               Wyoming Attorney General’s Office
                               2320 Capitol Avenue
                               Kendrick Building
                               Cheyenne, WY 82002
                               (307) 777-6397
                               Benjamin.peterson2@wyo.gov

                               Counsel for Plaintiff Wyoming




                                269
